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     1                  UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO
     2                         EASTERN DIVISION
     3                               - - -
     4    IN RE:    NATIONAL                 )
          PRESCRIPTION                       )   MDL No. 2804
     5    OPIATE LITIGATION                  )
          ___________________________ )          Case No.
     6                                       )   1:17-MD-2804
          THIS DOCUMENT RELATES              )
     7    TO ALL CASES                       )   Hon. Dan A. Polster
     8                               - - -
     9         VIDEOTAPED DEPOSITION OF THOMAS G. SCHOEN
    10                  Wednesday, September 5, 2018
    11          HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                           CONFIDENTIALITY REVIEW
    12
                                     - - -
    13
    14              Videotaped deposition of THOMAS G. SCHOEN, held
    15    at the Hilton Inn Garden Toledo, 6165 Levis Commons
    16    Boulevard, Perrysburg, Ohio, commencing at 9:03 a.m., on
    17    the above date, before Carol A. Kirk, Registered Merit
    18    Reporter and Notary Public.
    19
    20                               - - -
    21
    22
                         GOLKOW LITIGATION SERVICES
    23              877.370.3377 ph | 917.591.5672 fax
                               deps@golkow.com
    24

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                                                   Page 2                                                         Page 4
    1           A P P E A R A N C E S:                        1 On behalf of Teva Pharmaceuticals USA, Inc., Cephalon,
    2   On behalf of the Plaintiffs:                              Inc., Watson Laboratories, Inc., Actavis LLC, Actavis
            MCHUGH FULLER LAW GROUP                           2 Pharma, Inc., f/k/a Watson Pharma, Inc.:
    3       BY: MICHAEL J. FULLER, JR., ESQUIRE                       MORGAN, LEWIS & BOCKIUS LLP
               mike@mchughfuller.com                          3       BY: ELLIOTT E. BROWN, ESQUIRE
    4          AMY J. QUEZON, ESQUIRE
               amy@mchughfuller.com                                     elliott.brown@morganlewis.com
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            Hattiesburg, Mississippi 39402                            1111 Pennsylvania Avenue, NW
    6       601-261-2220                                      5       Washington, DC 20004
    7   On behalf of the Cardinal Health, Inc.:                       202-739-5833
            WILLIAMS & CONNOLLY LLP                           6
    8       BY: JOSEPH S. BUSHUR, ESQUIRE
               jbushur@wc.com                                   On behalf of the Allergan Defendants:
    9       725 Twelfth Street, N.W.                          7     BARNES & THORNBURG LLP
            Washington, DC 20005                                    BY: WILLIAM E. PADGETT, ESQUIRE
   10       202-434-5420                                      8        wpadgett@btlaw.com
   11   On behalf of the AmerisourceBergen:                            (VIA TELECONFERENCE)
            REED SMITH LLP
   12       BY: JAMES A. PETKUN, ESQUIRE                      9     11 South Meridian Street
               jpetkun@reedsmith.com                                Indianapolis, Indiana 46204
   13       Three Logan Square                               10     317-236-1313
            1717 Arch Street, Suite 3100                     11
   14       Philadelphia, Pennsylvania 19103                 12 ALSO PRESENT:
            215-851-8100                                     13    A.J. Elkins, McHugh Fuller
   15
        On behalf of HBC:                                             Darnell Brown, Videographer
   16       MARCUS & SHAPIRA LLP                             14       Gina Veldman, Trial Technician
            BY: JOSHUA A. KOBRIN, ESQUIRE                    15
   17          kobrin@marcus-shapira.com                     16                ---
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   18       One Oxford Center, 35th Floor                    18
            301 Grant Street
   19       Pittsburgh, Pennsylvania 15219-6401              19
            412-338-5208                                     20
   20                                                        21
   21                                                        22
   22
   23                                                        23
   24                                                        24

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    1   On behalf of Walmart:                                 1     VIDEOTAPED DEPOSITION OF THOMAS G. SCHOEN
            JONES DAY                                         2           INDEX TO EXAMINATION
    2       BY: KRISTIN S.M. MORRISON, ESQUIRE
               kmorrison@jonesday.com                         3 WITNESS                            PAGE
    3       901 Lakeside Avenue East
            Cleveland, Ohio 44114                             4 THOMAS G. SCHOEN
    4       216-586-7375
    5   On behalf of Prescription Supply, Inc.:               5     EXAMINATION BY MR. FULLER:                    12
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               pbricard@pelini-law.com
    7          CRAIG G. PELINI, ESQUIRE                       7
               cgp@pelini-law.com                             8
    8          SAMANTHA VOLEK, ESQUIRE
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            North Canton, Ohio 44720                         10
   10       330-305-6400
   11   On behalf of Miami-Luken:                            11
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   12       BY: WILLIAM J. AUBEL, ESQUIRE                    12
               william.j.aubel@jacksonkelly.com
   13          (VIA TELECONFERENCE)                          13
            500 Lee Street East, Suite 1600                  14
   14       Charleston, West Virginia 25301
            304-340-1092                                     15
   15
        On behalf of McKesson:                               16
   16       COVINGTON & BURLING LLP
            BY: MEGHAN E. MONAGHAN, ESQUIRE                  17
   17          mmonaghan@cov.com
            One CityCenter                                   18
   18       850 Tenth Street, NW
            Washington, DC 20001                             19
   19       202-662-5531                                     20
   20   On behalf of Endo Pharmaceuticals, Inc. and
        Endo Health Solutions Inc.:                          21
   21       ARNOLD & PORTER KAYE SCHOLER, LLP
            BY: ANGEL TANG NAKAMURA, ESQUIRE                 22
   22          angel.nakamura@apks.com
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            Los Angeles, California 90017                    24
   24       213-243-4000
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    3 PSI-SCHOEN DESCRIPTION                     PAGE                  3 PSI-SCHOEN DESCRIPTION                  PAGE
    4 Exhibit 1   Second Amended First Notice of 14                    4 Exhibit 16 Memorandum for Asa Hutchinson 118
                    Deposition Pursuant to Rule                                    from Mr. Fine, Bates-stamped
    5               30(b)(6) and Document Request                      5          PSI 30b_ 204 - 001 through 039
                    Pursuant to Rule 30(b)(2) and                      6 Exhibit 17 Letter to Cardinal Health from      127
    6               Rule 34 to Defendant                                           Mr. Rannazzisi, dated 12/27/07,
                    Prescription Supply, Inc.                          7           Bates-stamped PSI 30b_ 303 -
    7                                                                              001 through 002
        Exhibit 2    Second Amended Second Notice of 15                8
    8            Deposition Pursuant to Rule                             Exhibit 18 Document titled "HDMA Industry            134
                 30(b)(6) and Document Request                         9          Compliance Guidelines:
    9            Pursuant to Rule 30(b)(2) and                                    Reporting Suspicious Orders and
                 Rule 34 to Defendant                                 10          Preventing Diversion of
   10            Prescription Supply, Inc.                                        Controlled Substances,"
   11   Exhibit 3 Prescription Supply, Inc.'s  15                     11          Bates-stamped PSI 30b_ 305 -
                 Objections and Responses to                                      001 through 015
                                                                      12
   12            First and Second Notice of
                 Deposition to Rule 30(b)(6)                               Exhibit 19 PSI policies and procedures,     153
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                                                                      13            Bates-stamped PSI 30b_ 404 -
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        Exhibit 4    Document titled "United States 18                14
   14            Code Annotated; Title 21. Food                            Exhibit 20 Document titled "Maximum        190
                 and Drugs; Chapter 13. Drug                          15            Monthly Quantity," 10/2/08,
   15            Abuse Prevention and Control;                                      Bates-stamped PSI0000280
                 Subchapter I. Control and                            16            through 285
   16            Enforcement; Parts A through C                       17   Exhibit 21 Document titled "Prescription 190
   17   Exhibit 5 Legislative findings and         30                               Supply Maximum Monthly Units
                 history of the Controlled                            18            for OLS Systems," 10/2/2008,
   18            Substances Act, 101 pages                                          Bates-stamped PSI0000274
   19   Exhibit 6 21 C.F.R. 1301.74               39                  19            through 279
   20   Exhibit 7 Document titled HathiTrust         47               20   Exhibit 22 State of Ohio Board of Pharmacy 193
   21   Exhibit 8 861 Federal Reporter, 3d          54                              Written Response, October 25,
                 Series, Bates-stamped PSI                            21            2017, Bates-stamped PSI0000007
   22            30b_106-001 through 025                                            through 83
        Exhibit 9 Document titled "Ohio            61                 22
   23            Administrative Code - 2002,"                              Exhibit 23 Thumbdrive containing macro            206
                 Bates-stamped PSI 30b_ 112 -                         23            spreadsheet
   24            001 through 004                                      24

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    3 PSI-SCHOEN DESCRIPTION                    PAGE                   3 PSI-SCHOEN DESCRIPTION                   PAGE
    4 Exhibit 10 Document titled "United States 73
                 General Accounting Office GAO                         4 Exhibit 24 E-mail to Mr. J. Schoen from 218
    5            Report to the Subcommittee on                                     Mr. Thomas Schoen, dated May 2,
                 Oversight and Investigations,                         5          2018, Bates-stamped PSI0003024
    6            Committee on Energy and                               6 Exhibit 25 Spreadsheet, Shaffer Pharmacy 221
                 Commerce, House of                                    7 Exhibit 26 Shaffer Pharmacy Total Monthly 221
    7            Representatives, May 2002,
                 Prescription Drugs, State                                         Oxycodone Sales, January 2008 -
    8            Monitoring Programs Provide                           8          April 2009
                 Useful Tool to Reduce                                 9 Exhibit 27 Shaffer Pharmacy Total Monthly           221
    9            Diversion"                                                         Oxycodone Sales January 2013 -
   10   Exhibit 11 Document titled "HathiTrust,       77
                 OxyContin: Its Use and Abuse"                        10            November 2014
   11                                                                 11   Exhibit 28 Letter to Mr. Ohliger from the    234
        Exhibit 12 The National Center on        88                                 State of Ohio Board of
   12            Addiction and Substance Abuse                        12            Pharmacy, dated 10/6/15,
                 at Columbia University, "Under                                     Bates-stamped PSI0003419
   13            the Counter: The Diversion and
                 Abuse of Controlled                                  13            through 3421
   14            Prescription Drugs in the U.S."                      14   Exhibit 29 HDMA Boards of Directors           241
   15   Exhibit 13 Letter to Cardinal Health from 95                                newsletter
                 Mr. Rannazzisi, dated 9/27/06,                       15
   16            Bates-stamped PSI 30b_ 301 -                            Exhibit 30 Amicus Curiae Brief of             243
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   17                                                                 16          Healthcare Distribution
        Exhibit 14     Diagram prepared by Attorney    106                        Management Association in
   18          Fuller                                                 17          Support of Appellant Cardinal
   19 Exhibit 15 PowerPoint presentation titled       113                         Health, Inc.
                    "Drug Enforcement                                 18
   20               Administration Pharmaceutical
                    Industry Conference, Wholesale                    19
   21               Distribution Diversion Control                    20
                    Program, September 11, 2007,"                     21
   22               Bates-stamped PSI 30b_ 601 -                      22
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    1                  ---                                           1   HBC.
    2             PROCEEDINGS                                        2          MS. NAKAMURA: Angel Nakamura on behalf
    3                  ---                                           3   of the Endo and Par Pharmaceutical Defendants.
    4          THE VIDEOGRAPHER: Good morning. We are                4          MR. AUBEL: Bill Aubel on behalf of
    5   now on the record. My name is Darnell Brown, and             5   Miami-Luken, Inc.
    6   I am a videographer with Golkow Litigation                   6          MR. FULLER: I'm assuming that's
    7   Services. Today's date is September 5, 2018, and             7   everybody.
    8   the time is 9:03 a.m.                                        8                 ---
    9          This video deposition is being held in                9              THOMAS G. SCHOEN
   10   Perrysburg, Ohio, in the matter of In Re: Opioid Deps       10   being by me first duly sworn, as hereinafter certified,
   11   for the United States District Court for the Northern       11   deposes and says as follows:
   12   District of Ohio. The deponent is Thomas Schoen.            12                EXAMINATION
   13          Counsel will be noted on the stenographic            13   BY MR. FULLER:
   14   record. The court reporter is Carol Kirk who will now       14       Q. Mr. Schoen, please state your name,
   15   swear in the witness.                                       15   spelling your last name for the record.
   16          (Witness sworn.)                                     16       A. My name is Thomas G. Schoen. Last name
   17          THE VIDEOGRAPHER: You may begin.                     17   Schoen, S-c-h-o-e-n.
   18          MR. FULLER: Aren't we supposed to all                18       Q. And, Mr. Schoen, are you the owner and
   19   introduce ourselves?                                        19   operator of a company called Prescription Supply,
   20          THE VIDEOGRAPHER: Yeah.                              20   Inc.?
   21          MR. FULLER: All right. Mike Fuller on                21       A. I am an owner. There are more than one.
   22   behalf of the Plaintiff.                                    22   And I'm president of Prescription Supply,
   23          MR. ELKINS: AJ Elkins on behalf of the               23   Incorporated.
   24   Plaintiff.                                                  24       Q. Who are the other owners?

                                                     Page 11                                                           Page 13
    1          MS. QUEZON: Amy Quezon on behalf of the               1      A.   All family members.
    2   Plaintiff.                                                   2      Q.   Okay. Your family, I'm assuming?
    3          MS. VELDMAN: Gina Veldman on behalf of                3      A.   My family and my sister's family.
    4   the Plaintiff.                                               4      Q.   Fair enough.
    5          MR. PELINI: Craig Pelini. I represent                 5          And your company has been around since,
    6   PSI.                                                         6   I think, about 1955; is that correct?
    7          MR. BUSHUR: Joseph Bushur on behalf of                7       A. That's correct.
    8   Cardinal Health.                                             8       Q. And has it always been family owned --
    9          MR. PETKUN: James Petkun for                          9       A. It has.
   10   AmerisourceBergen Corporation.                              10       Q. -- and operated?
   11          MS. MONAGHAN: Meghan Monaghan on behalf              11       A. Yes, it has.
   12   of McKesson.                                                12       Q. Okay. And you're aware that -- and tell
   13          MS. MORRISON: Kristin Morrison on                    13   me if it's okay -- but I heard counsel do it, so
   14   behalf of Walmart.                                          14   I'm assuming it is -- referring to Prescription
   15          MS. VOLEK: Samantha Volek on behalf of               15   Supply, Inc., as PSI.
   16   PSI.                                                        16       A. That's acceptable.
   17          MR. RICARD: Paul Ricard, PSI.                        17       Q. Okay. And you're aware that PSI has
   18          MR. FULLER: And anybody on the phone?                18   been sued in this litigation involving the opioid
   19   Can you note your appearance for the record.                19   epidemic, correct?
   20          MR. PADGETT: Bill Padgett on behalf of               20       A. I'm aware.
   21   HD Smith.                                                   21       Q. You were also -- well, let me just
   22          MR. BROWN: Elliott Brown on behalf of                22   attach the exhibits. We're going to attach as
   23   Teva.                                                       23   Plaintiff's 1 a copy of the notice. And this is
   24          MR. KOBRIN: Joshua Kobrin on behalf of               24   more housekeeping for counsel and I. It's the

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    1   second amended first notice will be Exhibit 1.           1       A. Actually, I have not reviewed this one.
    2           Here. Let me just give you all the copies and    2       Q. Fair enough.
    3   you can pass them out.                                   3          Now, today -- and I'm sure you've been
    4                    ---                                     4   told -- you've been designated as a 30(b) witness,
    5           (PSI-Schoen Exhibit 1 marked.)                   5   okay? And what that means is that you're here
    6                    ---                                     6   today to speak on behalf of a company; in this
    7   BY MR. FULLER:                                           7   particular case, PSI.
    8       Q. Mr. Schoen, just so you know, the first           8          Are you aware of that?
    9   little bit here, we're going to just -- sort of          9       A. Yes.
   10   going to be like housekeeping, just some notices        10       Q. So it's going to be a little awkward
   11   and objections and things like that that I'll make      11   probably at times because I'm going to be asking
   12   sure as we get as part of the record of this            12   you for information that PSI knows, not just
   13   deposition. Okay?                                       13   Thomas Schoen; is that fair?
   14           Now, I'm going to assume -- and correct         14       A. Fair.
   15   me if I am wrong -- that you have seen this notice      15       Q. And for purposes of the 30(b), we're
   16   prior to today; is that correct? Take a minute          16   going to be limited to the subject matters set
   17   and flip through it.                                    17   out, with one exception. Your counsel and I have
   18       A. Actually, I don't know that I've seen            18   talked over the past couple of weeks and reached
   19   this notice. But, yes, I've seen perhaps the            19   certain agreements with certain topics set out in
   20   first notice.                                           20   the notices.
   21       Q. Fair enough. And particularly starting           21          MR. FULLER: And, Counsel, you can
   22   on page 5, I believe it is, the areas of inquiry.       22   correct me if I am wrong, but I'm going to read
   23   Do you see those listed there? And it goes on to        23   from my e-mail as to what we, I think, agreed to.
   24   page 6.                                                 24   And the first 30(b) notice, Subject Matter O, will
                                                     Page 15                                                   Page 17
    1      A. Yes.                                               1   be subject to a written response. And the second
    2      Q. And have you had an opportunity to                 2   30(b) notice is going to be numbers 1, 2, 3, 4, 5,
    3   review those before today?                               3   9, 10, 11, and 18.
    4      A. I have.                                            4          Here you go, Counsel. Here's a copy of that
    5                  ---                                       5   e-mail that I sent you.
    6          (PSI-Schoen Exhibit 2 marked.)                    6          MR. RICARD: That's correct.
    7                  ---                                       7          MR. FULLER: Okay.
    8      Q. Okay. The second exhibit is going to be            8   BY MR. FULLER:
    9   the second amended notice for the second 30(b).          9       Q. So, Mr. Schoen, what your counsel and I
   10          Mr. Schoen, it also starts on page 5,            10   did for you is hopefully shortened the amount of
   11   certain topic areas. And, again, I'd just ask if        11   time that you have to sit here today.
   12   you have had an opportunity to make yourself            12       A. Thank you.
   13   familiar with those areas of inquiry prior to           13       Q. You're more than welcome. And, again, I
   14   today?                                                  14   appreciate you coming and being here for us.
   15      A. I have.                                           15          Now, you mentioned that you don't really
   16                  ---                                      16   operate. What is your role currently with PSI?
   17          (PSI-Schoen Exhibit 3 marked.)                   17   What do you do on a day-to-day basis?
   18                  ---                                      18       A. I'm the president. I do pretty much
   19      Q. Okay. And the third exhibit is going to           19   everything. I -- okay.
   20   be the Defendants' objections to our notice.            20       Q. Give me, if you will, just a thumbnail
   21          We're just making those part of the              21   sketch of what your average day is these days.
   22   record. I don't know if you've reviewed them or         22       A. We're going through constant changes in
   23   not, and it really doesn't matter to me, so don't       23   our software, so I'm reviewing and giving some
   24   worry about it.                                         24   ideas on software changes. I'm hiring people

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    1   because we need them at this time of year. I               1   that this seeks any legal conclusions?
    2   don't know. It just -- I don't have any more               2          MR. FULLER: Sure.
    3   fixed responsibilities, as far as I do whatever            3   BY MR. FULLER:
    4   has to be done when it has to be done.                     4       Q. And you'll see up there to the upper
    5      Q. Fair enough. Fair enough. I get that.                5   left, Mr. Schoen, that -- the seal of the United
    6   I get that.                                                6   States Congress, correct?
    7          Now, Prescription Supply is a registrant            7       A. I do.
    8   with the DEA related to controlled substances,             8       Q. And this is part of the United States
    9   correct?                                                   9   Code, which is the statutes promulgated by the
   10      A. Yes.                                                10   federal government. And you'll see this is
   11      Q. And as such, you take on certain                    11   Chapter 13. Drug Abuse, Prevention, and Control.
   12   statutory and regulatory obligations; is that             12          Do you see that? If you look on the
   13   correct?                                                  13   screen right in front of you, it's highlighted.
   14      A. Yes.                                                14       A. Okay. Yes.
   15      Q. And we're going to mark as Plaintiff's              15       Q. Okay. The screen is sort of like your
   16   Exhibit Number 4 --                                       16   cheat sheet.
   17          MR. FULLER: It's going to be 101, Gina.            17       A. All right.
   18                 ---                                         18       Q. It will help get you right where I'm
   19          (PSI-Schoen Exhibit 4 marked.)                     19   looking, too, okay? And you're aware that that is
   20                 ---                                         20   part of the Controlled Substances Act?
   21   BY MR. FULLER:                                            21       A. Yes.
   22      Q. Now, I'm going to assume that you are               22       Q. Okay. And this is Section 801, and it
   23   somewhat familiar, Mr. Schoen, with the Controlled        23   says the Congressional findings and declarations
   24   Substances Act; is that correct?                          24   related to controlled substances. "The Congress
                                                        Page 19                                                     Page 21
    1       A. Yes, in general.                                    1   makes the following findings and declarations."
    2          THE VIDEOGRAPHER: Could the person on               2          Could you read, in all fairness, the
    3   the phone -- could you guys please put your phone          3   first declaration that they made to us,
    4   on mute, because we can now hear you in the                4   Mr. Schoen.
    5   background. Please.                                        5       A. "Many of the drugs included within this
    6          MR. FULLER: I'm sorry. I wasn't paying              6   subchapter have a useful and legitimate medical
    7   attention to it.                                           7   purpose and are necessary to maintain the health
    8   BY MR. FULLER:                                             8   and general welfare of the American people."
    9       Q. And what you have -- and you have a hard            9       Q. And does PSI accept that declaration by
   10   copy, which has been marked as an exhibit. You            10   U.S. Congress as being true?
   11   should also have a digital copy in that screen            11       A. Yes.
   12   right in front of you. And then there's a big             12       Q. And many of the drugs that you deliver,
   13   screen up to your right as well. And you can look         13   Schedules II through Vs, do have legitimate
   14   at any or all of them, okay?                              14   medical purposes --
   15          And what's going to happen is, as I go             15       A. Yes.
   16   through some of this document, the one in front of        16       Q. -- is that correct?
   17   you on the digital copy, Mr. Schoen, is going to          17          And another thing, Mr. Schoen, is we
   18   be highlighted as to wherever I'm referring to to         18   go -- if you will let me finish my question
   19   help direct you to certain areas. Okay?                   19   completely before you answer -- in normal
   20       A. Yes.                                               20   conversation when you know what I'm going to ask,
   21       Q. Okay.                                              21   we usually start answering each other, but because
   22          MR. RICARD: Before you start on this,              22   of Madam Court Reporter and we want to make sure
   23   can we, notwithstanding any form objections, agree        23   the record is clear, you let me finish.
   24   to a standing objection to any -- to the extent           24          Your counsel may object from time to

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    1   time. Let him get out his objection. And then         1   controlled substances.
    2   you can answer. And I'll certainly try to let you     2          Do you see that there?
    3   finish your answer before I ask another question.     3       A. Yes.
    4   Okay?                                                 4       Q. And PSI is aware that there are several
    5       A. Yes.                                           5   different schedules for controlled substances
    6       Q. Now, if you will, read the second              6   depending on certain factors that relate to that
    7   declaration to us, please.                            7   particular medication, correct?
    8       A. "The illegal importation, manufacture,         8       A. Yes.
    9   distribution, and possession and improper use of      9       Q. Now, I'm going to tell you that most of
   10   controlled substances has a substantial and          10   today we're going to be talking about what is
   11   detrimental effect on the health and general         11   called Schedule IIs. And you know what those are;
   12   welfare of the American people."                     12   is that right?
   13       Q. And does PSI as a registrant agree and        13       A. Yes.
   14   accept that declaration by the U.S. Congress?        14       Q. PSI is also a distributor of Schedule
   15          MR. RICARD: Objection to form.                15   IIs; are they not?
   16       Q. That's him stating his objection for the      16       A. Yes.
   17   record, but you can go ahead and answer the          17       Q. Tell us what -- under Schedule II, what
   18   question.                                            18   the three factors are, and start with factor A, if
   19       A. Yes.                                          19   you would.
   20       Q. Now, with one caveat. The only time you       20       A. "The drug or other substance has a high
   21   wouldn't answer is if he tells you "Hey,             21   potential of abuse.
   22   Mr. Schoen, don't answer that question." Okay?       22          "(B) The drug or other substance has a
   23       A. I'm afraid I didn't understand that.          23   currently accepted medical use in treatment in the
   24       Q. I'm sorry. The only time you wouldn't         24   United States or is currently accepted medical use
                                                 Page 23                                                    Page 25
    1   answer the question is if counsel tells you not to    1   for severe -- with severe restrictions.
    2   answer.                                               2          "Abuse of the drug or other substance
    3       A. Oh, okay.                                      3   may lead to severe psychological or physical
    4       Q. Fair enough?                                   4   dependency."
    5       A. Fair enough.                                   5      Q. And PSI accepts those as all the
    6       Q. Okay. Now, PSI -- you sitting here as          6   requirements for Schedule II drugs, correct?
    7   PSI are a distributor, correct?                       7          MR. RICARD: Object to form.
    8       A. That's correct.                                8      A. Yes.
    9       Q. And Section 2 here refers to the --            9      Q. Now -- and let's talk about it just for
   10   amongst other things, the illegal distribution?      10   a second. The reason we have these different
   11       A. Yes.                                          11   schedules, as PSI is well aware, is because there
   12       Q. And you would agree as PSI that the           12   are some medications out there that have -- while
   13   illegal distribution of controlled substances have   13   legitimate purposes, if they go unchecked, can be
   14   a substantial and detrimental effect on the health   14   very dangerous, correct?
   15   and general welfare of the American people,          15          MR. RICARD: Objection to form.
   16   correct?                                             16      A. Yes.
   17          MR. RICARD: Objection to form.                17      Q. And one of the things that we want to
   18       A. Yes.                                          18   ensure -- and I say "we." One of the things that
   19       Q. Okay. If you'll turn to the next page,        19   PSI wants to ensure is that we're dealing with
   20   you'll see again the -- on the upper left, a         20   these dangerous drugs in the right way, that we're
   21   symbol of the great U.S. Congress, correct?          21   preventing them from getting into the illicit
   22       A. Yes.                                          22   market?
   23       Q. And it's still Chapter 13, but this is        23          MR. RICARD: Objection to form.
   24   Section 812, and it deals with schedules of          24      Q. Correct?

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                                                  Page 26                                                   Page 28
    1       A. Yes.                                           1   diversion; is that correct?
    2       Q. Okay. If you'll turn to the next page,         2          MR. RICARD: Objection to form.
    3   and you see this is Section 821 of Chapter 13.        3       A. Yes.
    4          Do you see that?                               4       Q. Tell us, tell the jury, why we want to
    5       A. I do.                                          5   prevent diversion of controlled substances.
    6       Q. Okay. And this deals with rules and            6       A. Well, as it states, we -- it can be
    7   regulations, and it says, "The Attorney General is    7   dangerous. People can die. People can have bad
    8   authorized to promulgate rules and regulations and    8   effects, and they can be abused. None of that is
    9   to charge reasonable fees related to the              9   something that we want to happen. We want the
   10   registration and control of the manufacture,         10   good effects, not the bad effects.
   11   distribution, and dispensing of controlled           11       Q. Right. And we're talking about
   12   substances and listed chemicals."                    12   diversion. Just so we're on the same page, we're
   13          Does PSI accept that the Attorney             13   talking about diversion, the non-proper medical
   14   General is the one with the authority to regulate    14   use, correct?
   15   its industry?                                        15       A. Correct.
   16       A. Yes.                                          16       Q. And when we have increased diversion,
   17          MR. RICARD: Objection to form.                17   we're likely to have increased abuse and addiction
   18       Q. And if you'll turn to the final page, I       18   as you mentioned, right?
   19   think, of this exhibit. We're at Section 823,        19          MR. RICARD: Objection to form.
   20   registration requirements.                           20       A. Yes.
   21          Do you see that there?                        21       Q. And when we're talking about that, we're
   22       A. I do.                                         22   talking about the general public at large, our
   23       Q. And then -- and, again -- and I may not       23   children and our communities, correct?
   24   have stated this in the beginning. These are         24       A. Yes.
                                                  Page 27                                                   Page 29
    1   portions of the regs -- or excuse me -- portions      1      Q. And you understand that the Controlled
    2   of the code that I've pulled out, so it doesn't       2   Substances Act that was enacted back in October of
    3   have the whole code. I only pulled out what I         3   1970 was Congress' attempt to try to keep our
    4   needed for the purposes of this deposition, okay,     4   children and our community safe from these
    5   Mr. Schoen? I just want you to understand it's        5   controlled substances?
    6   not every section, and that's why this section        6           MR. RICARD: Objection to form.
    7   starts with (b). Fair enough?                         7      A. Yes.
    8       A. Yes.                                           8      Q. Okay. Now, Mr. Schoen, your family has
    9       Q. Okay. It says, "In determining the             9   been in the business a very long time. When did
   10   public interest, the following factors should be     10   you first start working in the industry? Probably
   11   considered: The maintenance of effective controls    11   as a little kid, huh?
   12   against diversion of particular controlled           12      A. I'm afraid that's true, yes. 1958. As
   13   substances into other than legitimate medical,       13   an eighth grader, I tore down some shelving.
   14   scientific, and industrial channels."                14      Q. Wow.
   15          Do you see that there?                        15      A. Yes. I've been active somewhat most of
   16       A. Yes.                                          16   my life.
   17       Q. And PSI agrees that it has an obligation      17      Q. So you literally started at the bottom
   18   to maintain effective controls against diversion     18   and worked your way up, huh?
   19   when it comes to controlled substances, correct?     19      A. I certainly have. I've worked roughly
   20          MR. RICARD: Objection to form.                20   every position.
   21       A. Yes.                                          21      Q. Holy cow. Well, good for you.
   22       Q. Now -- and I'm asking you as PSI. When        22           I'm going to now -- and that was
   23   we see effective controls against diversion, that    23   actually even before the Controlled Substances Act
   24   means the systems in place and controls to prevent   24   was enacted, correct?

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                                                  Page 30                                                   Page 32
    1      A. Well, yes. I was in the Army '68 to             1          MR. FULLER: Gina, if you could go to
    2   '69.                                                  2   page -- you're already there. Page 5.
    3      Q. Okay. And when you got out of the Army,         3          THE WITNESS: I can't read that either.
    4   did you come back home to the family business, or     4      Q. Well, see if this helps. How about now?
    5   did you go somewhere else first?                      5      A. That helps, yeah.
    6      A. I was in graduate school for a short            6      Q. It helps me, too. I'm getting to that
    7   time.                                                 7   age where my eyesight is going as well.
    8      Q. Where at?                                       8          So, Mr. Schoen, this is the legislative
    9      A. University of Minnesota.                        9   history and findings related to the Controlled
   10      Q. Okay. As long as it wasn't OSU. Me and         10   Substances Act, the things Congress did when it
   11   Mr. Craig, at the end of the table, have some        11   was passing the act and some of the reasoning
   12   issues with OSU.                                     12   behind it, and we're not going to go through the
   13         MR. PELINI: We'll stipulate to that,           13   whole thing. We're going to go through certain
   14   Mr. Fuller.                                          14   portions of it, if that's okay. All right?
   15         MR. FULLER: Thank you. Thank you,              15      A. Yes.
   16   Counsel.                                             16      Q. All right. And this says, "Title 2:
   17   BY MR. FULLER:                                       17   Control and Enforcement." It says, "This bill
   18      Q. Now, Mr. Schoen, you're not an OSU fan,        18   provides for the control by the Justice Department
   19   are you?                                             19   of problems related to drug abuse through
   20      A. Is that really a --                            20   registration of manufacturers, wholesalers,
   21      Q. No, no. You can plead the Fifth on that        21   retailers, and all others in the legitimate
   22   one.                                                 22   chain -- excuse me -- legitimate distribution
   23                 ---                                    23   chain that makes transactions outside the
   24         (PSI-Schoen Exhibit 5 marked.)                 24   legitimate distribution chain illegal."
                                                  Page 31                                                   Page 33
    1                  ---                                    1          Does PSI concur that that is the goal
    2      Q. What I have marked as Exhibit                   2   behind the Controlled Substances Act?
    3   Number 5 -- and you have in front of you -- is the    3          MR. RICARD: Objection to form.
    4   legislative findings and history of the Controlled    4          MR. FULLER: I'm sorry.
    5   Substances Act.                                       5       A. Yes.
    6      A. All right.                                      6       Q. Okay. And PSI understands that the way
    7      Q. And I'm going to ask that you read all          7   the Controlled Substances Act works is that
    8   211 pages. No. I'm kidding. I'm kidding.              8   everybody in that chain of distribution starting
    9          And you're welcome to follow along in          9   from the manufacturer all the way down to the
   10   the document. But, again, in front of you,           10   pharmacy has to be registered with the Department
   11   Mr. Schoen, is a digital copy.                       11   of Justice via the DEA?
   12      A. To be honest, I can't read the digital         12       A. Yes.
   13   copy.                                                13       Q. And, again, as we mentioned earlier, PSI
   14      Q. Oh. Well, now, the parts I read from do        14   is one of those registrants?
   15   blow up.                                             15       A. Yes.
   16      A. Okay.                                          16       Q. Does PSI also agree that transactions
   17      Q. So that may help, okay?                        17   outside of this legitimate chain or a
   18      A. Yes.                                           18   noncompliance with the Controlled Substances Act
   19          MR. RICARD: Mike, before you start --         19   would be illegal, meaning breaking the law?
   20          MR. FULLER: Yes, sir.                         20          MR. RICARD: Objection to form.
   21          MR. RICARD: -- I'd just like to note a        21       A. Yes.
   22   standing objection to any questions pertaining to    22       Q. If you go to page 8.
   23   this document, as it calls for a legal conclusion.   23          MR. RICARD: For the record, we're
   24          MR. FULLER: Fair enough.                      24   looking at the Bates number 89, not the Westlaw?

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                                                   Page 34                                                   Page 36
     1          MR. FULLER: I'm sorry. Yes, sir.               1       A. Correct.
     2   Upper right-hand corner of the page.                  2       Q. It's given certain -- it's given certain
     3   BY MR. FULLER:                                        3   persons a specific right to do that, for example,
     4      Q. Mr. Schoen, not the page number on the          4   PSI, and you agree with that, correct?
     5   bottom. I apologize. It's the one on the upper        5       A. Yes.
     6   right-hand side --                                    6       Q. Now, if you go to page 11 as numbered in
     7      A. Okay.                                           7   the upper right-hand corner. It says, "The price
     8      Q. -- which looks like they're one page off        8   for participation in this traffic should be
     9   from each other. Sorry. It can be confusing. I        9   prohibitive. It should be made too dangerous to
    10   apologize.                                           10   be attractive."
    11          On page 8, it says, "This bill is             11          And there this code section or this code
    12   designed to improve the administration and           12   of this Congressional history is talking about the
    13   regulation of the manufacturing, distribution, and   13   illegal traffic. And PSI agrees that what
    14   dispensing of controlled substances by providing     14   Congress is trying to do is trying to make
    15   for a closed system of drug distribution for         15   penalties for the illegal market so significant
    16   legitimate handlers of such drugs."                  16   that people won't want to take part in the illicit
    17          Do you have an understanding,                 17   market, correct?
    18   Mr. Schoen, of what it means by "closed system"?     18       A. Yes.
    19      A. I believe so.                                  19          MR. RICARD: Objection to form.
    20      Q. And that is that there are limited             20       A. Yes.
    21   participants, right?                                 21          MR. RICARD: Tom, give me a second to
    22      A. Yes.                                           22   object if I need to.
    23      Q. Not just anybody can do what PSI does?         23          THE WITNESS: Yes.
    24      A. Yes.                                           24          MR. RICARD: Thanks.
                                                   Page 35                                                   Page 37
     1       Q. You have a special ticket or                   1   BY MR. FULLER:
     2   registration to be a manufacturer, distributor, or    2      Q. And you have seen that over the history
     3   a pharmacy, correct?                                  3   of your operation in this industry, correct?
     4          MR. RICARD: Objection to form.                 4      A. Yes.
     5       A. We're a distributor, yes.                      5      Q. Not only with illegal doctors getting
     6       Q. Right. It goes on to say that "Such a          6   arrested and fined and put in prison, but also
     7   closed system should significantly reduce the         7   with other wholesale distributors, correct?
     8   widespread diversion of these drugs out of            8          MR. RICARD: Objection to form.
     9   legitimate channels into the illicit market, while    9      A. Yes.
    10   at the same time providing the legitimate drug       10      Q. For example, you know that Cardinal and
    11   industry with a unified approach to narcotic and     11   McKesson both had agreements with the federal
    12   dangerous drug control."                             12   government to pay certain fines, and those fines
    13          Does PSI understand and agree that this       13   have gotten larger over time, correct?
    14   closed system is probably one of the best ways to    14          MR. RICARD: Objection to form.
    15   try to prevent diversion?                            15          MS. MONAGHAN: Objection.
    16       A. Yes.                                          16      A. I'm aware that they've been fined, yes.
    17       Q. And that what Congress has done here is       17      Q. Okay. And are you aware that those
    18   it's basically done away with, to some degree,       18   fines have increased over time?
    19   capitalism. It says not anybody can participate      19      A. Yes.
    20   in this market. For example, Paul, your counsel,     20          MR. BUSHUR: Objection; form.
    21   and myself, we can't go out today and start buying   21      Q. And does PSI agree that as it relates to
    22   and selling controlled substances, at least not      22   the illegal traffic, that the fines should be high
    23   legally, correct?                                    23   so we can try to be prevent any potential
    24          MR. RICARD: Objection to form.                24   diversion from occurring?

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                                                  Page 38                                                   Page 40
     1          MR. RICARD: Objection to form.                1       Q. Now, up in the upper left and upper
     2       A. Yes.                                          2   right respectfully we now have the seals of the
     3       Q. If you go to page 34, Mr. Schoen. And         3   Department of Justice who you testified earlier is
     4   if you can -- and, again, if you can see it,         4   the ones that regulate this industry that you
     5   Mr. Schoen, can you read that out loud to us?        5   operate in, correct?
     6       A. "The illegal importation, manufacture,        6       A. Yes.
     7   distribution, and possession and improper use of     7       Q. And on the right, we have United States
     8   controlled substances has a substantial              8   Justice Department, Drug Enforcement
     9   detrimental effect on the public health and          9   Administration, or the DEA, who carries out that
    10   general welfare."                                   10   function on behalf of the Department of Justice,
    11       Q. And does PSI agree and accept that           11   correct?
    12   Congressional finding as well?                      12       A. Yes.
    13       A. Yes.                                         13       Q. And that's who you're registered with;
    14       Q. And does PSI in its operations strive to     14   is that right?
    15   prevent any illegal distribution of controlled      15       A. Yes.
    16   substances?                                         16       Q. And you see it's Chapter 2, Part 1301,
    17       A. Yes.                                         17   and it deals with security requirements.
    18       Q. And when we're talking about the general     18          Do you see that there?
    19   effect on the public's health and welfare, we're    19       A. Oh, yes. Yes.
    20   talking about the impact it can have on our         20       Q. And it says under Section 1301.74,
    21   children and our communities, correct?              21   "Other security controls for non-practitioners,
    22       A. Among others, yes.                           22   narcotic treatment programs, and compounders for
    23       Q. Because what you do is you distribute        23   narcotic treatment programs."
    24   these controlled substances into different          24          And you see letter b down there?
                                                  Page 39                                                   Page 41
     1   pharmacies and doctors' offices and drugstores;      1       A. Yes.
     2   and for your company, mainly in the Ohio area,       2       Q. Where it says, "The registrant shall
     3   correct?                                             3   design and operate a system to disclose to the
     4          MR. RICARD: Objection to form.                4   registrant suspicious orders of controlled
     5       A. We distribute in a number of states.          5   substances. The registrant shall inform the Field
     6       Q. Sure.                                         6   Division Office of the Administration in his area
     7       A. Okay. But, yes, in general, yes, that's       7   of suspicious orders when discovered by the
     8   correct.                                             8   registrant. Suspicious orders include orders of
     9       Q. And we'll get into actually where and         9   unusual size, orders deviating substantially from
    10   all that detail down the road.                      10   a normal pattern, and orders of unusual
    11       A. Okay.                                        11   frequency."
    12       Q. So, Mr. Schoen, what we're going to do       12          You are familiar with this regulation as
    13   is mark next as Plaintiff's Exhibit 6 part of the   13   it pertains to suspicious orders, correct?
    14   Code of Federal Regulations.                        14       A. Yes.
    15          MR. RICARD: Same objection to legal          15       Q. And PSI is aware that it has to comply
    16   conclusions, Mike.                                  16   with this regulation as it relates to suspicious
    17          MR. FULLER: Sure.                            17   orders?
    18                   ---                                 18       A. Yes.
    19          (PSI-Schoen Exhibit 6 marked.)               19       Q. When we say "suspicious orders," it's
    20                   ---                                 20   PSI's understanding that we're talking about
    21   BY MR. FULLER:                                      21   orders that may be suspicious for potential
    22       Q. It's 21 C.F.R. 1301.74.                      22   diversion, correct?
    23          Do you see that, Mr. Schoen?                 23          MR. RICARD: Objection to form.
    24       A. I see it.                                    24       A. Yes. It may be, yes.

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     1       Q. And it's not that PSI has to know for          1   doctor or somebody else in the distribution chain
     2   sure they're being diverted. You just have to         2   needs to be shut down, right?
     3   have a suspicion, correct?                            3          MR. RICARD: Objection to form.
     4           MR. RICARD: Objection to form.                4       A. Yes.
     5       A. I would guess that's true, yeah.               5       Q. And unless we're telling them and
     6       Q. Well --                                        6   providing them that information as a registrant,
     7       A. I mean, we -- you know, we -- go ahead.        7   it makes it much harder on them to do their jobs,
     8       Q. Sure. And I don't want you to guess,           8   correct?
     9   okay? That's what I don't want you to do here         9       A. Yes.
    10   today. I want to know what you know. And if you      10       Q. So one of the ways that we're trying to
    11   don't know, I want you to tell us that, okay?        11   keep our -- again, our communities and our
    12           When we're talking about suspicious          12   children safe is by putting upon the registrant,
    13   orders, we have to know -- as a registrant, as       13   such as PSI, the obligation to report suspicious
    14   PSI, we have to know suspicious of what, correct?    14   orders --
    15       A. Correct.                                      15          MR. RICARD: Objection to form.
    16       Q. And we know it's suspicious of diversion      16       Q. -- correct?
    17   or illicit activity, correct?                        17       A. Yes.
    18       A. Yes.                                          18       Q. Okay. Now, we're going to talk about it
    19           MR. RICARD: Objection to form.               19   in more detail later, but you're aware that there
    20       Q. And we know as PSI that the DEA has told      20   is a know your customer requirement, due diligence
    21   us that we can look for orders of unusual size,      21   that has to be done, when you're dealing with
    22   orders deviating substantially from a normal         22   suspicious orders and controlled substances as
    23   pattern, and orders of unusual frequency as some     23   well, correct?
    24   of the factors to look to, correct?                  24       A. Yes.
                                                   Page 43                                                   Page 45
     1          MR. RICARD: Objection to form.                 1      Q. And you may find this interesting. So I
     2      A. Yes.                                            2   will fully admit I'm a little bit of a book nerd,
     3      Q. And, again, when we're talking about            3   okay? And if you -- in studying history in
     4   suspicious, it's suspicious of diversion or some      4   college, if you look back -- well, strike that.
     5   sort of illicit activity because that is what         5   Let me start with another premise.
     6   you're trying to prevent as a wholesale               6          You would agree that we are in the
     7   distributor?                                          7   middle of an opioid epidemic in this country,
     8          MR. RICARD: Same objection.                    8   correct?
     9      A. Yes.                                            9      A. Yes.
    10      Q. Okay. Now, let's go back to that part          10      Q. Okay. And if you go back and look
    11   where we had that little hiccup a moment ago.        11   through history, it's not the first time that
    12          There's nothing in this regulation that       12   we've had opioid issues in this world. If you
    13   says PSI has to determine that they're actually      13   think back, back at the late 18th century, early
    14   being diverted, does it?                             14   19th, you had the opium wars going on --
    15      A. No.                                            15      A. Yes.
    16      Q. It's the mere suspicion of diversion           16      Q. -- on the other side of the world.
    17   that should be reported, correct?                    17      A. In China, yes.
    18          MR. RICARD: Objection to form.                18      Q. And then I don't know if you're familiar
    19      A. Yes.                                           19   with the Harrison Act that was passed in the early
    20      Q. And there's a reason for that, right?          20   1900s.
    21   And the reason is because we want to get those       21      A. I'm not.
    22   involved, the DEA, if there's even the potential     22      Q. So I went and pulled the Congressional
    23   for diversion so that they can do their              23   Record from the Harrison Act, and this is going to
    24   investigation to determine whether a pharmacy or a   24   be -- let me grab it. And I told you I'm a little

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     1   bit of a book nerd. I really mean I'm a little             1   says, "I would like to point out, as is shown by
     2   bit of a book nerd.                                        2   my report, that this country -- that in this
     3          So -- and tell me -- and, again, not to             3   country, we are importing over 400,000 pounds of
     4   pick on you at all, but have you ever heard that           4   opium and using it. Over 75 percent of that
     5   history tends to repeat itself?                            5   opium, gentlemen, is manufactured into morphine."
     6       A. Yes.                                                6          And, Mr. Schoen, you know what morphine
     7       Q. And if we look back through time, it                7   is, correct?
     8   seems to be true, doesn't it?                              8       A. I do.
     9       A. Yes.                                                9       Q. And it's another type of pain
    10       Q. Now, the Harrison Act, that was                    10   medication?
    11   legislation that was passed back in the early             11       A. Yes.
    12   1900s, and this is a legislative history and              12       Q. Okay. "And I have reliable information
    13   another tidbit -- I'm not really going to go into         13   that 75 percent to 90 percent of that morphine is
    14   with you, but Donald McKesson actually spoke at           14   used outside of legitimate medical channels,"
    15   this legislative hearing.                                 15   which would be the equivalent to our illicit
    16          Do you know who Donald McKesson is?                16   market today, correct?
    17       A. I certainly know what McKesson is, yes.            17          MR. RICARD: Objection to form.
    18       Q. He is one of the founders of that                  18       A. Apparently, yes.
    19   company that now exists still today.                      19       Q. And in the next section, "In Germany, as
    20       A. Yes.                                               20   I have pointed out in my report, with a population
    21       Q. The Harrison Act was being considered              21   nearly equal to that of the United States, they
    22   back during the early 1900s because we were having        22   have a net consumption of 16,000 pounds of opium
    23   a problem with opium dens in the United States,           23   against 400,000 pounds in this country."
    24   and there wasn't a way to control it. And the             24          Seems shocking, doesn't it, Mr. Schoen?
                                                       Page 47                                                    Page 49
     1   Harrison Act is actually a tax-based act, because          1       A. Yes. I mean, it's --
     2   way back then, the great U.S. Congress didn't have         2       Q. Now, let's go to page 29. And many of
     3   the expansive powers of the commerce clause to do          3   these people speaking during this Congressional
     4   anything they wanted to. They could only do                4   hearing, Mr. Schoen, were members of the industry,
     5   things they were specifically given power, and one         5   for example, Mr. McKesson.
     6   was tax. So this is the Congressional history              6           And here on 29, again, the highlighted
     7   related to that.                                           7   area, it says, "Gentlemen, it is the manufacturers
     8                  ---                                         8   and wholesalers, the people higher up, that sell
     9          (PSI-Schoen Exhibit 7 marked.)                      9   these drugs promiscuously that we want to reach
    10                  ---                                        10   and must reach if we ever hope to break up this
    11      Q. And we're just going to touch on a                  11   traffic. Scotch the snake at its lair."
    12   couple sections. Page 25 -- and before I actually         12           Have you ever heard that saying before,
    13   start reading that with you, Mr. Schoen, are you          13   "Scotch the snake at its lair"?
    14   aware that the U.S. uses over 95 percent of the           14       A. Never.
    15   opium produced in the entire world?                       15       Q. I looked it up. It's a quote from
    16      A. No, I'm not aware of that.                          16   Macbeth. It means go to the home of the snake and
    17      Q. Okay. Would it surprise you to know                 17   kill it. Okay?
    18   that the U.S. uses over 95 percent of the opium           18           Now, here it's talking about
    19   produced in the entire world?                             19   manufacturers and wholesalers selling drugs
    20      A. It does surprise me that 95 percent,                20   promiscuously. And you have an understanding of
    21   yes.                                                      21   what that means, correct?
    22      Q. And, remember, history repeats itself.              22       A. Outside the appropriate channels, I
    23   So let's take a look. And this is a Mr. Wright            23   think.
    24   speaking to our United States Congress. And he            24       Q. Sure. And you are aware that -- I'm

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     1   going to exclude PSI from this.                           1      Q. And this is way back from 1910. It's
     2          You are aware that other distributors              2   pretty impressive how history repeats itself,
     3   have sold drugs outside of the legitimate                 3   isn't it?
     4   channels --                                               4      A. Yes.
     5          MR. RICARD: Objection to form.                     5      Q. It goes on to say, "Since he won't do it
     6      Q. -- correct?                                         6   on moral grounds, it becomes the duty of the
     7      A. I really -- I really don't know that                7   government to compel him to do it by law."
     8   they have, no. I mean, it's just because I don't          8           Do you see that?
     9   know.                                                     9      A. I see that.
    10      Q. Sure. I will tell you with the second              10      Q. And it's the same thing with the
    11   memorandum of agreements that both McKesson and          11   enactment of the Controlled Substances Act, right?
    12   Cardinal entered with the United States                  12           MR. RICARD: Objection to form.
    13   government, that they admitted to breaking the           13      Q. We needed governmental safeguards out
    14   law.                                                     14   there to ensure that the people in the supply
    15          MR. RICARD: Objection to form.                    15   chain were doing the right thing, correct?
    16   Objection to scope.                                      16      A. Yes.
    17      Q. If that is the case, then you could                17      Q. The next section reads, "Throw on the
    18   agree then that others have acted promiscuously in       18   limelight of publicity such as this act provides.
    19   this industry, correct?                                  19   Make every man that handles these drugs
    20          MR. RICARD: Same objection.                       20   responsible for his actions so that we have a
    21      A. Apparently, yes.                                   21   record of the transactions from the time of
    22      Q. Let's go on. "The poor unfortunate                 22   manufacture until it reaches the consumer."
    23   'dope fiend' is more sinned against than sinning.        23           And, again, that is why the Controlled
    24   Had the law provided sufficient safeguards around        24   Substances Act is created, correct?
                                                      Page 51                                                    Page 53
     1   the sale and distribution of these drugs, he would        1       A. That's their attempt, yes.
     2   never have acquired such a habit."                        2       Q. And even in 1910, it's sort of crazy how
     3           Do you see that there, Mr. Schoen?                3   people saw that being part of the solution on how
     4       A. I see it.                                          4   to get control of these controlled substances,
     5       Q. And does PSI agree that the system as              5   correct?
     6   set up with the Controlled Substances Act is              6       A. Yes.
     7   designed with safeguards to protect people from           7       Q. And PSI recognizes that if we don't have
     8   becoming addicts, or at least to try to?                  8   these safeguards, these what we call them safety
     9       A. Yes.                                               9   rules, that it becomes dangerous for the American
    10       Q. And that's part of the purpose behind             10   public?
    11   it, correct?                                             11       A. Yeah.
    12       A. Yes.                                              12          MR. RICARD: Objection to form.
    13       Q. It says, "Had the manufacturers who sell          13       Q. Now, as an operator and, again, one who
    14   these drugs any conscious, he would make his             14   is a registrant, you have a special
    15   business to know who to he sold them in unusual          15   responsibility, do you not, when you're dealing
    16   quantities."                                             16   with controlled substances?
    17           Now, think about that for one second,            17       A. Yes.
    18   and let me ask you, does that sound like the know        18       Q. And that responsibility is to act in a
    19   your customer requirement?                               19   manner which tries to make the safest decisions
    20       A. Yes.                                              20   for the American public, correct?
    21           MR. RICARD: Objection to form.                   21          MR. RICARD: Objection to form.
    22       Q. You have to know who you're selling to            22       A. Yes.
    23   before you just selling to them?                         23       Q. And that includes complying with these
    24       A. Yes.                                              24   safety rules that we've already been discussing?

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     1       A. Yes.                                          1          MR. FULLER: And, Gina, if you'll
     2         MR. FULLER: Okay. And then next is             2   highlight or enlarge that highlighted section for
     3   Exhibit 8, which, Gina, is 108 -- or, no, it's       3   me.
     4   not.                                                 4   BY MR. FULLER:
     5         MS. VELDMAN: It's good. I've got it.           5       Q. Now, do you see that there? This is
     6         MR. RICARD: Same objection on legal            6   just a portion of the opinion that I'm just going
     7   conclusions, Mike.                                   7   to focus on for a brief moment, okay, Mr. Schoen?
     8         MR. FULLER: Sure.                              8   And it talks about -- you see "The security
     9         Gina, it's 106.                                9   requirement" in quotes there?
    10                 ---                                   10       A. Yes.
    11         (PSI-Schoen Exhibit 8 marked.)                11       Q. Now, that has significance, because if
    12                 ---                                   12   we go back to the earlier exhibit that was 21
    13   BY MR. FULLER:                                      13   C.F.R. 1301.74, that suspicious order regulation,
    14       Q. Now, Mr. Schoen, I know you are not a        14   it was entitled the security requirements section,
    15   lawyer.                                             15   wasn't it?
    16       A. Correct.                                     16          MR. RICARD: Objection to form.
    17       Q. I completely understand that. So I'm         17       A. Yes.
    18   going to make this brief.                           18       Q. Okay. It says -- and this opinion
    19         Now, I believe you probably have been         19   reads, "The security requirement at the heart of
    20   given a copy of this case, am I correct, Masters    20   the case mandates that distributors design and
    21   Pharmaceutical?                                     21   operate a system to identify suspicious orders of
    22       A. I've seen a copy of it. I haven't read       22   controlled substances and report those orders to
    23   it. Yes.                                            23   the DEA." And then in parentheses, it has "the
    24       Q. Well, where did you get your copy?           24   Reporting Requirement."
                                                  Page 55                                                   Page 57
     1   These guys?                                          1         Have you ever heard, Mr. Schoen, of "the
     2       A. Yes.                                          2   Reporting Requirement"?
     3       Q. Okay. Now, I would assume that that may       3      A. Yes.
     4   have been more recently when you were getting        4      Q. Okay. And that was that regulation we
     5   ready for this deposition, correct?                  5   looked at earlier, correct?
     6       A. Correct.                                      6      A. Correct.
     7       Q. Okay. Now, this decision came out in          7      Q. And PSI agrees that it has had a
     8   June of last year. Were you made aware -- did        8   reporting requirement since that regulation was
     9   anybody talk to you about the ramifications of       9   enacted in 1971, correct?
    10   this case back in June of last year when the        10         MR. RICARD: Objection to form.
    11   opinion was rendered by the DC Circuit Court of     11      A. Yes.
    12   Appeals?                                            12      Q. And that reporting requirement by law
    13       A. No.                                          13   requires PSI or any distributor to report
    14       Q. And before -- well, up until the point       14   suspicious orders that it receives to the DEA,
    15   where you were preparing for your deposition, had   15   correct?
    16   you ever heard of this case or its implications?    16         MR. RICARD: Objection to form.
    17       A. No. I'd heard -- I heard Masters got in      17      A. Yes.
    18   trouble, but that's it.                             18      Q. And that if it doesn't report suspicious
    19       Q. Well, they did. Whoever told you that        19   orders to the DEA, then that distributor is
    20   was right. They got in trouble.                     20   breaking the law, correct?
    21          Let me ask you -- and I'll ask you to        21      A. Yes.
    22   turn to page 7. Now, you can either turn or look    22         MR. RICARD: Objection to form.
    23   at the electronic copy, because the print on that   23      Q. Okay. Now, it goes on to say that "The
    24   printout is small as well.                          24   reporting requirement is a relatively modest one.

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     1   It requires only that a distributor provide basic     1          MR. RICARD: Objection to form.
     2   information about certain orders to DEA so that       2       A. Yes.
     3   DEA investigators in the field can aggregate          3       Q. Okay. Now, let's talk about it and why
     4   reports from every point along the legally            4   that makes sense, okay?
     5   regulated supply chain and use the information to     5          If you get a suspicious order -- strike
     6   ferret out potential illegal activity."               6   that.
     7          Did I read that correctly?                     7          Not you. Somebody at your business. If
     8       A. I wasn't following it, but I'm sure you        8   PSI gets a suspicious order, we understand that
     9   have, yes.                                            9   that means it's suspicious for potential
    10       Q. You're too trusting, Mr. Schoen. I'm          10   diversion, correct?
    11   kidding.                                             11       A. There's something about it brought our
    12          What I read to you exemplifies what we        12   attention to it, yes.
    13   talked about earlier; does it not?                   13       Q. And something is wrong with it, correct?
    14       A. Yes.                                          14       A. Potentially, yes.
    15       Q. And that the design of the system is          15       Q. We don't want to then -- if we think
    16   such that distributors have to provide information   16   there's a potential of it being diverted, we don't
    17   to the DEA for the DEA to be able to do their job    17   want to send that order off, do we?
    18   effectively to prevent diversion?                    18       A. No.
    19          MR. RICARD: Objection to form.                19       Q. Because --
    20       A. Yes.                                          20       A. If we think it's going to be diverted,
    21       Q. And PSI agrees with that, understands         21   we won't send it off.
    22   that, and lives up to that obligation, correct?      22       Q. And that's because that's part of your
    23          MR. RICARD: Objection to form.                23   obligation under the regulations, to maintain an
    24       A. Yes.                                          24   effective system to prevent diversion, correct?
                                                   Page 59                                                   Page 61
     1      Q. Okay. Next it goes on -- it says, "Once         1       A. Yes.
     2   a distributor has reported a suspicious order, it     2       Q. Okay. All right. We're done with that.
     3   must make one of two choices: Decline to ship the     3   No more legal cases. I can't say that for sure.
     4   order or conduct due diligence."                      4   There may be another one, now that I think about
     5          Do you see that there?                         5   it.
     6      A. I see it.                                       6          All right.
     7      Q. This is ultimately referred to as "the          7          MR. RICARD: Are you doing okay?
     8   shipping requirement."                                8          THE WITNESS: Fine.
     9          Have you ever heard of that term?              9          MR. FULLER: Okay. This is going to be
    10      A. I've heard the term.                           10   112, Gina.
    11      Q. What is your understanding of the              11                  ---
    12   shipping requirement? And, quite honestly, it        12          (PSI-Schoen Exhibit 9 marked.)
    13   shouldn't be the shipping requirement. It should     13                  ---
    14   be the anti-shipping requirement, right?             14   BY MR. FULLER:
    15      A. That's correct.                                15       Q. So what I'm going to pass you next is
    16      Q. Okay. And is it your understanding that        16   Plaintiff's Exhibit Number 9, and I'll explain it
    17   the shipping requirement means that if we have a     17   to you first, Mr. Schoen. It is a State of Ohio
    18   suspicious order, we need not to ship it?            18   Administrative Code 202 -- or 2002. And I'll
    19          MR. RICARD: Objection to form.                19   represent to you that it is the current code. As
    20      A. Yes.                                           20   you can see from the bottom of the enlarged area,
    21      Q. And that that has been the obligation          21   current through December 31, 2002.
    22   not just upon PSI but upon all distributors, to      22          Do you see that there?
    23   your understanding, since 1971 when this             23       A. I see it.
    24   regulation was passed?                               24       Q. Okay.

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     1          MR. RICARD: Real quick, same objection        1   controlled substances and other dangerous drugs
     2   as to legal conclusion.                              2   subject to abuse."
     3          MR. FULLER: Absolutely.                       3          And Section i says that -- did we lock
     4   BY MR. FULLER:                                       4   someone out of this room?
     5       Q. And it's Ohio Administrative Code             5          MR. PELINI: Locked the old man out.
     6   Section 4729-9-16.                                   6          MR. FULLER: Dude, you can't take a
     7          Have you ever seen this before,               7   hint?
     8   Mr. Schoen?                                          8          MR. PELINI: I can now.
     9       A. Not that I recall.                            9          MR. FULLER: You leave again, we're not
    10       Q. Okay. Fair enough that you may have          10   letting you back in.
    11   seen it; you just don't recall it?                  11          MR. PELINI: I understand.
    12       A. That's true.                                 12          MR. FULLER: That bladder, huh?
    13       Q. Okay. And it says it's Baldwin's Ohio        13   Kidding.
    14   Administrative Code, Board of Pharmacy, relating    14   BY MR. FULLER:
    15   to dangerous drugs.                                 15       Q. It says under Section i, "The wholesaler
    16          Do you see that there?                       16   shall inform the State Board of Pharmacy of
    17       A. Okay. Yes.                                   17   suspicious orders for drugs when discovered.
    18       Q. And I'm not going to do much with this.      18   Suspicious orders are those which, in relation to
    19   I just wanted to get your attention to --           19   the wholesaler's record as a whole, are of unusual
    20          MR. FULLER: Gina, I think it's page 6.       20   size, unusual frequency, or deviates substantially
    21       A. Page 6?                                      21   from established buying patterns."
    22          MR. RICARD: We only have four pages.         22          Correct?
    23          MS. VELDMAN: I don't have a page 6.          23          MR. RICARD: Objection to form.
    24          MR. FULLER: It's actually page 6.            24   Objection to scope.
                                                  Page 63                                                   Page 65
     1          Do you not have a page 6?                     1       A. Yes.
     2          MR. RICARD: It has four pages.                2       Q. Okay. And PSI as a distributor here in
     3          MR. FULLER: Hold on. Maybe I've got           3   Ohio has to comply with that regulation as well?
     4   the wrong one.                                       4           MR. RICARD: Same objections.
     5   BY MR. FULLER:                                       5       A. Yes.
     6      Q. Mr. Schoen, that's what happens when you       6       Q. Okay. So let's take a minute and recap
     7   don't copy stuff yourself.                           7   what we just went over, okay, so I can make sure
     8      A. That happens.                                  8   it's clear and that you and I are on the same
     9      Q. See, you know. You've been there, huh?         9   page.
    10          MR. RICARD: Could I look at that real        10           Prescription Supply, Inc., agrees that
    11   quick?                                              11   it must comply with the Controlled Substances Act
    12          MR. FULLER: Yeah. It's just the State        12   as enacted in 1970 by the U.S. Congress, correct?
    13   code on suspicious orders.                          13       A. Yes.
    14          Will it focus?                               14       Q. Prescription Supply also agrees that as
    15   BY MR. FULLER:                                      15   a licensed entity to distribute controlled
    16      Q. Okay. Not that that is real clear --          16   substances, it has an obligation to try to make
    17   and I apologize for that, Mr. Schoen, but I'm       17   the safest choices to keep our children and
    18   going to read it to you this time. And this deals   18   communities safe related to those drugs?
    19   with the Ohio State Board of Pharmacy Code.         19       A. Yes.
    20   You're aware there is a Board of Pharmacy Code,     20           MR. RICARD: Objection to form.
    21   correct?                                            21       Q. Prescription Supply agrees and accepts
    22      A. Yes.                                          22   that from 1971 forward, that there is a suspicious
    23      Q. Okay. And this says, "A system shall be       23   order reporting requirement requiring
    24   designed and operate to disclose orders for         24   suspicious -- or excuse me -- requiring

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     1   Prescription Supply to report any suspicious          1   customers because they look sketchy, correct?
     2   orders that it receives from any of its potential     2       A. That's correct.
     3   customers?                                            3       Q. Because of one factor or another. Maybe
     4          MR. RICARD: Objection to form.                 4   they were off in a far different state. Maybe
     5      A. Yes.                                            5   there were other indicators. But Prescription
     6      Q. And that the reason and basis for               6   Supply has declined to do business with people who
     7   reporting suspicious orders is to enable the DEA      7   it felt may be involved in some sort of diversion?
     8   to do its job in enforcement of the law in            8       A. Many.
     9   preventing diversion?                                 9       Q. Making those type of choices has a
    10      A. Yes.                                           10   financial impact on the company's operation; does
    11      Q. That Prescription Supply also agrees and       11   it not?
    12   accepts that since 1971, there has been a shipping   12       A. It does.
    13   requirement, meaning that it cannot ship orders      13       Q. It can actually hamper a company's
    14   that are in any way suspicious?                      14   operations financially, correct?
    15          MR. RICARD: Objection to form.                15       A. Yes. So can not making those choices.
    16      A. Yes.                                           16       Q. Absolutely. But Prescription Supply
    17      Q. And that the reason we don't ship              17   would agree that a less safe choice should not be
    18   suspicious orders is because we don't want to        18   made just for financial gain?
    19   contribute to potential diversion of controlled      19       A. Yes.
    20   substances?                                          20       Q. The financial gain should not weigh in
    21      A. Yes.                                           21   when trying to decide whether to report a
    22      Q. And that, as we've seen through history,       22   suspicious order or to halt orders?
    23   Congress not just once, but now twice, has put       23       A. Yes.
    24   into place a regulatory scheme, we'll call them      24       Q. And that if it does, it's not good for

                                                   Page 67                                                      Page 69
     1   safety rules, to try to keep the communities, our     1   the American public?
     2   children, safe from these dangerous drugs?            2      A. Yes.
     3           MR. RICARD: Objection to form.                3          MR. FULLER: Okay. Guys, we've been
     4   Objection to scope.                                   4   going a little over an hour. Do you want to take
     5       A. Yes.                                           5   a break?
     6       Q. And that as a link in the chain of             6          MR. RICARD: Sure.
     7   distribution, wholesalers have an obligation to       7          THE VIDEOGRAPHER: The time is now
     8   make the safest choices when distributing these       8   10:13. Going off the record.
     9   dangerous drugs to protect our children and our       9          (Recess taken.)
    10   families and our communities?                        10          THE VIDEOGRAPHER: The time is now
    11           MR. RICARD: Objection to form.               11   10:27. Back on the record.
    12       A. Yes.                                          12   BY MR. FULLER:
    13       Q. And Prescription Supply, Inc., would          13      Q. And, Mr. Schoen, I'm sorry because I
    14   agree that in distributing these controlled          14   didn't tell you this at the beginning. If you
    15   substances, every distributor needs to comply with   15   need a break at any time for anything, use the
    16   the public safety rules and make the safest          16   restroom, take a phone call, whatever it may be,
    17   choices related to the distribution of these         17   just let us know. This isn't meant to be
    18   controlled substances?                               18   unbearable, uncomfortable. I know it's not
    19           MR. RICARD: Objection to form.               19   necessarily pleasurable being here.
    20       A. Yes.                                          20      A. It's not meant to be, yes.
    21       Q. Now -- and I'll be upfront. I've seen         21      Q. But we'll try to do everything we can,
    22   it in the documents that have been provided by       22   including keeping you with some Diet Coke, if
    23   your counsel that Prescription Supply has on         23   necessary.
    24   occasion declined to do business with potential      24      A. Thank you.

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     1      Q. Now, you put cream in tea?                          1       Q. But 120 people a day?
     2      A. I'd rather put milk in it, but -- that's            2       A. It was shocking to me that Limbaugh got
     3   the way I was brought up. You know, it's a                3   hooked on it.
     4   very --                                                   4       Q. And let me ask, unlike a lot of the
     5      Q. English thing?                                      5   other Defendants here, you've been in the industry
     6      A. Yes.                                                6   personally yourself for a very long time. Did you
     7      Q. I was going to say.                                 7   ever think you would see an epidemic develop like
     8      A. My mother-in-law, who has passed away,              8   has developed in this country?
     9   was a war bride.                                          9       A. There -- I was in college just before
    10      Q. Oh, really?                                        10   the -- I'm going to say the drug revolution at
    11      A. And she -- but she was there during the            11   least hit in my area. I wasn't -- I graduated
    12   war, and during the depression, which didn't hit         12   St. Thomas in Saint Paul, Minnesota.
    13   England as hard.                                         13       Q. Yes, sir.
    14      Q. Sure.                                              14       A. We didn't know about -- I mean, we knew
    15      A. So she never used milk in her tea.                 15   marijuana, but we didn't use it. I never knew
    16      Q. No?                                                16   anybody that used it. We knew that at the
    17      A. She never used it in her tea because               17   university, some people were experimenting with
    18   they couldn't afford it.                                 18   LSD, but I didn't know anybody personally.
    19      Q. Not because she didn't want it?                    19          I went into the Army, came back, went
    20      A. It's the world, you know.                          20   into graduate school. I graduated in '67, went in
    21      Q. Not because she didn't want it?                    21   the Army '68, '69, came back, went to graduate
    22      A. Well, perhaps. What she doesn't know --            22   school, and the world was a different place.
    23   what she didn't know, she didn't --                      23          And to that extent, I'm not surprised
    24      Q. You don't miss, right?                             24   that addiction is a problem in this country. And
                                                        Page 71                                                  Page 73
     1       A. That's right.                                      1   people that claim that marijuana is not a problem
     2       Q. What I always tell everybody, growing up           2   are wrong as far as I'm concerned.
     3   we didn't have air-conditioning until I was in            3      Q. Well, I appreciate that. I do. Now
     4   high school, which wasn't necessarily back in the         4   we're facing an opioid epidemic on top of
     5   depression. I mean, this is in the --                     5   everything else, which Prescription Supply
     6       A. Where were you --                                  6   recognizes, correct?
     7       Q. I was born and raised in Plant City,               7      A. I do.
     8   Florida. It's a strawberry farming town outside           8      Q. And we're going to talk a little bit now
     9   of Tampa.                                                 9   about that crisis and how long it's been going and
    10          MS. QUEZON: You need air conditioning.            10   developing.
    11       Q. So it's the south.                                11          MR. FULLER: Hey, AJ, give me 201.
    12          All right. And, Mr. Schoen,                       12   Thanks.
    13   Prescription Supply, Inc., does recognize that we        13                  ---
    14   are currently in an opioid crisis, correct?              14         (PSI-Schoen Exhibit 10 marked.)
    15       A. Yes.                                              15                  ---
    16       Q. And that currently -- I think the last            16   BY MR. FULLER:
    17   number was somewhere around 120 people are dying         17      Q. Mr. Schoen, have you ever heard of the
    18   of prescription-related overdoses every day in           18   United States General Accounting Office or
    19   this country?                                            19   sometimes referred to as the GAO?
    20       A. I wasn't aware of that, but I'll accept           20      A. Probably I've heard of it. I don't know
    21   it.                                                      21   anything about it.
    22       Q. Assuming that that figure is correct, is          22      Q. So it is a federal body that does
    23   that shocking to you?                                    23   accountability, integrity, and reliability related
    24       A. Certainly anybody dying is shocking.              24   to different issues going on in our country, as

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     1   well as within our federal government. So there           1   substantial value on the black market?
     2   has been a GAO looking into the DEA. This one is          2           MR. RICARD: Objection to form.
     3   looking into, as you can see, prescription drugs.         3   Objection to scope.
     4   And as you can see, it's entitled "United States          4       A. I do.
     5   General Accounting Office, GAO Report to                  5       Q. And that's part of the problem, because
     6   Subcommittee on Oversight and Investigations,             6   that incentivizes people to participate in the
     7   Committee on Energy and Commerce, House of                7   illicit market when you're dealing with controlled
     8   Representatives."                                         8   substances, correct?
     9          And you understand that that is one of             9       A. Yes.
    10   the investigative bodies within our United States        10       Q. And that takes us back to what we looked
    11   House of Representatives, correct?                       11   at earlier on the Congressional history from 1970,
    12          MR. RICARD: Objection to form.                    12   is we basically got to make sure the punishment or
    13   Objection to scope.                                      13   potential punishment significantly outweighs
    14      A. I do.                                              14   whatever potential gains are there in order for
    15      Q. And that the title of this -- and it's             15   the system to be effective, correct?
    16   dated May of 2002. So we're going back about 16          16       A. Yes.
    17   years, correct --                                        17       Q. PSI recognizes that and suggests that
    18      A. Apparently.                                        18   that's part of the way we can get control of this
    19      Q. -- if I did my math right?                         19   epidemic, correct?
    20      A. Yes.                                               20           MR. RICARD: Objection to form.
    21      Q. And it says, "Prescription Drugs, State            21       A. Yes.
    22   Monitoring Programs Provide Useful Tool to Reduce        22       Q. They go on to state, "A single
    23   Diversion."                                              23   40-milligram OxyContin tablet legally selling for
    24          And you know what state monitoring                24   about $4 is worth about $40 on the illicit
                                                       Page 75                                                   Page 77
     1   programs are, correct?                                    1   market."
     2      A. I do.                                               2           Does that coincide with what you've
     3      Q. Okay. And if you turn -- and I'll tell              3   heard as Prescription Supply, Inc.? Not to
     4   you, I didn't provide you the whole document, I           4   suggest that you've been out buying pills
     5   don't think. I think I just provided you the              5   illegally.
     6   relevant page. So if you'll turn to the second            6       A. Yes.
     7   page where it talks to the background, and it             7       Q. Okay. Now, keep in mind -- and this is
     8   says, "The diversion and abuse of prescription            8   in 2002. So we're going back well over a decade,
     9   drugs are associated with incalculable costs to           9   16 years.
    10   society in terms of addiction, overdose, death,          10           MR. FULLER: 202. Well, I've got one
    11   and related criminal activities."                        11   copy of 202. It's this whole folder. There we
    12          Does Prescription Supply agree that               12   go.
    13   diversion -- it's foreseeable that diversion would       13   BY MR. FULLER:
    14   cause all those issues; addiction, overdose,             14       Q. I put my sticker on my copy. I do that.
    15   death, and criminal related activities?                  15   I get like -- multitasking, not my strong suit.
    16          MR. RICARD: Objection to form.                    16       A. Which is why you let other people do
    17   Objection to scope.                                      17   your copying.
    18      A. Yes.                                               18       Q. Yeah, and then see what happens.
    19      Q. It goes on to say the "DEA has stated              19                  ---
    20   that the diversion and abuse of legitimately             20          (PSI-Schoen Exhibit 11 marked.)
    21   produced controlled pharmaceuticals constitutes a        21                  ---
    22   multibillion-dollar illicit market nationwide."          22       Q. All right. This is going to be
    23          Does Prescription Supply recognize that           23   Plaintiff's Exhibit Number 11. And we've seen
    24   the controlled substances that you deal in has a         24   this once before, I think, Mr. Schoen. Do you see

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     1   this? And I'm holding it up. The HathiTrust?          1           MR. RICARD: Objection to form.
     2       A. Yes.                                           2       A. To be -- I mean, I've heard something
     3       Q. You've probably never heard of it, have        3   about it. That's --
     4   you?                                                  4       Q. But you don't know the details?
     5       A. I have not, no.                                5       A. I certainly don't.
     6       Q. It is a non-profit that collects -- and        6       Q. Fair enough. And, again, if you don't,
     7   I didn't learn about it until this litigation --      7   just tell me that.
     8   collects old documents or older documents. That's     8       A. Okay.
     9   how I gained access to that 1910 Congressional        9       Q. That is a legitimate answer as long as
    10   Record, because otherwise you would have to go to    10   it's a truthful answer, okay?
    11   the Congress archives in DC and try to dig it out.   11       A. All right.
    12   So a lot of this stuff, fortunately, is online       12       Q. So this hearing is before the
    13   now.                                                 13   Subcommittee on Oversight and Investigations of
    14           So if you'll turn to page 2. This is         14   the Committee on Energy and Commerce, House of
    15   another United States Congressional hearing. The     15   Representatives, One Hundred Seventh Congress,
    16   title of it is, "OxyContin: Its Use and Abuse."      16   first session, August 28, 2001.
    17           Now, you are aware of what OxyContin is,     17           So here going back a year prior to the
    18   correct, Mr. Schoen?                                 18   last document that we looked at, which was a GAO
    19       A. I'm not a pharmacologist, but yes. I'm        19   report, this is going back to 2001, and it's the
    20   basically aware that it is a pain drug.              20   abuse -- the use and abuse of OxyContin.
    21       Q. And you're aware that it's an                 21           And if you will turn to page 6. It
    22   opioid-based pain medication?                        22   says, "The use and abuse of OxyContin provides
    23       A. I am aware.                                   23   quite a dilemma for us in the U.S. Congress" --
    24       Q. And I'll tell you, if you're aware or         24   excuse me -- "for us in Congress and for the
                                                   Page 79                                                        Page 81
     1   not, that it was launched in approximately 1996.      1   American public. For some, OxyContin is the angel
     2          Does that seem to coincide with your           2   of mercy; and for others, it's the angel of
     3   recollection?                                         3   death."
     4      A. Yes.                                            4          Does Prescription Supply agree that if
     5      Q. And are you aware that -- it was created        5   used appropriately, OxyContin has its place and
     6   by Purdue Pharma, which you know who they are,        6   can be a, for lack of a better analogy, angel of
     7   correct?                                              7   mercy; and if used illicitly, can also bring about
     8      A. (Indicates affirmatively.)                      8   death?
     9          MR. RICARD: You have to say yes or no.         9          MR. RICARD: Objection to form.
    10      A. Yes. I'm sorry.                                10       A. Yes.
    11      Q. That's all right. Again, we get into           11       Q. It says, "Today, we will hear from law
    12   that conversational tone and we forget sometimes.    12   enforcement officials who argue that OxyContin is
    13   I apologize.                                         13   quickly becoming the abuser's drug of choice,
    14          Are you aware that the -- that multiple       14   surpassing heroin and cocaine in some
    15   entities have been very critical of Purdue Pharma    15   jurisdictions."
    16   for the way it marketed OxyContin to doctors and     16          Does Prescription Supply agree and
    17   patients?                                            17   recognize that as early as 2001, we were seeing
    18          MR. RICARD: Objection to form.                18   the opioid epidemic blossom and bloom?
    19      Q. And if you're not aware --                     19       A. To be honest, in 2001, I don't believe I
    20      A. I'm really -- in particular, no, I'm not       20   was aware of that.
    21   aware of it.                                         21       Q. Whether you were --
    22      Q. Are you aware that they got in trouble         22       A. I'm aware of it now.
    23   with the DEA for the way they market their           23       Q. Sure. Let's go on, and then I'll ask
    24   product?                                             24   the next question.

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     1          If you'll turn to page 8. It says,                 1   ask you.
     2   "These actions, though commendable, also appear           2          You're not saying that there weren't
     3   long overdue. According to DEA, the number of             3   other opioid-based pain medications, because we
     4   oxycodone-related deaths has increased 400 percent        4   know morphine --
     5   since 1996, the same time period in which the             5      A. Yes.
     6   annual number of prescriptions for OxyContin has          6      Q. -- was around?
     7   risen from approximately 300,000 to almost                7      A. Yes.
     8   6 million."                                               8      Q. We know Lortab was around. Vicodin was
     9          We're looking at the time frame,                   9   around.
    10   Mr. Schoen, of 1996 to 2001. Prescription Supply         10      A. Yeah.
    11   would agree that that is an unusual increase in          11      Q. Those are all other pain medications,
    12   the prescriptions for any drug going from 300,000        12   right?
    13   to 6 million?                                            13      A. Well, yeah, there are. When I think of
    14          MR. RICARD: Objection to form.                    14   morphine, I think of even worse than, you know ...
    15       Q. Do you know how many times that is                15      Q. It would shock you that that's not the
    16   increased --                                             16   case, huh?
    17       A. No.                                               17      A. I am shocked that that's not the case,
    18       Q. -- or what percentage?                            18   yes. I did not know that.
    19       A. No.                                               19      Q. So take that increase, that
    20       Q. So I had to do the math on the                    20   2,000 percent increase --
    21   calculator.                                              21      A. Yes.
    22       A. Okay.                                             22      Q. -- in light of the earlier sentence, a
    23       Q. That's a 2,000 percent increase in five           23   400 percent increase in oxycodone-related deaths
    24   years.                                                   24   during the same time frame. That's not right, is
                                                        Page 83                                                  Page 85
     1      A. Mm-hmm.                                             1   it? People shouldn't be dying from prescription
     2      Q. Does that cause you any concern as                  2   medication, should they?
     3   someone in the industry knowing that this is a            3          MR. RICARD: Objection to form.
     4   Schedule II controlled substance?                         4       A. No.
     5      A. It depends on what it's being used for,             5       Q. Okay.
     6   doesn't it?                                               6       A. But people do die from taking
     7      Q. Right.                                              7   prescription medication. Very few hopefully.
     8      A. When my wife broke her leg --                       8       Q. You wouldn't expect --
     9      Q. Yes, sir.                                           9       A. But I wouldn't expect 400 percent, no.
    10      A. -- okay, she got a prescription, okay,             10       Q. Right. Now, if during this time frame
    11   and at that time I asked a nurse, who happened to        11   we are mismarketing medications, during this time
    12   have been a neighbor of ours at one time, that was       12   frame if we are -- and I say "we." People in the
    13   there, "Why this? Why that drug?"                        13   supply chain -- and I'm not picking on PSI -- are
    14          And she said, "Because there's nothing            14   shipping and not reporting suspicious orders, this
    15   else available," which could explain the rise in         15   type of thing could be a foreseeable outcome,
    16   this. I mean, it used to be when I was in the            16   correct?
    17   Army and had my teeth pulled, they gave me Darvon        17          MR. RICARD: Objection to form.
    18   Compound or something.                                   18       A. Yes. But these are -- you're talking
    19      Q. Sure.                                              19   about 6 million prescriptions.
    20      A. And that's gone. A lot of the drugs                20       Q. That's a lot.
    21   that were out there have disappeared, and that           21       A. That's a lot.
    22   would allow them to gain a certain market share.         22       Q. I mean, particularly when five years ago
    23   I'm not defending. I'm just saying that that's --        23   it was only 300,000 --
    24      Q. Sure. And you're not -- well, let me               24       A. Correct.

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     1      Q. -- a 2,000 percent increase?                   1                    ---
     2      A. Mm-hmm.                                        2       Q. Now, Mr. Schoen, this is the National
     3      Q. Now, I agree with you there's plenty of        3   Center On Addiction and Substance Abuse, Cornell
     4   blame to go around. Doctors had to write those       4   University. You know of Cornell University, heard
     5   scripts, right?                                      5   of it at least, correct?
     6      A. That's right.                                  6       A. Yes.
     7      Q. But we know there's bad doctors out            7       Q. A very prestigious entity -- university?
     8   there, too, don't we?                                8       A. Yes.
     9      A. That's right.                                  9       Q. And it's funded by -- well, excuse me.
    10      Q. Now, we also are not -- as being a            10   It's "Under the Counter: The Diversion and Abuse
    11   member of the supply chain, Prescription Supply,    11   of Controlled Prescription Drugs in the U.S.," and
    12   we're not going to condone any manufacturers who    12   it's dated -- what date do you see there,
    13   may be mismarketing their drugs either?             13   Mr. Schoen?
    14      A. No.                                           14       A. July '05.
    15      Q. That's absolutely inappropriate,              15       Q. So a couple years after those other
    16   correct?                                            16   documents we looked at, right?
    17      A. Correct.                                      17       A. Correct.
    18      Q. It's absolutely detrimental to the            18       Q. And it's funded by an unrestricted grant
    19   American public, correct?                           19   from who?
    20      A. Yes.                                          20       A. From Purdue apparently.
    21      Q. Without question?                             21       Q. Purdue Pharma LP?
    22      A. Without question.                             22       A. Okay.
    23      Q. We're not going to condone any other          23       Q. The maker of OxyContin, right?
    24   wholesale distributors who may be shrugging their   24       A. Yes.
                                                  Page 87                                                   Page 89
     1   duties to report and stop suspicious orders          1       Q. And there's only one area I want to
     2   either, are we?                                      2   touch on. If you go to page 9, again, Bates
     3      A. No.                                            3   number in the upper right-hand corner.
     4      Q. I'm not saying you or picking on anybody       4       A. It happens to agree with the lower page.
     5   else here, but if it's happening, Prescription       5   Okay.
     6   Supply isn't going to stand for it?                  6       Q. Sir?
     7      A. Prescription Supply isn't going to do it       7       A. It happens to agree with the lower.
     8   for sure.                                            8       Q. Oh, it does. You're right. You're
     9      Q. For sure. And doesn't think anybody            9   right.
    10   else should be able to get away with it?            10           It says, "The bottom line: Our nation
    11      A. That's correct.                               11   is in the throws of an epidemic of controlled
    12      Q. Okay.                                         12   prescription drug abuse and addiction. Today
    13          MR. FULLER: I need 206.                      13   15.1 million people admit abusing prescription
    14   BY MR. FULLER:                                      14   drugs, more than the combined number who admit
    15      Q. It's another big book, but at least my        15   abusing cocaine, hallucinogens, and heroin
    16   boxes are going to be a lot lighter going home.     16   combined." Oh, and inhalants as well.
    17      A. I'm happy for you and the airlines.           17           Do you see that there?
    18      Q. And you don't have to take this with          18       A. I see it.
    19   you?                                                19       Q. And, again, you may not have ever been
    20      A. I'm happy for you and the airlines.           20   provided this report or seen this report, but PSI
    21      Q. All right. This is going to be                21   has no reason to disagree with this report that in
    22   Plaintiff's Exhibit Number 12.                      22   the early 2000s, we were in the throws of a
    23                  ---                                  23   prescription drug abuse and addiction epidemic,
    24         (PSI-Schoen Exhibit 12 marked.)               24   correct?

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     1          MR. RICARD: Objection to form.                      1       Q. Prescription Supply also recognizes
     2   Objection to scope.                                        2   that -- strike that.
     3       A. I assume that this is accurate then,                3          So with that information that I showed
     4   yes.                                                       4   you provided by the GAO, the Congressional
     5       Q. And then here's what was most shocking              5   hearings, and now Cornell University, while you
     6   to me at least, and you tell me. "Children are             6   may not have known it at the time, Prescription
     7   especially at risk."                                       7   Supply agrees that the evidence indicates that we
     8          Do you see that?                                    8   were in an opioid epidemic even in the early
     9       A. I see that.                                         9   2000s?
    10       Q. "In 2003" -- so about that time frame              10          MR. RICARD: Objection to form.
    11   you were just talking about -- "2.3 million teens         11   Objection to scope.
    12   between the ages of 12 and 17 admit abusing               12       A. Yes, based on what you've shown me.
    13   prescription drugs in the past year. 83 percent           13       Q. And assuming that it's true?
    14   of them admitted abusing opioids."                        14       A. Assuming.
    15          Now, understanding that that was going             15       Q. Because you haven't done anything to
    16   on back 15 years ago, that causes Prescription            16   independently verify this stuff?
    17   Supply great concern, doesn't it?                         17       A. I have not.
    18       A. It does.                                           18       Q. All right. Mr. Schoen, we're going to
    19       Q. Because these are our kids, right?                 19   talk now a little bit about interaction and
    20       A. Right.                                             20   communication with the DEA. So here's what my
    21       Q. These are part of the people that we               21   hope is -- and counsel probably picked up on this
    22   are -- and I say "we." Prescription Supply is             22   already.
    23   trying to keep safe by abiding by the Controlled          23          We're flowing through a bunch of
    24   Substances Act?                                           24   different topics, subjects, most of which are set
                                                         Page 91                                                  Page 93
     1       A. Yes.                                                1   out in the 30(b) notices, the Exhibits 1 and 2
     2       Q. We shouldn't have -- would Prescription             2   that we looked at earlier. Through the
     3   Supply agree that we shouldn't have 2.3 million            3   progression through these subject areas, we're
     4   teens, kids between the ages of 12 and 17, abusing         4   going to cover -- at least my goal is -- most of
     5   opioids in this country?                                   5   the subjects set out in the 30(b).
     6       A. Yes.                                                6          There may be some that we need to go
     7       Q. And this would be an indication that we             7   back and -- that I didn't ask about that we'll
     8   are in an epidemic even in the early 2000s,                8   clean up at the end, just to get the information
     9   correct?                                                   9   out, but I'm just trying to do this in sort of
    10          MR. RICARD: Objection to form.                     10   organic conversation type instead of running
    11       A. Yes.                                               11   through one after the other, which, trust me,
    12       Q. Now, Prescription Supply is aware that             12   would be even more boring than this already is for
    13   when you're talking about oxycodone or hydrocodone        13   you. Okay?
    14   or any of the other derivatives, you're dealing           14      A. Yes.
    15   with opioids, right?                                      15      Q. All right. Now, my understanding is
    16       A. Yes.                                               16   that -- strike that.
    17       Q. Hydrocodone was -- I say recently.                 17          PSI has had interaction with the DEA in
    18   What? 2014, I think rescheduled from a III to a           18   the past, correct?
    19   II?                                                       19      A. Yes.
    20       A. Yes.                                               20      Q. As of -- shoot. I think I saw a --
    21       Q. That's because of the dangerous                    21      A. The DEA is a regulatory body --
    22   propensities with that medication as well, right?         22          MR. RICARD: There's no question
    23          MR. RICARD: Objection to form.                     23   pending.
    24       A. Yes.                                               24      Q. If you want to go ahead and start

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     1   talking, we all -- I'm kidding. I'm kidding.             1       A. Correct.
     2   Listen to the advice of your counsel.                    2       Q. Okay. This particular letter, however,
     3          Now, as recent as April, I think, of              3   is to Cardinal Health, right?
     4   '16, PSI had a meeting and a presentation done by        4       A. Yes.
     5   the DEA. Does that sound correct?                        5       Q. Not Prescription Supply?
     6       A. Yes.                                              6       A. That's correct.
     7       Q. Okay. But you're correct, the                     7       Q. Now, I'll tell you -- and it may be
     8   regulatory body, at least at the federal level, is       8   because it wasn't saved or it wasn't kept -- I
     9   the DEA; is that right?                                  9   never got in discovery one that was sent to
    10       A. Yes.                                             10   Prescription Supply. I'm not faulting anybody.
    11       Q. Prescription Supply also recognizes that         11   It's just I didn't get it.
    12   they have to comply with the board of pharmacies        12           Do you know whether Prescription Supply
    13   in the respective states that they do business in,      13   ever got such a letter from the DEA?
    14   particularly the state we're sitting in, the State      14       A. I don't know that we got it. I assume
    15   of Ohio --                                              15   we got it, but I don't know that we have it.
    16       A. Yes.                                             16       Q. So let me ask you a different question.
    17       Q. -- correct?                                      17           Assuming that the DEA sent one to every
    18          And they may have slightly different             18   registrant in the country in September of 2006,
    19   rules and regulations, some of which we saw             19   presumptively the same letter would have been sent
    20   earlier today?                                          20   to Prescription Supply because it was a registrant
    21       A. Yes.                                             21   as well, correct?
    22       Q. But it doesn't change the fact that              22       A. Correct.
    23   Prescription Supply is obligated to comply with         23       Q. Okay. But sitting here today, you have
    24   those regulations?                                      24   no independent recollection of actually getting
                                                      Page 95                                                   Page 97
     1       A. Yes.                                              1   this letter?
     2       Q. Okay.                                             2       A. No, I don't.
     3           MR. FULLER: 301.                                 3       Q. Okay. And that's fair enough, all
     4           And, Counsel, this is the Dear Registrant        4   right? Like I told you before, if you don't know
     5   letter from 2006. In the production, I didn't get one    5   or you don't remember, just tell me, and I don't
     6   that was specifically to Prescription Supply --          6   have any problem with that, okay?
     7           MR. RICARD: Right.                               7       A. Yes.
     8           MR. FULLER: -- so I just grabbed                 8       Q. All right. Now, we're going to go
     9   Cardinal's, so I'm assuming that he will testify         9   through some areas of this letter and just talk
    10   that they got one.                                      10   about them briefly.
    11           MR. RICARD: Yeah. You can ask him.              11          So it says -- after that first sentence,
    12                  ---                                      12   it says, "The purpose of this letter is to
    13          (PSI-Schoen Exhibit 13 marked.)                  13   reiterate the responsibilities of controlled
    14                  ---                                      14   substance distribution in view of the prescription
    15   BY MR. FULLER:                                          15   drug abuse problem our nation currently faces."
    16       Q. So, Mr. Schoen, this letter is what we           16          Do you see that?
    17   refer to as a Dear Registrant letter. And if you        17       A. I see it.
    18   look at the very beginning, it says, "This letter       18       Q. If we roll down to the -- under the
    19   is being sent to every commercial entity in the         19   Background section --
    20   United States registered with the DEA to                20          MR. FULLER: Yeah. How did you know I
    21   distribute controlled substances."                      21   was going there? Is that highlighted on yours?
    22           And certainly we've established that            22          MS. VELDMAN: No. I was just cheating
    23   Prescription Supply would fall into that category,      23   looking --
    24   correct?                                                24          MR. FULLER: She's good.

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                                                   Page 98                                                  Page 100
     1   BY MR. FULLER:                                        1   business, correct?
     2       Q. All right. If you go down to the               2       A. Correct.
     3   paragraph -- well, you have it highlighted, so I      3       Q. Okay. If you go to the next page,
     4   don't need to specify, but the highlighted section    4   Mr. Schoen.
     5   there says, "Distributors are, of course, one of      5       A. Yes.
     6   the key components of the distribution chain. If      6       Q. It says, "The statutory factors DEA must
     7   the closed system is to function properly as          7   consider in deciding whether to revoke a
     8   Congress envisioned, distributors must be vigilant    8   distributor's registration are set forth in 21
     9   in deciding whether a proposed customer can be        9   U.S.C. 823(e). Listed first among these factors
    10   trusted to deliver controlled substances only for    10   is the duty of the distributors to maintain
    11   lawful purposes."                                    11   effective controls against diversion of controlled
    12           PSI agrees and accepts that                  12   substances into other than legitimate medical,
    13   responsibility as set out by the DEA in this         13   scientific, and industrial channels."
    14   letter, correct?                                     14           Prescription Supply agrees and accepts
    15           MR. RICARD: Objection to form.               15   that duty and responsibility to maintain effective
    16       A. Yes.                                          16   controls against diversion, correct?
    17       Q. PSI also agrees that that has been the        17           MR. RICARD: Objection to form.
    18   obligation since 1971, right?                        18       A. It does.
    19       A. Yes.                                          19       Q. Okay. And then it goes down, and it
    20       Q. That PSI, along with the other                20   says, "The DEA regulations require" -- do you see
    21   registered distributors, is a key component in the   21   that section?
    22   distribution chain and must be, as it says here,     22       A. No.
    23   vigilant in deciding whether to ship controlled      23       Q. Hold on. She'll get there. Yeah,
    24   substances, correct?                                 24   that's it.
                                                   Page 99                                                  Page 101
     1       A. Yes.                                           1       A. All right.
     2       Q. And PSI takes extreme caution in               2       Q. And this recites 21 C.F.R. 1301.74(b),
     3   ensuring that the persons that it is shipping to      3   and that's the suspicious order obligation that we
     4   are the type that are not going to divert, as we      4   talked about earlier, right?
     5   discussed earlier? You even declined to take on       5       A. Yes.
     6   new customers because of that concern, correct?       6       Q. And Prescription Supply still accepts
     7       A. Yes.                                           7   and recognizes that that has been in place since
     8       Q. It says, "This responsibility is               8   1971, correct?
     9   critical, as Congress has expressly declared that     9          MR. RICARD: Objection to form.
    10   the illegal distribution of controlled substances    10       A. Yes.
    11   has a substantial and detrimental effect on the      11       Q. Then here's where it gets interesting,
    12   health and general welfare of the American           12   and here's where I want to make sure that you and
    13   people."                                             13   I, Mr. Schoen, are on the same page.
    14          Again, Prescription Supply accepts and        14          It next says, "It bears emphasis that
    15   agrees with that statement?                          15   the foregoing reporting requirement is in addition
    16       A. Yes.                                          16   to, and not in lieu of, the general requirement
    17       Q. We've already seen that written several       17   under 21 U.S.C. 823(e) that a distributor maintain
    18   other times in the Congressional history, as well    18   effective controls against diversion."
    19   as the Controlled Substances Act, correct?           19          MR. RICARD: Hang on.
    20       A. Yes.                                          20          MS. MONAGHAN: Objection to form.
    21       Q. That shouldn't come as a surprise to          21          MR. RICARD: Do you see where --
    22   anybody?                                             22          THE WITNESS: I see that, yes.
    23       A. No.                                           23          MR. FULLER: There we go.
    24       Q. At least nobody in your line of               24          THE WITNESS: Yes.

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                                                  Page 102                                                  Page 104
     1           MR. RICARD: Take a look at it.                1   the United States Code that's actually passed by
     2   BY MR. FULLER:                                        2   the U.S. Congress.
     3       Q. And I'll read it again, Mr. Schoen. "It        3       A. Okay.
     4   bears emphasis that the foregoing reporting           4       Q. Okay?
     5   requirement is in addition to, and not in lieu of,    5       A. Okay.
     6   the general requirement under 21 U.S.C. 823(e)        6       Q. So we're dealing with two different
     7   that a distributor maintain effective controls        7   statutory schemes. And, again -- and I'm doing
     8   against diversion."                                   8   this, Mr. Schoen, so that you and I -- like I
     9           And let's talk about that for one             9   mentioned earlier, we can make sure we're on the
    10   second, Mr. Schoen. What the DEA is pointing out     10   same page because I want to make sure you
    11   is the two separate code sections we looked at       11   understand what you're answering so I know that
    12   earlier. We know, and Prescription Supply agrees,    12   I'm getting -- I'm understanding what you're --
    13   that it has a statutory obligation to maintain       13   the answer I'm getting as well.
    14   effective controls against diversion, correct?       14           Okay. Now, I'm just going to hold it
    15           MR. RICARD: Objection to form.               15   up.
    16       Q. And that means put systems and practices      16       A. Okay.
    17   and policies in place to try to prevent diversion.   17       Q. So we have -- I hope you don't mind, but
    18           Does PSI agree?                              18   I like changing colors for emphasis. And you see
    19           MR. RICARD: Same objection.                  19   if this makes sense and whether you agree, okay?
    20       A. Yes.                                          20   So, number one, we have the U.S. code section --
    21       Q. And that code section has been in full        21   or excuse me. And I got that backwards. I can't
    22   force and effect since 1970 when the Controlled      22   write it right much less explain it right. Jeez.
    23   Substances Act was passed, correct?                  23           So, number one, the first thing we
    24           MR. RICARD: Objection to form.               24   looked at this morning was the U.S. code section?
                                                  Page 103                                                  Page 105
     1      A. Yes.                                            1      A. Okay.
     2      Q. Separate from that, separate and                2      Q. And Prescription Supply recognizes that
     3   distinct, on this side, we have the suspicious        3   U.S. -- 21, U.S. Code 823(e) requires effective
     4   order reporting requirement, which is different,      4   controls against diversion, correct?
     5   right?                                                5          MR. RICARD: Objection to form.
     6      A. Yes.                                            6      A. Yes.
     7      Q. It is a mechanism in which the wholesale        7      Q. And that regulatory -- or excuse me.
     8   distributor, in this case PSI -- I'm sorry.           8   That statutory obligation has been in place in
     9      A. Go ahead.                                       9   full effect since 1970 when the CSA was passed?
    10      Q. You seemed bothered there for a second.        10          MR. RICARD: Same objection.
    11      A. Well, I'm just trying to make sure that        11      A. Yes.
    12   I'm not misunderstanding.                            12      Q. In addition to that, what we saw was
    13      Q. No. And I'm going to try to make it as         13   passed in 1971 was the Code of Federal Regulation,
    14   simple as I can because this is how --               14   21 C.F.R. 1301.74(b), which is the suspicious
    15      A. That's good because I need it to be            15   order reporting requirement, correct?
    16   simple.                                              16          MR. RICARD: Objection to form.
    17      Q. This is how I know how to do it.               17      A. Mm-hmm.
    18   21 C.F.R. -- so when we say "C.F.R.," we're          18      Q. Is that a yes?
    19   referring to the Code of Federal Regulation.         19      A. Yes.
    20      A. Yes.                                           20      Q. And Prescription Supply agrees that it
    21      Q. And that's a rule promulgated by the           21   also in addition to effective controls against
    22   DEA.                                                 22   diversion has a suspicious order reporting
    23      A. Okay.                                          23   requirement since 1971?
    24      Q. That's different than U.S.C., which is         24          MR. RICARD: Same objection.

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     1       Q. Correct?                                       1   or not. That's just what it indicates on the
     2       A. Yes.                                           2   letter.
     3       Q. Okay. And when I say there's two               3       A. Yes.
     4   distinct -- and when Mr. Rannazzisi is explaining     4       Q. Now, in all fairness, you don't have any
     5   in his letter, he's saying there's two distinct       5   reason to dispute that, do you?
     6   obligations; one, you have to maintain effective      6       A. No.
     7   control to try to prevent diversion yourself.         7       Q. Okay. Now, going back to page 2 of the
     8          And you agree with that, correct?              8   document. That's what Mr. Rannazzisi is saying
     9          MR. RICARD: Objection to form.                 9   when he says, "It bears emphasis that the
    10       A. Yes.                                          10   foregoing reporting requirement is in addition to,
    11       Q. You also have a suspicious order              11   and not lieu of, the general requirement under 21
    12   reporting requirement in addition to that you have   12   U.S.C. 823(e) that a distributor maintain
    13   to report suspicious orders to the DEA, correct?     13   effective controls against diversion"?
    14          MR. RICARD: Objection to form.                14           MR. RICARD: Objection to form.
    15       A. Yes.                                          15       Q. And PSI agrees and accepts those
    16       Q. Okay. And if anybody wants to, I'll --        16   responsibilities, correct?
    17          MS. MONAGHAN: Can we mark that as an          17       A. We do.
    18   exhibit?                                             18           MR. RICARD: Same objection.
    19          MR. FULLER: Yeah. My artwork, that            19       Q. Okay. Now, he goes on to explain it
    20   will be Plaintiff's 14.                              20   more, and we're going to read through that just
    21                   ---                                  21   for the fun of it, I guess.
    22         (PSI-Schoen Exhibit 14 marked.)                22           He says, "Thus, in addition to reporting
    23                   ---                                  23   all suspicious orders, a distributor has a
    24                                                        24   statutory responsibility to exercise due diligence
                                                  Page 107                                                  Page 109
     1   BY MR. FULLER:                                        1   to avoid filling suspicious orders that might" --
     2       Q. And that's where Mr. Rannazzisi who            2   might -- "be diverted into other than legitimate
     3   was -- I forget what his actual title was. Let's      3   medical, scientific, and industrial channels.
     4   see if he puts it on his letter. Joseph               4   Failure to exercise such due diligence could, as
     5   Rannazzisi who did this letter was the Deputy         5   circumstances warrant, provide a statutory basis
     6   Assistant Administrator, Office of Diversion          6   for revocation or suspension of a distributor's
     7   Control, in 1996.                                     7   registration."
     8       A. Mm-hmm.                                        8          And PSI recognizes and accepts that
     9          MR. RICARD: You need to respond yes or         9   responsibility and obligation, correct?
    10   no.                                                  10          MR. RICARD: Objection to form.
    11       A. I'm sorry. I don't know what the -- I         11       A. Yes.
    12   didn't hear a question there.                        12       Q. Okay. He goes on to say, "In a similar
    13       Q. No, there wasn't. I was just stating          13   vein, given the requirement under Section
    14   who -- what his title was.                           14   823(e)" --
    15          So let me state it differently. If you        15          MR. RICARD: Can you wait until it's up?
    16   go to page 4 of the document, this document          16          MR. FULLER: Yeah. Sorry.
    17   indicates that it was -- it is signed off on by      17   BY MR. FULLER:
    18   Joseph Rannazzisi, correct?                          18       Q. All right. "In a similar vein, given
    19       A. Yes.                                          19   the requirement under Section 823(e) that a
    20       Q. And it indicates that his position is         20   distributor maintain effective controls against
    21   Deputy Assistant Administrator of the Office of      21   diversion, a distributor may not simply rely on
    22   Diversion Control, correct?                          22   the fact that the person placing the suspicious
    23       A. Yes.                                          23   order is a DEA registrant and turn a blind eye to
    24       Q. Now, you don't know whether that's right      24   the suspicious circumstances."

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     1          Prescription Supply agrees that that is        1      Q. Which was --
     2   the status of the law and has been since 1971,        2      A. NDWA a long time ago.
     3   correct?                                              3      Q. Right.
     4          MR. RICARD: Objection to form.                 4          (Reporter clarification.)
     5       A. Yes.                                           5      A. NDWA, National Drug Wholesalers
     6       Q. That just because the person you're            6   Association.
     7   sending to is a registrant doesn't mean that you      7      Q. And HDMA has changed its name to HDA, I
     8   can turn a blind eye when it's suspicious?            8   think, now?
     9          MR. RICARD: Same objection.                    9      A. Yes.
    10       A. That's correct.                               10      Q. Okay. And not only is Prescription
    11       Q. That's the same thing that you guys did       11   Supply a member, but at different times -- and
    12   at PSI repeatedly when those registrants wanted to   12   maybe the entire time -- I'm not sure -- had
    13   become a new customer and there was something        13   directors or had a director on the board.
    14   fishy going on, or at least you suspected            14      A. Recently, as the number of wholesalers
    15   something, and you turned them down, right?          15   has decreased, and it's been decreasing pretty
    16       A. Yes. That's -- there was some reason          16   fast.
    17   why we turned them down, yes.                        17      Q. So you made your way up the totem pole?
    18       Q. Sure. And, listen, I went through the         18      A. Yeah. Now anybody -- any member,
    19   applications because they were provided by your      19   wholesaler member, has a board member.
    20   counsel, and a lot of the times it's like, "Look,    20      Q. Oh, currently?
    21   this just doesn't smell right."                      21      A. Currently. Now, some big wholesalers
    22       A. That's right.                                 22   have more than one board member.
    23       Q. For whatever reason --                        23      Q. Sure, sure.
    24       A. We didn't take them off.                      24      A. But everybody has a board member.

                                                  Page 111                                                    Page 113
     1       Q. And you didn't take them off?                  1       Q. Oh, really? I didn't realize that.
     2       A. At least as controlled substance               2       A. Yeah, mm-hmm.
     3   receivers.                                            3       Q. Huh. Okay. Well, we're going to look
     4       Q. And fair enough. You would agree to            4   at some of that.
     5   ship other things to them?                            5                   ---
     6       A. But not controlled substances.                 6           (PSI-Schoen Exhibit 15 marked.)
     7       Q. But that's not what they wanted,               7                   ---
     8   usually?                                              8       Q. Plaintiff's Exhibit 15. So there's a
     9       A. Generally, yes.                                9   lot of stuff on here that's irrelevant I'm not
    10       Q. And the reason you were doing that is         10   going to ask you about. We'll wade through it.
    11   because you knew of the heightened obligation you    11            And I'm going to go to page 12 right off
    12   had and the potential for abuse and the fact that    12   the bat. So page 12 is an e-mail.
    13   these drugs are dangerous if not handled             13            MR. FULLER: Can you blow that up for
    14   correctly?                                           14   me?
    15          MR. RICARD: Objection to form.                15            MS. VELDMAN: Yes.
    16       A. Yes.                                          16   BY MR. FULLER:
    17       Q. And Prescription Supply took that             17       Q. So if you look on the screen, there is a
    18   obligation very, very serious?                       18   J -- it's a Harbauer?
    19       A. Yes.                                          19       A. That's Harbauer.
    20          MR. FULLER: So now I'm going -- 601.          20       Q. Harbauer?
    21   BY MR. FULLER:                                       21       A. Mm-hmm.
    22       Q. So Prescription Supply is also a member       22       Q. And I'm assuming you know who that it
    23   of the H -- or what was the HDMA, correct?           23   is?
    24       A. Yes.                                          24       A. My sister.

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                                                      Page 114                                                       Page 116
     1       Q. Okay. Well, there you go. Let's hope              1   I told you there may be some things that don't
     2   you know who she is.                                     2   look familiar. And what I want to go to is the
     3       A. She's 89.                                         3   summary, and that's on page 32 of the document, I
     4       Q. Bless her heart.                                  4   believe.
     5          So this is an e-mail coming from                  5          MS. VELDMAN: 31.
     6   Brian -- or no. This is from Robert                      6          MR. FULLER: One more, page 31. There
     7   G-i-a-c-a-l-o-n-e.                                       7   you go. We'll start with the title though, Gina.
     8          Do you know how to pronounce that?                8   BY MR. FULLER:
     9       A. No.                                               9       Q. All right. You see page 31 there,
    10       Q. Okay. Well, we'll go with Robert G.              10   Mr. Schoen?
    11   And he is forwarding an e-mail -- I say that -- if      11       A. I do.
    12   you read down, the subject matter is "Summary of        12       Q. It says "Summary of the DEA-HDMA Meeting
    13   September 7th Meeting with DEA and Attachments."        13   on Suspicious Orders. Meeting Date: September 7,
    14          Do you see that?                                 14   2007." Right?
    15       A. All right. Yes.                                  15       A. Yes.
    16       Q. We're blowing it up for you.                     16       Q. And if we go to the key takeaways from
    17       A. Mm-hmm.                                          17   the meeting, we can see what the highlights sort
    18       Q. And the attachments include a Final              18   of were. It says, "The DEA's policy was to expect
    19   Summary of DEA Meeting 9-7-07. There's another          19   more than just reporting 'suspicious orders.' If
    20   attachment -- there's a total of three                  20   there was a suspicious order, the distributor
    21   attachments. At least that's what it says.              21   should either stop the delivery or should evaluate
    22          Do you see that there?                           22   the customer further before delivering it."
    23       A. Yes. I see it says three attachments,            23          Does PSI agree that that has been the
    24   yes, I do.                                              24   obligation as it understood it since 1971?

                                                    Page 115                                                       Page 117
     1       Q. And then it says, "Attention RAC                  1          MR. RICARD: Objection to form.
     2   Members."                                                2      A. Yes.
     3          Do you know what it means, RAC members?           3      Q. Without question, correct?
     4       A. No.                                               4          MS. MONAGHAN: Objection; form.
     5       Q. Okay. Either do I. It wasn't a trick              5      A. Yes.
     6   question.                                                6      Q. Okay. This says, "Simply complying with
     7          But then it reads, "HDMA met with the             7   the suspicious orders regulatory requirement does
     8   DEA officials last Friday to discuss the Agency's        8   not mean, in the agency's view, that the
     9   current policy position on suspicious orders. A          9   registrant is maintaining effective programs to
    10   summary highlighting the key points made during         10   detect and prevent diversion."
    11   the meeting are attached above for your review.         11          That's what we talked about, the two
    12   Three additional attachments containing a DEA           12   separate requirements, correct?
    13   slide presentation on suspicious orders and the         13      A. Yes.
    14   DEA's Office of Diversion Control are also              14      Q. And PSI agrees that simply reporting
    15   enclosed. Please contact me if you have any             15   suspicious orders and following the regulation
    16   questions regarding the attached materials."            16   doesn't mean you're still following and complying
    17          So this e-mail was apparently forwarded          17   with the U.S. code, correct?
    18   to your sister back on September 10th of 2007; is       18          MR. RICARD: Objection to form.
    19   that correct?                                           19      A. Yes.
    20       A. That's what it seems to show, yes.               20      Q. Then the next key takeaway is, "DEA
    21       Q. Now, have you had an opportunity to see          21   indicated they did not have the resources to
    22   this before today?                                      22   inspect every pharmacy; therefore it was important
    23       A. Not that I recall.                               23   for the distributor to know their customers."
    24       Q. Okay. That's fair enough. And, again,            24      A. Yes.

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     1      Q. Does PSI agree simply with the notion           1      A. It would be very difficult to do it
     2   that it's important for the distributor to know       2   perfectly.
     3   their customers?                                      3      Q. It's like having police officers out
     4      A. Yes.                                            4   there trying to maintain and catch people
     5      Q. PSI also recognizes that -- strike that.        5   speeding. If you and I are in the State of Ohio
     6           MR. FULLER: 204, Gina.                        6   and we're told there's only ten cops in the entire
     7                  ---                                    7   State of Ohio that are going to police speeding,
     8          (PSI-Schoen Exhibit 16 marked.)                8   we know they're not going to do a very good job,
     9                  ---                                    9   right?
    10   BY MR. FULLER:                                       10          MR. RICARD: Same objection.
    11      Q. And we're going to flip-flop back and          11      A. They'll only catch a certain number of
    12   forth between two exhibits for a moment, only        12   speeders.
    13   because I think it's important for complete          13      Q. Because they can't.
    14   understanding.                                       14      A. Correct.
    15           What counsel is going to hand you is a       15      Q. It's not possible. Well, the point is
    16   memorandum, and it's from the U.S. Inspector         16   the same thing with the DEA back during this time
    17   General, Glenn Fine. And the subject matter is       17   frame. They didn't have enough field diversion
    18   "Review of Drug Enforcement Administration's         18   officers to police every pharmacy. They're even
    19   Investigations of the Diversion of Controlled        19   admitting that to the HDMA in 2007, right?
    20   Pharmaceuticals."                                    20          MR. RICARD: Same objection.
    21           This was done in 2002, so about five         21      A. Yes.
    22   years before this meeting that we were just          22      Q. That's what they say. They said the DEA
    23   looking at, okay?                                    23   indicated they did not have the resources to
    24      A. All right.                                     24   inspect every pharmacy; therefore, it was
                                                  Page 119                                                  Page 121
     1       Q. And if you'll turn to page 12. Gina is         1   important for the distributors --
     2   going to blow up the highlighted section for us       2      A. To know their customers.
     3   there. And this is talking about -- and so you        3      Q. Exactly. A statutory obligation that
     4   know, Mr. Schoen, in looking at the resources that    4   they should be doing anyway, right?
     5   the DEA had and the resources that were being         5          MR. RICARD: Objection to form.
     6   allocated for diversion control purposes.             6      A. Yes.
     7          Now, this document reads that "Diversion       7      Q. Certainly what PSI has done from the
     8   investigators represent 10 percent, or 523, of the    8   very beginning?
     9   DEA's 5,124 authorized investigator positions in      9      A. We've tried.
    10   fiscal year 2001. The authorized diversion           10      Q. Best you can, correct?
    11   investigator positions were assigned as follows:     11      A. That's correct.
    12   55 at headquarters, 455 at domestic field offices,   12      Q. Not to say people don't make mistakes,
    13   and the remaining 13 at overseas offices."           13   right?
    14          So out in the field around the country        14      A. Hopefully not.
    15   during this time, we had 455 diversion officers.     15      Q. Fair enough. Let's go to the --
    16   That's to police all the wholesale distributors      16          MR. FULLER: Gina, back to 60- whatever,
    17   and all the shipments and all the pharmacies         17   601, page 32 now.
    18   around this entire country.                          18          MS. VELDMAN: Okay.
    19       A. Mm-hmm.                                       19          THE WITNESS: This one?
    20       Q. You and I can agree there's no way 455        20          MR. RICARD: This one.
    21   guys are going to be able to get that done for the   21          THE WITNESS: On page 32 now?
    22   entire country, correct?                             22          MR. RICARD: You said 32, Mike?
    23          MR. RICARD: Objection to form.                23          MR. FULLER: Yes, sir.
    24   Objection to scope.                                  24


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     1   BY MR. FULLER:                                        1   duty --
     2      Q. Okay. So if you see the section "HDMA           2      A. Yes.
     3   Questions and Assessment."                            3      Q. -- take on that obligation, with great
     4      A. Mm-hmm.                                         4   power also comes great responsibility, correct?
     5      Q. Is that a yes?                                  5      A. Mm-hmm.
     6      A. Yes.                                            6          MS. MONAGHAN: Objection; form.
     7      Q. And I apologize, but it has to be verbal        7      Q. Is that a yes?
     8   so she can write it down. I'm not trying to pick      8      A. Yes.
     9   on you, Mr. Schoen. I promise.                        9      Q. And whether others -- no matter how
    10          So if you look at the second bullet           10   large or small they want to be or choose to be,
    11   point there, it says, "DEA's expectations are        11   they still need to comply with the law?
    12   clearly heightened. HDMA would like to ask its       12          MR. RICARD: Objection to form.
    13   members about the impact of these expectations."     13      Q. Right?
    14   For example, in an indented bullet point, "Are       14      A. Yes.
    15   members capable of inspecting their pharmacy         15      Q. And if they don't, whoever they may be,
    16   customers?"                                          16   they need to be held accountable for not complying
    17          Do you see that there?                        17   with the law --
    18      A. I see it.                                      18          MR. RICARD: Same objection.
    19      Q. Prescription Supply would agree that all       19      Q. -- right?
    20   distributors should be investigating or inspecting   20      A. Yes.
    21   their pharmacy customers anyway, right?              21      Q. Okay. So I understand your point, and
    22          MR. RICARD: Objection to form.                22   you're saying you guys have 150 to 200 people who
    23      A. I agree, but --                                23   buy controlled substances, so your realm of
    24      Q. Now, you don't know what the others are        24   entities you have to investigate is probably
                                                  Page 123                                                  Page 125
     1   doing?                                                1   smaller than a lot of other people, right?
     2       A. I don't know what the others are doing.        2       A. That's correct.
     3   I know that Prescription Supply is a $70 million      3       Q. And you have how many employees?
     4   house. We're very small. We have probably two or      4       A. Seventy some.
     5   three thousand customers of which maybe 150 or so     5       Q. Others have tens of thousands of
     6   are buying controlled substances on a regular         6   employees.
     7   basis.                                                7       A. That's correct.
     8          It is easier for us to control our 150         8       Q. They should be able to train those
     9   in some way. And we're not perfect, but it's          9   people, just like you train your people, to
    10   easier for us to control 150 than it is for          10   conduct these investigations? You would agree
    11   perhaps some of the bigger operations to             11   with that, correct?
    12   control -- how many, I have no idea.                 12          MR. BUSHUR: Objection; form.
    13       Q. Oh, sure. Now, let's talk about that          13       A. I certainly try.
    14   just for a second. We're going to push back from     14       Q. Fair enough. Fair enough.
    15   the document for a minute.                           15          And my only point is, just because
    16       A. Okay.                                         16   others chose to grow larger doesn't exempt them
    17       Q. No one forces anybody to get into this        17   from the requirement to know their customer --
    18   line of business, do they?                           18          MR. RICARD: Objection to form.
    19       A. That's correct.                               19       Q. -- right?
    20       Q. People choose to get into this line of        20       A. That's correct.
    21   business as an entity in this controlled substance   21       Q. Okay. Let's go down to the fourth
    22   supply chain, right?                                 22   bullet point, which I think is a great question.
    23       A. That's correct.                               23   It says, "Do we have recommendations for the DEA
    24       Q. And if you're going to take on that           24   as to how to approach this problem in a way that

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     1   simplifies things for the wholesale distributor?"     1   correct?
     2          Do you see that?                               2       A. Correct.
     3      A. I see it.                                       3       Q. Okay. Now, I'm going to go through the
     4      Q. And wouldn't it make sense that the             4   same sort of qualifiers. This has the same
     5   trade organization and the distributors, that if      5   introduction that is being sent to every
     6   they could come up with a better system, that they    6   registrant, manufacturer, or distributor of
     7   maybe propose that to the DEA?                        7   controlled substances, which during this time
     8      A. Yes, yes.                                       8   frame, Prescription Supply, Inc., was one of
     9      Q. I mean, listen, DEA doesn't have -- or          9   those, right?
    10   the Department of Justice doesn't have the lock,     10       A. That's correct.
    11   stock, and barrel on good ideas, right?              11       Q. And assuming that Mr. Rannazzisi is
    12      A. Correct.                                       12   correct and he sent this letter out to everybody,
    13      Q. I mean, you guys are operating in the          13   presumptively Prescription Supply would have
    14   industry. Maybe there are ideas that can come        14   gotten that, correct?
    15   from the industry to help deal with this situation   15       A. Yes.
    16   of controlled substances?                            16       Q. Now, however, sitting here today, I'm
    17      A. Yes.                                           17   assuming that you have not seen this letter and
    18      Q. Do you know if that's ever been done?          18   don't ever recall receiving it?
    19          MR. RICARD: Objection to form.                19       A. I don't recall seeing it.
    20   Objection to scope.                                  20       Q. Fair enough.
    21      A. Do I know? I don't know that that's            21       A. We may have received it. I don't --
    22   been done. I'm sure it has been done, but I don't    22       Q. Sure. And, listen, that may have been
    23   know that it's been done.                            23   issues that you delegated to someone else within
    24      Q. Right. You don't know one way or               24   the business, and that's absolutely fine, okay?
                                                 Page 127                                                  Page 129
     1   another?                                              1           So the letter starts off after that
     2      A. I don't from personal knowledge have --         2   introductory sentence that "The purpose of this
     3           MR. FULLER: Now, we're going to go 303.       3   letter is to reiterate the responsibilities of
     4   This will be Plaintiff's Exhibit 17.                  4   controlled substance manufacturers and
     5           MR. PELINI: 17, Mike?                         5   distributors to inform the DEA of suspicious
     6           MR. FULLER: Yes, sir.                         6   orders in accordance with 21 C.F.R. 1301.74(b).
     7                   ---                                   7           Do you see that there?
     8          (PSI-Schoen Exhibit 17 marked.)                8       A. I see it, yes.
     9                   ---                                   9       Q. And he, again, is reiterating what he
    10      Q. Mr. Schoen, I'm going to represent to          10   talked about, it appears, in the September of '06
    11   you this is going to look a little familiar          11   letter, right?
    12   because it's another letter from the DEA. And if     12           MR. RICARD: Objection to form.
    13   you look on the second page, I think the same        13       A. Mm-hmm.
    14   gentleman signed it, Joe Rannazzisi, Deputy          14       Q. We saw that the HDMA met with him in
    15   Assistant Administrator, Office of Diversion         15   April of 2007 and had a summary of those
    16   Control.                                             16   conversations related to these same issues,
    17           Do you see that?                             17   correct?
    18      A. I see it.                                      18       A. Correct.
    19      Q. Seems to be the same guy as last time,         19       Q. All right. So let's see if they have
    20   right?                                               20   anything new or different to say now. He starts
    21      A. It appears.                                    21   off with, "In addition to, and not lieu of" --
    22      Q. But this letter is dated December 27th         22   hold on. Give her a second to get that
    23   of 2007, so about a year and three or four months    23   highlighted for you.
    24   after the first letter in September of 2006,         24           "In addition to, and not in lieu of, the

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     1   general requirement under 21 U.S.C. 823, that             1   clear to the industry what they expect from its
     2   manufacturers and distributors maintain effective         2   registrants, correct?
     3   controls against diversion, DEA regulations               3          MR. RICARD: Objection to form.
     4   require all manufacturers and distributors to             4      A. Yes.
     5   report suspicious orders of controlled                    5      Q. Prescription Supply agrees that there is
     6   substances."                                              6   no question what the DEA expects in fulfilling the
     7          And I know we've been talking about this           7   statutory and the regulatory requirement that
     8   ad litem, but you would agree that Prescription           8   we've looked at today?
     9   Supply recognizes that duty and obligation,               9      A. Yes.
    10   correct?                                                 10          MR. RICARD: Same objection.
    11          MR. RICARD: Objection to form.                    11          MR. FULLER: It's 11:44. We've been
    12      A. Yes.                                               12   going over an hour. Do you want to stop now for
    13      Q. That Prescription Supply recognizes that           13   lunch? Do you want to push till noon?
    14   that's been the duty and obligation as a                 14          Mr. Schoen, what's your druthers?
    15   registrant since 1971?                                   15          THE WITNESS: You know, I just want to
    16          MR. RICARD: Same objection.                       16   get it over with.
    17      A. Yes.                                               17          MR. FULLER: I've never heard that
    18      Q. Okay. Now, if we go down -- yep.                   18   before.
    19          The next paragraph starts off "The                19          MR. RICARD: If now is a good spot to
    20   regulation also requires that the registrant             20   take a break, then we could do lunch now.
    21   inform local DEA Division Office of suspicious           21          MR. FULLER: Yeah. I was going to jump
    22   orders when discovered by the registrant."               22   into the policies and procedures next, but that's
    23          Does Prescription Supply agree and                23   going to take a bit, so why don't we go ahead
    24   recognize that it has an obligation to report            24   and --
                                                       Page 131                                                 Page 133
     1   suspicious orders when they're first discovered?          1         MR. RICARD: Sure.
     2          MR. RICARD: Objection to form.                     2         THE VIDEOGRAPHER: The time now is
     3      A. Yes.                                                3   11:43. Going off the record.
     4      Q. And we'll skip down a little bit to                 4               ---
     5   "Registrants are." There you go, right there.             5        Thereupon, at 11:43 a.m. a lunch
     6          "Registrants are reminded that their               6       recess was taken until 12:49 p.m.
     7   responsibility does not end merely with filing a          7               ---
     8   suspicious order report. Registrants must conduct         8
     9   an independent analysis of suspicious orders prior        9
    10   to completing a sale to determine whether the            10
    11   controlled substances are likely to be diverted          11
    12   from legitimate channels. Reporting an order as          12
    13   suspicious will not absolve the registrant of            13
    14   responsibility if the registrant knew or should          14
    15   have known that the controlled substances were           15
    16   being diverted."                                         16
    17          Prescription Supply again agrees with             17
    18   that obligation, correct?                                18
    19          MR. RICARD: Objection to form.                    19
    20      A. Yes.                                               20
    21      Q. Now, at least by the end of 2007, we've            21
    22   known we've had the Controlled Substances Act and        22
    23   the regulation since 1970 and '71, but at least by       23
    24   the end of 2007, the DEA has made it abundantly          24


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     1                      Wednesday Afternoon Session             1          MR. RICARD: Same objection.
                            September 5, 2018                       2       A. Yes.
     2                      12:59 p.m.                              3       Q. And you have an understanding, just like
     3                  ---                                         4   with the HDMA, that in order for the guidelines to
     4          THE VIDEOGRAPHER: The time is now                   5   come out, all the members of the HDMA have to
     5   12:59. Back on the record.                                 6   approve it, correct?
     6                  ---                                         7       A. I suppose, yeah.
     7         (PSI-Schoen Exhibit 18 marked.)                      8       Q. Okay. And then -- so in the
     8                  ---                                         9   introduction -- and I'm going to skip the first
     9   BY MR. FULLER:                                            10   sentence and go to the next sentence that begins
    10      Q. Mr. Schoen, we're going to pass to your             11   with "Manufacturers."
    11   counsel Plaintiff's Exhibit 18. I'm going to have         12          It says, "Manufacturers, distributors,
    12   him take a look at it first and then pass you a           13   pharmacies, and healthcare practitioners share a
    13   copy.
                                                                   14   mission and responsibility to continuously
    14          And so what you'll be looking at,
                                                                   15   monitor, protect, and enhance the safety and
    15   Mr. Schoen, is this is a document from the HDMA,
    16   Healthcare Distribution Management Association.
                                                                   16   security of this system to combat the increasing
    17   We talked a little bit about them earlier, right?
                                                                   17   sophisticated criminals who attempt to breach the
    18      A. Yes.
                                                                   18   security of the legitimate supply chain."
    19      Q. And PSI is a member of that                         19          And I'm sure PSI would agree that that
    20   organization; is that correct?                            20   is the goal of the industry.
    21      A. That's correct.                                     21          MR. RICARD: Object to form.
    22      Q. And if you look at the title of the                 22       A. Yes.
    23   document you have in front of you -- it's also on         23       Q. All right. If you go down to the third
    24   the screen. It's "Healthcare Distribution                 24   paragraph on the page. It says, "At the center of
                                                        Page 135                                                      Page 137
     1 Management Association (HDMA) Industry Compliance            1   a sophisticated supply chain, distributors are
     2 Guidelines." What this appears to be -- and                  2   uniquely situated to perform due diligence in
     3 correct me if I am wrong -- is it's guidelines put           3   order to help support the security of the
     4 out by the HDMA for its industry, which is the               4   controlled substances they deliver to their
     5 wholesale distribution industry, right?                      5   customers."
     6      A. That's correct.                                      6          Does Prescription Supply, Inc., agree
     7      Q. All right. And it says, "Reporting                   7   and accept that responsibility?
     8   Suspicious Orders and Preventing Diversion of              8          MR. RICARD: Object to form.
     9   Controlled Substances."                                    9       A. Yes.
    10          Correct?                                           10       Q. And it talks about due diligence. That
    11      A. Yes.                                                11   would be what we were referring to earlier when we
    12      Q. And Prescription Supply, Inc., would                12   talked about knowing your customers and
    13   agree that part of how we prevent diversion is by         13   investigating potential suspicious orders and
    14   reporting suspicious orders, correct?                     14   things of that nature, correct?
    15      A. Yes.                                                15       A. Yes.
    16      Q. Now, these are, for lack of a better                16       Q. And is that what Prescription Supply
    17   term -- we looked at the federal regulations and          17   does when it's operating in this realm?
    18   the federal code. These are the industry's own            18       A. Yes.
    19   safety rules, if you will, that the industry came         19       Q. It says, "Due diligence can provide a
    20   up with themselves, correct?                              20   greater level of assurance that those who purchase
    21          MR. RICARD: Objection to form.                     21   controlled substances from distributors intend to
    22      A. Yes.                                                22   dispense them for legally acceptable purposes."
    23      Q. In regulating how they're going to deal             23          And, again, that's part of the goal of
    24   with controlled substances?                               24   having the system in place and doing due

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     1   diligence, is to ensure that it's only being used             1          Do you see that?
     2   for legitimate means, correct?                                2      A. Yes.
     3          MR. RICARD: Object to form.                            3      Q. And under the introduction, it says,
     4       A. Yes.                                                   4   "Before opening an account for a new customer, the
     5       Q. "Such due diligence can reduce the                     5   distributor should (i) obtain background
     6   possibility that controlled substances within the             6   information on the customer and the customer's
     7   supply chain will reach locations they are not                7   business; (ii) review that information carefully
     8   intended."                                                    8   and, where appropriate, verify the information,
     9          Does Prescription Supply agree with                    9   and; (iii) independently investigate the potential
    10   that, that doing the due diligence can help                  10   customer."
    11   prevent diversion?                                           11          Would you agree that that is the type of
    12       A. Yes.                                                  12   due diligence that needs to be done before opening
    13          MR. RICARD: Object to form.                           13   a new customer account?
    14       Q. Does Prescription Supply agree with the               14          MR. RICARD: Objection to form.
    15   reverse, that not doing due diligence can                    15      A. Yes.
    16   potentially lead to diversion?                               16      Q. Okay. B on that page deals with
    17          MR. RICARD: Object to form.                           17   information gathering. And we're going to skip
    18       A. Yeah, I suppose.                                      18   sort of down to the bullet points. Do you see
    19       Q. So, for example, with Prescription                    19   "The information gathering step would include"?
    20   Supply, if you had taken -- or Prescription Supply           20   And it provides a whole laundry list there.
    21   had taken on some of those shady customers that we           21          Do you see that?
    22   had talked about who --                                      22      A. I see it.
    23       A. Customers that we didn't take on, yes.                23      Q. Including credit application, background
    24       Q. You don't want to call them shady. I                  24   questionnaires, business background, number of
                                                           Page 139                                                 Page 141
     1 get that. But I've read some of what they've said               1   prescriptions filled each day, so forth and so on.
     2 and didn't say, and clearly they were shady. I'll               2          Are those the type of things that
     3 rephrase it.                                                    3   Prescription Supply undertakes in reviewing and
     4     A. There were reasons why we didn't take                    4   obtaining prior to opening a new customer account?
     5 them on, yes.                                                   5       A. Yes.
     6     Q. I'll rephrase it. If Prescription                        6       Q. Is that the type of, to your
     7 Supply had taken on those customers they didn't                 7   knowledge -- strike that.
     8 deem desirable for whatever reason, maybe                       8          Now, let's go to page 7.
     9 documented in the file, there's a greater chance                9          And, Mr. Schoen, let's talk just a
    10 that diversion would have occurred with those                  10   second. So we have this due diligence, know your
    11 entities?                                                      11   customer requirement which we've talked about
    12       A. Yes.                                                  12   some, and we also have something that's referred
    13       Q. And that's the reason that you declined               13   to as thresholds.
    14   to accept those new customers?                               14          Have you ever heard of the term
    15       A. Yes.                                                  15   "threshold" before?
    16       Q. Okay.                                                 16       A. Yes.
    17          Go to page 4. "Know Your Customer Due                 17       Q. So now we're going to talk a little bit
    18   Diligence."                                                  18   about that under this auspice of monitoring for
    19          And this industry guideline, these safety             19   suspicious orders, okay? And it says "Identifying
    20   rules that the HDMA put out, addresses each one of these     20   Product and Customer Characteristics."
    21   issues, or at least some of them, that we've talked          21          Now, before I read to you what is here
    22   about, Mr. Schoen, in order. So number I -- or I there       22   in the HDMA safety rules, let me ask you, when
    23   at the beginning of the page is "Know Your Customer Due      23   you're looking at thresholds at PSI, do you break
    24   Diligence."                                                  24   it down by drug families?

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     1       A. Yes.                                           1      Q. Got it. So we'll go from 2006 forward,
     2       Q. Okay. So technically --                        2   or since then, PSI has been categorizing them by
     3       A. Can I at least --                              3   drug families?
     4       Q. Absolutely.                                    4      A. Yes.
     5       A. I think we broke it down by drug               5      Q. Okay. And that's what this says, I
     6   families from about 2006 on.                          6   think. "Identify Product and Customer
     7       Q. Okay.                                          7   Characteristics."
     8       A. Up until then we did each and every item       8          Now, let me break out the second part.
     9   separately, okay? So if they were different           9   Does PSI break out separate thresholds for
    10   brands or different manufacturers, we would know     10   different customer characteristics, say larger
    11   if it was this -- if it was this item,               11   pharmacies versus smaller pharmacies or a
    12   40-milligram, whatever size. So we would have the    12   hospital-based pharmacy versus a retail chain
    13   total of that. But we didn't put them in drug        13   pharmacy or so forth?
    14   families until, I think, '06.                        14      A. Yes.
    15       Q. Okay. So, for example, if we had --           15      Q. Okay. Then these HDMA safety rules
    16   prior to '06, if we had OxyContin -- which is a      16   read, "Separate/classify/group customers into
    17   name brand, right?                                   17   appropriate/different classes of trade. For
    18       A. Mm-hmm.                                       18   example, retail, pharmacies, hospitals, doctors,
    19       Q. -- and we had a 40-milligram and an           19   and dentists -- or dentists."
    20   80-milligram --                                      20      A. Mm-hmm.
    21       A. Yes, it would be two different lines.         21      Q. And that's what PSI did, correct?
    22       Q. Okay. And there would be a separate           22      A. Yes.
    23   threshold for each?                                  23      Q. "Separate the controlled substances, or
    24       A. Yeah -- well, yes, I guess. Yes.              24   CS, the distributor sells into groups or families
                                                 Page 143                                                  Page 145
     1       Q. Okay.                                          1   of drugs, i.e., all controlled items containing
     2       A. There would be a certain -- yeah, yeah.        2   codeine. The following information may be useful
     3       Q. To the best of your --                         3   for identifying the families of drugs."
     4       A. We unfortunately didn't put them               4          And then it give us a long laundry list
     5   together at that time.                                5   of ways of characterizing them.
     6       Q. Right. You did them separately?                6          If you turn to the next page, here's
     7       A. We did them separately, because at that        7   where it talks about the "Develop Thresholds to
     8   time, it was what we could do.                        8   Identify Orders of Interest."
     9       Q. And you say "what you could do." Is it         9          Do you see that there?
    10   just because of the way the computer software was    10      A. Yes.
    11   or --                                                11      Q. And it gives several that could be
    12       A. It's because we didn't have -- we             12   considered in developing thresholds. It says,
    13   probably could have put the 80s and 40s together     13   "Patterns of ordering, such as comparing the
    14   or whatever, but there were a lot of things that     14   present order to: Past orders from the same
    15   we just didn't realize this was that and something   15   consumer."
    16   else.                                                16          Do you see that?
    17       Q. Okay.                                         17      A. Yes.
    18       A. When we got into -- we finally were able      18      Q. "Orders from extraordinary quantities
    19   to get a -- from a source, we were able to get how   19   outside of normal purchasing patterns typically
    20   we could put together the families. And then as      20   followed by the customer or the customers within
    21   soon as we were able to do that, we did put          21   the same class of trade and geographical areas,"
    22   together the families, which made more sense. We     22   so forth and so on.
    23   should have done it that way, but we just weren't    23          And then it goes on to say that
    24   able to before that.                                 24   "Distributors are also encouraged to consider the

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     1   following when developing thresholds: Quantities     1      Q. And Prescription Supply agrees with
     2   of product the dispenser initially indicated         2   these safety guidelines put out by the HDMA --
     3   during the 'Know Your Customer Due Diligence'        3      A. Yes.
     4   phase that is expected to be purchased -- that it    4      Q. -- that this is what should be done?
     5   expected to purchase"?                               5          MR. RICARD: Object to form.
     6       A. Mm-hmm.                                       6      A. Yes.
     7       Q. "A minimum of six months sales history        7      Q. All right. We're going to jump to page
     8   and a maximum of 24 months sales history are         8   11. There's a section there on documentation.
     9   recommended."                                        9   Mr. Schoen, Prescription -- PSI would agree that
    10          And when it "sales history," it means        10   documentation in this area is very important,
    11   from the potential customer, correct?               11   correct?
    12       A. It does.                                     12          MR. RICARD: Object to form.
    13       Q. And you can ask the pharmacies to            13      A. Yes.
    14   provide you with their -- I think it's been         14      Q. Because we need to be able to look back
    15   referred to as different things, but their dosage   15   and see and know what has transpired in the course
    16   history --                                          16   of dealing with customers. We need to
    17       A. That's correct.                              17   substantiate the Know Your Customer investigation
    18       Q. -- or sales history, right?                  18   we've done, so forth and so on, correct?
    19       A. We can and do.                               19          MR. RICARD: Same objection.
    20       Q. And are the pharmacies -- if they want       20      A. Yes.
    21   your business or they want you to sell to them,     21      Q. And it says here, "All investigation
    22   are they usually willing to provide you with that   22   should be fully documented, and all records of the
    23   information?                                        23   investigation should be retained in the
    24       A. Yes.                                         24   appropriate location within the firm."
                                                 Page 147                                                  Page 149
     1       Q. Now, if they don't, would that send up a      1           Within parentheses it says "such as with
     2   red flag?                                            2   other records relating to the particular
     3       A. Yes.                                          3   customer."
     4       Q. And why is that?                              4           Does Prescription Supply agree with
     5       A. Well, I mean, if they don't want to tell      5   that --
     6   us what they're going to buy or what their usage     6           MR. RICARD: Object to form.
     7   is, it -- I mean, I probably wouldn't be doing --    7      Q. -- safety rule as stated by the HDMA?
     8   well, I probably -- it certainly would send up a     8      A. Yes. We probably haven't always done it
     9   red flag.                                            9   properly, but yes.
    10       Q. Okay. And because it causes you concern      10      Q. But that's the best practice; that's the
    11   because that's part of the due diligence you have   11   safest practice?
    12   to do --                                            12      A. That would be the safest practice.
    13       A. That's right.                                13      Q. "At a minimum, documentation should
    14       Q. -- as a distributor to know your             14   include the name, title, and other relevant
    15   customer?                                           15   identification of the representative of the
    16       A. That's right.                                16   customer contacted, dates of contact, and a full
    17       Q. And without that, you can't complete         17   description of the questions asked and requests
    18   your tasks, right?                                  18   for information made by the distributor and of
    19       A. That's true.                                 19   information provided by the customer."
    20       Q. Sort of like failing to report               20           The document should -- "the
    21   suspicious orders doesn't give the DEA the          21   documentation should include a clear statement of
    22   information they need to do their job, right?       22   the final conclusion of the investigation,
    23       A. Right.                                       23   including why the order investigated was or was
    24            MR. RICARD: Object to form.                24   not determined to be suspicious."

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     1          Do you see that there?                         1   questions. I was not in a position to say there
     2      A. Okay. All right.                                2   was something wrong with this customer. I just
     3      Q. And do you agree with that, that that is        3   didn't want to do business with them because I was
     4   the proper standard to conduct yourself as a          4   concerned.
     5   registrant?                                           5       Q. Right. Of potential issues dealing with
     6          MR. RICARD: Objection to form.                 6   controlled substances?
     7      A. Yes. But I don't think we've always             7       A. Potential issues.
     8   done it. We've always asked the questions, but I      8       Q. With controlled substances, correct?
     9   don't know if we've always appropriately noted        9       A. Among other things, yeah.
    10   them.                                                10       Q. Sure.
    11      Q. Right. And I've looked at the discovery        11          Now, we're not going to spend the rest
    12   that has been provided, and we're going to just      12   of the time going over all the -- I don't know how
    13   sort of put out there that 8,000-pound gorilla       13   many pages are in this document total, 15 -- 14,
    14   that may be standing over my shoulder.               14   15. But Prescription Supply would agree, would it
    15          Prescription Supply did not report any        15   not, with the HDMA safety rules that were
    16   suspicious orders, did they?                         16   previously provided to it?
    17      A. That's correct.                                17       A. Yes.
    18      Q. Okay. But -- and let's continue with           18          MR. RICARD: Object to form.
    19   that. You believe that they did do the best job      19          MR. FULLER: So next is going to be 404.
    20   they could investigating new clients, new            20   BY MR. FULLER:
    21   customers?                                           21       Q. So next, Mr. Schoen, I think we're going
    22      A. Yes.                                           22   to go to something that you probably have seen
    23      Q. And as I mentioned to you earlier,             23   before, some of your policies and procedures that
    24   there's documentation throughout the files of the    24   you guys had at PSI.
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     1   discovery of Prescription Supply even declining       1                   ---
     2   potential customers --                                2         (PSI-Schoen Exhibit 19 marked.)
     3      A. Yes.                                            3                   ---
     4      Q. -- because of we'll call them red flags?        4       Q. And I'll be honest with you. Some of
     5      A. Yes. But I don't know if we actually            5   them I completely understood and got it. Some I
     6   put down why we declined them.                        6   didn't. And there's some issues that I want to
     7      Q. I will --                                       7   hit real briefly and go over with you.
     8      A. It became obvious, but ...                      8          So what has been marked for -- or I
     9      Q. Right. I will represent to you that             9   guess attached as Plaintiff's Exhibit 19, which
    10   there were issues of concern in some of the          10   you have there, is a Prescription Supply, Inc.,
    11   documents I reviewed.                                11   document; is that right?
    12      A. Yes.                                           12       A. It is.
    13      Q. And it said "Ask Tom."                         13       Q. Okay. And I think this is the first one
    14      A. Mm-hmm.                                        14   where we have a Bates number for this case, which
    15      Q. And then there would be a handwritten          15   is PSI0000648, and is this document named
    16   note that "Tom says tell them no."                   16   "Inventory Controls."
    17          So I think on some of them, it was            17       A. Yes.
    18   abundantly clear what the issues were based on the   18       Q. Okay. And this is one of your policies
    19   investigation.                                       19   and procedures at Prescription Supply; is that
    20      A. I hope so, yes. But we didn't -- I             20   correct?
    21   don't think we put down any specific reason.         21       A. It is.
    22      Q. And you recognize that you probably            22       Q. Okay. Now, it has an effective date of
    23   should have?                                         23   what?
    24      A. It was abundantly clear that there were        24       A. 7/30/09 apparently.

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     1       Q. No. Look right above that.                           1   same last name as your sister, I'm assuming she is
     2       A. I'm sorry. I keep reading it back.                   2   related.
     3   Well, from 12/08 to --                                      3       A. Her daughter, yes.
     4       Q. Look a little bit above that.                        4       Q. Okay.
     5       A. Oh, I see. June 2000. Okay.                          5       A. She's my niece.
     6       Q. I'm telling you, use the screen as kind              6       Q. Got it. Got it.
     7   of like your little cheat sheet. That's exactly             7       A. There's a lot of family in the business.
     8   where I'm at.                                               8       Q. I saw the org chart. I agree with you.
     9          So this document at least indicates that             9       A. Yes, and a lot that you don't even
    10   it was effective as of June of 2000, correct?              10   recognize.
    11       A. Well, it's been revised, yes.                       11       Q. Probably so. Probably so. It's truly a
    12       Q. And it's been revised, and we have the              12   family business. No, I get that.
    13   revision dates there?                                      13       A. Yes.
    14       A. Yes.                                                14       Q. Is Candy still employed with the
    15       Q. And do you believe those to be accurate?            15   company?
    16       A. Yes.                                                16       A. She is.
    17       Q. To the best of your knowledge?                      17       Q. Okay. Great. And she would probably be
    18       A. Yes.                                                18   the best one to check with; is that right?
    19       Q. Do you believe this to be an accurate               19       A. Yes.
    20   copy of a document that's kept in the normal               20       Q. Okay. Now, this says -- this policy
    21   course of business for Prescription Supply?                21   is -- it says," Prescription Supply, Inc., will
    22       A. Yes.                                                22   monitor inventory for: Critical [sic] accounts,
    23       Q. Okay. And I'll tell you, I'm going to               23   suspicious purchases and losses, theft, or
    24   sort of go through that with each document, and            24   otherwise missing products. "
                                                         Page 155                                                 Page 157
     1   it's just a predicate that I have to lay for legal          1          And if you go down --
     2   purposes, okay?                                             2          MR. RICARD: It says "cyclical,"
     3       A. Okay.                                                3   Counsel.
     4       Q. So don't get frustrated with me because              4          MR. FULLER: I'm sorry. Cyclical. What
     5   it's the same question every time, all right?               5   did I say?
     6       A. All right.                                           6          MR. RICARD: "Critical."
     7       Q. And I inquired of counsel of this. And               7          MR. FULLER: Oh. I apologize.
     8   there's some of these where I have a couple                 8   BY MR. FULLER:
     9   different versions, maybe an older version and              9       Q. If you go down the page -- there you go.
    10   then the newer version.                                    10   Under Responsibilities, it says, "Customer service
    11       A. Perhaps.                                            11   representatives and/or warehouse manager shall
    12       Q. Do you know if Prescription Supply has              12   forward all suspicious prescription product orders
    13   maintained copies from the original of June of             13   to the director of purchasing prior to
    14   2000?                                                      14   fulfillment. Suspicious orders can be identified
    15       A. I don't know.                                       15   as, but not limited to, those orders of unusual
    16       Q. Who would be the best person at                     16   size, orders deviating substantially from a normal
    17   Prescription Supply to ask? Any idea?                      17   pattern, and orders of unusual frequency.
    18       A. Well, yeah. I mean the --                           18   Suspicious orders may or may not be criminally
    19       Q. And what I'm looking for, is there                  19   suspected."
    20   someone that would just deal with this                     20          Did I read that right?
    21   administrative stuff that maybe --                         21       A. You did.
    22       A. Candy would have -- Candy Harbauer would            22       Q. All right. So the way the process -- my
    23   have probably been doing most of this.                     23   understanding of the process is the customer
    24       Q. And Candy Harbauer, because she has the             24   service representative or warehouse manager would

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     1   pick up on a suspicious order and bring it to the           1       Q. Because you could turn them around more
     2   director of purchasing prior to shipping, correct?          2   quickly?
     3        A. Actually, the computer stops any order              3       A. Because we could turn them around right
     4   that would have been out of -- would be of                  4   away.
     5   interest, okay?                                             5          What was my -- go back and give the
     6        Q. Okay. And when you say any order that               6   question again so I --
     7   would be out of interest, do you know how the               7       Q. Well, we were starting to talk about how
     8   computer determines what would be of interest or            8   the computer stops it.
     9   suspicious?                                                 9       A. Oh, okay. All right. As time went on,
    10        A. All of the -- it takes into                        10   we developed a suspicious order monitoring system,
    11   consideration everything that we've talked about           11   okay? Actually, probably by around -- dates are a
    12   here. The -- if it's over the threshold, if                12   bit of a problem. But, anyway, somewhere around
    13   it's -- remember that Prescription Supply in 2000          13   2- -- well, in '96, we had some kind of an order.
    14   or -- we had a lot of accounts that were -- that           14          We have different systems that we use to
    15   we were the primary of, okay? In 2018, we have             15   check sales by customer and send off orders to --
    16   relatively few accounts that we are a primary              16   or actually reports to the DEA on excessive
    17   supplier for --                                            17   purchases or -- not excessive but out-of-line
    18        Q. Right.                                             18   purchases.
    19        A. -- okay? Things have evolved in that               19          We continued doing that right up until
    20   way.                                                       20   2013 when they asked us to stop, okay? Now, we
    21            In 2000, we were in a position -- we had          21   had other suspicious order systems over --
    22   actually an advantage over the big three or other          22   evolving through that time period, but we did
    23   wholesalers, in that you could fax us a C-II blank. We     23   actually report an awful lot of stuff. The
    24   could fill it from the fax -- because we used our own      24   problem is that they didn't have the ability to

                                                       Page 159                                                      Page 161
     1 delivery people -- so they were our employees -- we           1   look into all these. It was too much paperwork,
     2 could deliver that item the same day, have that delivery      2   too much stuff, okay?
     3 person, that employee, check and pick up the actual           3         So we stopped sending those orders,
     4 physical narcotic blank, check it to make sure the            4   okay, those -- what we considered a suspicious
     5 number was the same, and that the -- no other items had       5   order -- or maybe not a suspicious order. An
     6 been added to or subtracted on it, which was relatively       6   out-of-line order, okay?
     7 easy to do --                                                 7       Q. Order of interest?
     8      Q. Sure.                                                 8       A. Order of interest, okay?
     9      A. -- okay? And bring it back to us, and                 9       Q. Okay.
    10   we would file that in our system, okay? And we'd           10       A. Now, the computer does stop an order
    11   process it. But we had already processed the               11   before it's -- before it can be shipped, okay?
    12   drugs out to the pharmacy.                                 12       Q. Yes, sir.
    13      Q. Based on the facts?                                  13       A. Then we do -- we look at that order and
    14      A. Based on the facts, yes.                             14   make the decision, and take whatever due diligence
    15      Q. Got it.                                              15   is necessary, make calls to the customer, and
    16      A. All right. Because we could do that and              16   decide if we should ship it or not. And that's
    17   because there wasn't an electronic order                   17   the way we operate.
    18   processing system at that time, which there is             18       Q. So -- and let me back up.
    19   now, we did an inordinate amount of C-II business,         19         You mentioned at one time you were
    20   okay?                                                      20   sending stuff to the DEA.
    21         I'm not saying we did anything wrong.                21       A. Yes.
    22   We didn't, okay? But we got a far greater                  22       Q. Okay. Now, you've always been reporting
    23   percentage of C-II orders than our size would have         23   ARCOS data to the DEA?
    24   indicated, okay, because of our advantage.                 24       A. Oh, of course.

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     1       Q. And that hasn't stopped?                       1       Q. Did PSI ever report any suspicious order
     2       A. No.                                            2   to the Board of Pharmacy as required by the code?
     3       Q. Always been there?                             3          MR. RICARD: Object to form.
     4       A. Yes.                                           4       A. No. But we were -- actually, we only
     5       Q. Still going on today?                          5   saw the State -- we saw them in '95, and we saw
     6       A. Of course, yes.                                6   them in '18. I believe it was '18.
     7       Q. Okay. So we're not referring to ARCOS          7       Q. I think it may have been '17.
     8   data?                                                 8       A. It could have been '17.
     9       A. No, no.                                        9       Q. Yeah.
    10       Q. Now, you mentioned excessive order            10       A. In '17. Those are the only two times we
    11   reports?                                             11   saw the State Board. I talked to State Board
    12       A. Yes.                                          12   people, but they never came into Prescription
    13       Q. That may be at one time what was being        13   Supply, okay? When they did come into
    14   sent to the DEA, correct?                            14   Prescription Supply, they asked -- they did their
    15       A. You could say that, yes. Yes.                 15   investigation. They did ask about a number of
    16       Q. Okay. Now, excessive order reports are        16   stores.
    17   different than suspicious order reports?             17       Q. Four of them, actually, right?
    18       A. That's correct.                               18       A. Four actually, yes. And why and how, we
    19       Q. Okay. Do you -- during this time prior        19   checked in and what we did in those stores, okay?
    20   to '13, do you recollect ever reporting suspicious   20   And we gave them I believe in three of four
    21   orders?                                              21   appropriate documentation. I believe the fourth
    22       A. No, we never reported suspicious orders.      22   store -- in my own memory, the fourth store, they
    23       Q. Okay. And you mentioned --                    23   wanted to know why we stopped shipping to them,
    24       A. Nor have we ever shipped a suspicious         24   and it's because they stopped buying from us.
                                                  Page 163                                                 Page 165
     1   order.                                                1      Q. That was the one that was sold to CVS?
     2       Q. Okay. Now, let's break that down before        2      A. That's right.
     3   we move on.                                           3      Q. Yeah, I remember that.
     4       A. Okay.                                          4      A. Yes.
     5       Q. The suspicious order requirement under         5      Q. Now, so you said PSI has had two
     6   the C.F.R., the Code of Federal Regulation, does      6   encounters with the Board of Pharmacy, that one
     7   not require you to have shipped it before you         7   that we were just talking about in '17.
     8   reported it, right?                                   8      A. Yeah, way back in '95 when we opened --
     9          MR. RICARD: Object to form.                    9   that's when we built -- that's when we moved into
    10       A. In fact, I believe you're not supposed        10   our new facility.
    11   to ship it.                                          11      Q. The building you're currently in?
    12       Q. Right. So while you mentioned you             12      A. That's right.
    13   didn't ship any suspicious orders, that doesn't      13      Q. Got it. Got it.
    14   relieve PSI of its obligation to still report        14          Now, was that just when -- your
    15   them?                                                15   interaction with the Board of Pharmacy back in
    16          MR. RICARD: Object to form.                   16   '95, was that just the inspections and whatnot on
    17       Q. You would agree with that, correct?           17   your building?
    18       A. Yes.                                          18      A. It was.
    19       Q. Okay. Now, let's take that -- let's go        19      Q. Okay. Did the DEA come out and inspect
    20   another way. We also looked at the Ohio              20   the building, too?
    21   Administrative Code, and that also requires          21      A. Of course.
    22   certain types of orders to be reported; is that      22      Q. Now, Prescription Supply currently has,
    23   right?                                               23   like you mentioned, a computer system in place --
    24       A. Yes.                                          24      A. Correct.

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     1      Q. -- that prevents suspicious orders or           1       A. I see that.
     2   orders of interest, whatever you want to call         2       Q. And who was the IT or is the IT manager?
     3   them, from being shipped. It stops them from          3       A. Kirk Harbauer.
     4   before they get --                                    4          (Reporter clarification.)
     5      A. It stops them before they're shipped,           5       A. Kirk, like in Captain Kirk.
     6   yes.                                                  6       Q. Harbauer. Is that your nephew?
     7      Q. That some sort of red flag brings --            7       A. My nephew.
     8      A. That's right.                                   8       Q. Okay. And how long has he been the IT
     9      Q. -- it to someone's attention?                   9   manager? For quite sometime?
    10      A. Yes.                                           10       A. Quite sometime.
    11          MR. RICARD: Wait until he's finished          11       Q. Okay. So I'm assuming because he's IT,
    12   with the question. You're doing fine.                12   he's working with computer systems and that's --
    13   BY MR. FULLER:                                       13   the flags would come to him; is that correct, or
    14      Q. Does -- strike that.                           14   do you know?
    15          When did that computer system first come      15       A. No. The flags would come to the -- into
    16   into place, best you can recollect?                  16   the filling area --
    17          MR. RICARD: Don't guess.                      17       Q. Okay.
    18      A. Don't guess. I honestly can't tell you         18       A. -- okay? Those decisions would be made
    19   that, when they became --                            19   in the -- where the process -- I'm trying -- yes,
    20      Q. Are we talking in the last two or              20   the computer person, you know, makes sure that the
    21   three -- let me ask you this --                      21   system is functioning, okay?
    22      A. No.                                            22       Q. Okay.
    23      Q. Was it --                                      23       A. But ...
    24      A. Before then.                                   24       Q. So Kirk would be responsible for the
                                                  Page 167                                                 Page 169
     1       Q. Okay. Let me ask you specifically. Was         1   suspicious order monitoring reports and sharing
     2   it before or after the Board of Pharmacy came to      2   those concerns with the DR or DR supervisor. And
     3   you?                                                  3   I'm not sure what a DR is.
     4       A. Oh, long before.                               4       A. To be honest with you, I'm not sure what
     5       Q. Long before?                                   5   a DR is. We got into having DRs and DR
     6       A. Yeah. I just don't know if it was              6   supervisors because we had to pass certain
     7   before 2006 or -- it was at least operational in      7   requirements by the national board of state --
     8   2006.                                                 8   national board of state boards, okay?
     9       Q. Okay. So that kind of time frame we're         9       Q. Okay.
    10   talking about?                                       10       A. Okay? And they came in and required us
    11       A. Yes.                                          11   to type up thousands of pages of -- which is why
    12       Q. Maybe even further back?                      12   you have all these pages, okay?
    13       A. Yes, but I can't tell you for sure when.      13       Q. Fair enough.
    14       Q. Fair enough. Fair enough.                     14       A. Unfortunately, we probably wouldn't have
    15          So if we continue down on the page,           15   had them without that.
    16   starting on the bottom of the page and rolling on    16       Q. Now, can you tell me what a DR or DR
    17   to the next. Okay. It says, "The IT manager          17   supervisor does? Probably not a good question,
    18   shall be responsible for suspicious order            18   huh?
    19   monitoring reports and sharing concerns with the     19       A. That's not a good question.
    20   DR/DR supervisor. He/she is responsible for          20         Obviously a DR supervisor supervises the
    21   sending all reports to the DEA and governing state   21   DR. I believe -- I'm not even sure who the -- if
    22   agencies and maintaining records for at least six    22   I'm the DR or the DR supervisor by definition,
    23   years or as required by law."                        23   okay?
    24          Do you see that?                              24       Q. Does DR stand for something other than

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     1   doctor?                                               1   determined how at Prescription Supply, Inc.?
     2       A. Yeah. It stands for something other            2       A. There's a lot of things that go into
     3   than doctor, yes.                                     3   thresholds, okay?
     4       Q. You're not sure what?                          4       Q. Okay. Now, and I'll tell you before we
     5       A. I'm not sure what.                             5   get started, I didn't see a policy and procedure
     6       Q. Fair enough.                                   6   related to setting thresholds. I saw where the
     7          But, still, and according to this, the         7   Board of Pharmacy asked, I think, in this area in
     8   IT manager is responsible for sending all reports     8   follow-up to the investigation from last year --
     9   to the DEA and the state agencies, right?             9       A. Right.
    10       A. Right.                                        10       Q. -- "Explain to us how you set
    11       Q. But that never got done?                      11   thresholds." And I didn't see a reply from PSI
    12       A. Because it never got that far, because        12   going back. So can you explain to the jury how
    13   when we had an order of interest, we would do due    13   PSI sets thresholds?
    14   diligence on that order. We didn't discover          14       A. There are a lot of things that go into
    15   anything that was criminally reportable.             15   setting thresholds. Number one would be the
    16       Q. Well -- so it's PSI's position that they      16   number of prescriptions the pharmacy fills per
    17   never -- well, strike that. Let me ask it            17   day, for example, or per month or whatever. So if
    18   differently.                                         18   he's a much bigger pharmacy, he could probably
    19          So were there ever orders that got cut?       19   have a larger threshold. Number two --
    20       A. Yeah.                                         20       Q. Sure.
    21       Q. Well, would -- and you cut them because       21       A. -- he gives us an estimate of what his
    22   they were --                                         22   use is, okay? We look at the number of
    23       A. Because they were -- they beat the            23   prescriptions he fills, okay, relative to the
    24   threshold.                                           24   usage of controlled substances that he's getting,
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     1       Q. Okay.                                          1   and that has an effect on what threshold we may
     2       A. All right. If a pharmacy were to beat          2   initially set, okay?
     3   the threshold and it was October the 27th, we         3           Number three, things can happen. He
     4   don't backorder those orders, but we cut them.        4   can -- maybe he picks up a hospice, okay, and he's
     5   And if he wanted it after the 1st or 2nd, again,      5   supplying a hospice. Well, if he's supplying a
     6   he could probably get it, but then he'd be working    6   hospice, he's going to use more controls than he
     7   on his next threshold, okay?                          7   would if he didn't supply that hospice, okay?
     8       Q. Right. So the thresholds reset?                8           For example, maybe it's no more -- maybe
     9       A. That's right, which is perfectly legal         9   it's no more -- not anything bigger than, gee,
    10   and perfectly reasonable. In other words, he may     10   he's going on vacation for three weeks, he doesn't
    11   place an order on the 27th and we can't fill all     11   want his replacement pharmacist to be filling
    12   of it or part of it or any of it. I don't know.      12   C-II -- be buying C-IIs. He buys them now so that
    13   It depends on what it is.                            13   they have the C-IIs in hand to process the orders
    14       Q. Well, it depends on what the                  14   that they expect to have.
    15   threshold --                                         15           There's all kinds of reasons why you
    16       A. On the other hand, it isn't unreasonable      16   look at -- and that's why you do your due
    17   to think that he wanted this product because he      17   diligence, and that's why you have to know your
    18   uses it in his normal operation. He just happened    18   customer. And, like I said, we have a relatively
    19   to place it a day or two early. In other words,      19   limited number of customers, and we look at those
    20   he's not buying too much, at least by our            20   customers very closely. And we don't take on
    21   definition, by what we're able to tell, by our due   21   everybody.
    22   diligence.                                           22           And money, frankly, is not -- is not a
    23       Q. Well, and let's talk about that. So he        23   big thing. You know, I was probably doing
    24   exceeds a threshold. And thresholds are set and      24   30 percent of my sales -- 10 or 15 years ago were

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     1   controlled substances. Right now it's 12 and a        1   PSI is a secondary supplier. When we were a
     2   half, and it's going to go down next year, okay?      2   primary supplier, it was easier for us to apply
     3   It's been going down steadily. Probably only half     3   the multipliers that are, you know, involved in
     4   of those are what we're talking about here, okay?     4   that.
     5       Q. Right.                                         5        Q. Right.
     6       A. It was way up there because we had an          6        A. Now we could get an order from someone
     7   advantage in shipping at that time. We don't have     7   who is -- who places it maybe once or twice a
     8   that advantage anymore. And actually                  8   year, okay? And obviously that order just because
     9   prescriptions have gone down for controlled           9   it's placed once or twice a year is out of the
    10   substances, okay? Doctors are writing fewer or       10   ordinary and is a red flag, but it doesn't mean
    11   smaller, which I'm actually glad to hear. And,       11   there's anything wrong with that order. It's just
    12   therefore, the sales are going down naturally. Do    12   that that's how often the guy buys that from us.
    13   I need to --                                         13        Q. Right. And when you're dealing as a
    14          MR. RICARD: Wait for another question.        14   secondary provider --
    15       Q. No. And you're doing fine. You're more        15        A. Yes.
    16   than welcome to explain your answers.                16        Q. -- that creates a heightened obligation
    17          So now we know thresholds are based on        17   to be careful --
    18   the number of scripts, generally speaking, the       18        A. Which is why --
    19   estimates provided by the potential new customer.    19           MR. RICARD: Objection to form.
    20   We talked earlier about getting their usage data.    20        Q. Go ahead.
    21       A. Yes. I mean, we look at other things          21        A. Which is why we do due diligence and why
    22   obviously. We look at the -- we check out the        22   we know our customers and why we don't have as
    23   doctors and the -- as to where their primary         23   many customers as maybe somebody else will. Maybe
    24   prescriptions are being -- are coming from,          24   I don't have as many customers because they don't

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     1   particularly controls, okay?                          1   want to buy from me, okay? But --
     2      Q. Right.                                          2       Q. It could be that, too.
     3      A. And does this doctor have any -- is             3       A. But there are customers that we don't
     4   there a reason that he would write more controls      4   want to sell to, okay?
     5   than somebody else, okay?                             5       Q. As well?
     6      Q. Right.                                          6       A. As well.
     7      A. Maybe if he's a dental surgeon, okay, he        7       Q. Now -- and understand what I'm trying to
     8   might -- and he's pulling wisdom teeth all day, he    8   do. I'm trying to determine what else, if
     9   may write more prescriptions for pain than            9   anything, PSI considers when it's setting
    10   somebody else.                                       10   thresholds.
    11      Q. Than a regular dentist?                        11       A. Yes.
    12      A. Than a regular dentist does.                   12       Q. And we went through some of them, and
    13      Q. Sure, sure. Now --                             13   you gave us some great examples, absolutely. And
    14      A. Just for example.                              14   correct me if I am wrong, but the goal is to set
    15      Q. Yes, sir. Yes, sir.                            15   thresholds that are reasonable for that particular
    16          And correct me if I am wrong, but the         16   client?
    17   goal in setting these thresholds is to create an     17       A. That's correct.
    18   upper limit for our customers?                       18       Q. You may have things that change the
    19      A. Mm-hmm.                                        19   circumstances --
    20      Q. Is that a yes?                                 20       A. Correct. That would perhaps change the
    21      A. That's a yes.                                  21   threshold.
    22      Q. Okay. And does PSI use any type of             22       Q. And, therefore, we would see the due
    23   multiplier to a threshold number?                    23   diligence in the documentation supporting that
    24      A. We have. But as I pointed out to you,          24   change, or at least we should?

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     1      A. We should.                                      1   coordination with the IT manufacturer. He/she
     2      Q. Can we agree on that?                           2   shall report any unaccounted losses or problems to
     3      A. Yes.                                            3   the DR/DR supervisor and, when delegated, to
     4      Q. Okay. And when you're looking at                4   appropriate authority (Northwood Police or DEA).
     5   changes in thresholds, you wouldn't be looking at     5   Controlled substances handler shall also document
     6   changes in thresholds for some reason that doesn't    6   all transactions and communications, holding
     7   necessarily affect supply or demand. You want to      7   copies of paperwork as required by law for at
     8   look for legitimate reasons for changes in            8   least six years."
     9   thresholds.                                           9          So I was comparing this with the -- your
    10          MR. RICARD: Object to form.                   10   org chart, organizational chart, that has all the
    11      Q. Take, for example, a new pharmacy -- a         11   people listed. I didn't see a controlled
    12   pharmacy down the road closed.                       12   substance handler anywhere. Who is the controlled
    13      A. That's a reason.                               13   substance handler?
    14      Q. That may be a reason?                          14       A. Well, it's -- I've never heard of the
    15      A. Um-hmm.                                        15   controlled substance handler either. We're going
    16      Q. You may need to look to see and see who        16   to say that we have a controlled substance
    17   that pharmacy was providing for in servicing and     17   manager, okay?
    18   we still need to do our other due diligence and      18       Q. Okay.
    19   verification, correct?                               19       A. We have two people in my cage that, you
    20      A. Correct.                                       20   know, do that. They actually look at these orders
    21      Q. You know, maybe increasing thresholds by       21   and they make those decisions.
    22   20, 30 percent because it's St. Patrick's Day may    22       Q. Now -- and let me ask. And this is not
    23   not be such a legitimate reason?                     23   meant to be derogatory or negative in any way, so
    24      A. That's correct.                                24   don't take it as such. These policies and
                                                  Page 179                                                     Page 181
     1           MS. MONAGHAN: Objection to form.              1   procedures as we --
     2   BY MR. FULLER:                                        2      A. You know, the --
     3       Q. I knew they would object.                      3          MR. RICARD: Wait for a question.
     4           So there are legitimate reasons and           4          THE WITNESS: Okay.
     5   illegitimate reasons that people try to seek          5      Q. And you may be going where I'm going.
     6   increases in thresholds, right?                       6      A. No. You go ahead.
     7       A. Yes.                                           7      Q. I understand there's requirements that
     8       Q. Now, the obligation on the distributor,        8   you have to have them. It sounds like
     9   the registrant, is to sort out the legitimate from    9   Prescription Supply is such an operation that,
    10   the illegitimate requests doing the due diligence    10   "Hey, we don't always look at these. We know how
    11   that we talked about; is that fair?                  11   we do things. We try to do things the right way,
    12       A. That's right.                                 12   and" -- go ahead.
    13       Q. Okay. And that's what the regulations         13      A. The procedures should match the -- the
    14   and code require, correct?                           14   policies should match the procedures, okay?
    15           MR. RICARD: Objection to form.               15      Q. Yes, sir.
    16       A. That's correct.                               16      A. And that is our intention. On the other
    17       Q. Okay. Going to page 2 of that policy          17   hand, if you throw DR and DR manager in there and
    18   and procedure.                                       18   maybe a name that -- controlled substance handler,
    19           MR. FULLER: The first paragraph on that      19   those are things that are thrown in because the
    20   page, Gina.                                          20   person that put them in was far more aware of what
    21   BY MR. FULLER:                                       21   requirements were for something else, okay,
    22       Q. There it reads, "The controlled               22   than -- so the names may not be accurate, okay?
    23   substance handler shall be responsible for           23      Q. Yes, sir.
    24   monitoring all controlled purchases in               24      A. But the policies should be accurate.

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     1   Yes. I mean, if we have a shortage -- or let's        1   been suspicious orders which they failed to report
     2   say we have -- let's say we have a shipment and       2   in the past, correct?
     3   we --                                                 3       A. Yes.
     4           MR. RICARD: I think you answered the          4       Q. Okay. If we look at HDMA guidelines
     5   question.                                             5   now -- let's transfer. They talk about, you're
     6           THE WITNESS: Okay.                            6   right, orders of interest, right?
     7   BY MR. FULLER:                                        7       A. Mm-hmm.
     8       Q. So we talked about this policy a bit.          8       Q. Is that a yes?
     9   And it talks about reporting suspicious orders.       9       A. Yes.
    10       A. Yes.                                          10       Q. Orders of interest are nowhere mentioned
    11       Q. And we know Prescription Supply has           11   in our regulatory requirements, are they?
    12   never reported a suspicious order. And is it         12       A. That's correct.
    13   Prescription Supply's position that's because they   13       Q. Basically what HDMA has done is tried to
    14   never got a suspicious order?                        14   reclassify or rename suspicious orders as orders
    15       A. We certainly never shipped a suspicious       15   of interest?
    16   order.                                               16          MR. RICARD: Object to form.
    17       Q. Well -- and I understand that. You've         17       A. Correct.
    18   made that abundantly clear. But my question is a     18       Q. Okay. But just because --
    19   little different. Is that because Prescription       19       A. They did it. Okay. Go ahead.
    20   Supply has never received --                         20       Q. Right. If we call a duck a dog, it
    21       A. It depends on how you define a --             21   doesn't change the fact that it's still a duck,
    22       Q. Suspicious order?                             22   right?
    23       A. -- suspicious order. If you define it         23          MR. RICARD: Object to form.
    24   the way it is in the code, we've received them,      24       A. Correct.
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     1   okay?                                                 1       Q. Okay. Let's go back to thresholds for a
     2       Q. Yes, sir.                                      2   moment.
     3       A. If you define them the way the HDMA --         3       A. Okay.
     4   where they say "orders of interest," okay, and you    4       Q. Now, we've talked a little bit about how
     5   call those orders of interest and not suspicious      5   thresholds are set initially. And I've seen some
     6   orders, then yes, we've never reported a              6   forms, particularly with that Board of Pharmacy
     7   suspicious order because we've never gotten one,      7   investigation, related to threshold changes or
     8   okay?                                                 8   change requests.
     9       Q. That's just because we renamed them,           9          Is it assuming a -- strike that.
    10   right?                                               10          When we know our customer, we should be
    11       A. That's because we renamed them. But I'm       11   able to set a threshold and have that threshold
    12   telling you that, you know, the -- they want to      12   maintained, correct?
    13   know when we find something that is truly            13       A. Yes.
    14   suspicious. If we find that Joe Smith Pharmacy       14       Q. Now, there may be things in the real
    15   placed an order on the 27th that would put them      15   world and in changes in the business that cause us
    16   over the threshold by a few hundred tablets, the     16   to have to adjust that threshold, correct?
    17   DEA doesn't want to know that. They don't need to    17       A. Correct.
    18   know it because it's not -- they're not going to     18       Q. But that should be the exception instead
    19   use that.                                            19   of the rule, meaning that we should be able to set
    20       Q. And I get what you're saying. Now,            20   a threshold that maintains over a period of time?
    21   let's back up and digest what you've just given      21       A. Mm-hmm.
    22   us.                                                  22       Q. We shouldn't see two, three, five, six,
    23          PSI agrees that if we're looking at the       23   seven threshold changes within one month?
    24   regs and the statute and the code, that there have   24          MR. RICARD: Object to form.

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     1       A. For one pharmacy?                              1      A. It is.
     2       Q. For one pharmacy. Correct?                     2      Q. All right. We've been going --
     3       A. I would think not.                             3      A. And the same thing applies --
     4       Q. Because then either -- something is            4         MR. RICARD: There's --
     5   wrong. Either we didn't set our threshold right       5         THE WITNESS: Okay.
     6   at the very beginning, or maybe there's a red flag    6         MR. RICARD: -- no question --
     7   or something going on, correct?                       7         MR. FULLER: We've been going another
     8          MR. RICARD: Object to form.                    8   hour. Let's take a break.
     9       A. Mm-hmm.                                        9         MR. RICARD: Sure.
    10       Q. Do you agree?                                 10         THE VIDEOGRAPHER: The time is now 2:02.
    11       A. Yes.                                          11   We're going off the record.
    12       Q. Okay. And --                                  12         (Recess taken.)
    13       A. Although I have to -- if we had two or        13         THE VIDEOGRAPHER: The time is now 2:19.
    14   the three changes, there probably were reasons for   14   Back on the record.
    15   those changes. I don't know that there were three    15   BY MR. FULLER:
    16   versions.                                            16      Q. We were talking about thresholds,
    17       Q. Yes, sir. And if there is and there is        17   Mr. Schoen. Tell me -- you mentioned that back
    18   legitimate reason, then we should see that           18   when you did have a bunch of primaries, that you
    19   documented, correct?                                 19   guys used a multiplier. Do you know what the
    20       A. Correct.                                      20   multiplier was that you used?
    21       Q. And just for the record -- I know you're      21      A. No.
    22   chuckling, not because you're not taking it          22      Q. Okay.
    23   seriously --                                         23      A. I can't say that we don't still use a
    24       A. Not because -- no, because --                 24   multiplier.

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     1       Q. -- but because the reality is maybe            1          MR. RICARD: Wait for a question, Tom.
     2   sometimes it doesn't get documented?                  2          THE WITNESS: Okay.
     3       A. I'm afraid that's true.                        3   BY MR. FULLER:
     4       Q. It doesn't change the fact that it             4       Q. Well, I think you were trying to
     5   should?                                               5   clarify, because I think you said earlier that you
     6       A. No.                                            6   didn't use a multiplier anymore, but you think you
     7       Q. Because it makes it much more --               7   might?
     8       A. On the other hand, it doesn't make it          8       A. I don't know.
     9   criminal or illegal either.                           9       Q. Okay. Who would know that?
    10       Q. Well, listen, when the IRS comes and          10       A. The IT people.
    11   tells me I didn't document money I made, that does   11       Q. Kirk?
    12   make it criminal.                                    12       A. Kirk.
    13       A. You know, Prescription Supply had the         13          MR. FULLER: So we're going to mark for
    14   pleasure of entertaining the IRS for a six-month     14   identification purposes Exhibits 21 and 22 [sic].
    15   audit in-house.                                      15          Gina, it's 407 and 408.
    16       Q. Oh, God bless you.                            16          MS. VELDMAN: What was the number?
    17       A. Yes. They left after three months, and        17          MR. FULLER: 407 and 408.
    18   they gave us a letter of no change.                  18          And for the record, it's PSI0000280 and
    19       Q. Well, congratulations.                        19   PSI0000274.
    20       A. The only reason they left was because         20          MS. VELDMAN: Are you going to do one at
    21   other people were more interesting than we were.     21   a time?
    22   We just weren't very interesting.                    22          MR. FULLER: Oh, no. We're going to do
    23       Q. Well, there you go. That's a good thing       23   three at a time. Are you kidding me? We're
    24   when it comes to the IRS.                            24   getting done. No. I'm kidding.

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     1                   ---                                   1   monitoring system has evolved over time.
     2      (PSI-Schoen Exhibits 20 and 21 marked.)            2      Q. Yes, sir.
     3                   ---                                   3      A. This was surely part of it and is part
     4   BY MR. FULLER:                                        4   of what's being used, but is it everything? Other
     5      Q. So we have two more exhibits there in           5   changes have been made, yes.
     6   front of you, Mr. Schoen.                             6      Q. Sure. Now, I guess my question is, we
     7          I'm going to deal with Bates Number 2 --       7   talked earlier about that software that prevents
     8   or 280 first, the one that has at the top "Maximum    8   orders above thresholds from going out now --
     9   Monthly Quantity Prescription Supply."                9      A. Mm-hmm.
    10      A. Mm-hmm.                                        10      Q. -- or being shipped. Is OLS the group
    11      Q. And I'll tell you, I've read through it.       11   that wrote that software?
    12   I don't really understand what this is or what it    12      A. Some of it.
    13   does. Do you?                                        13      Q. Okay. And maybe some of it isn't?
    14      A. I honestly haven't read through it             14      A. Some of it we wrote ourselves.
    15   recently, so I don't -- I don't know that I do or    15      Q. Okay.
    16   don't.                                               16      A. Some of it -- we gain software from
    17      Q. Now, there's references to maximum             17   numerous entities, okay? Online Solutions is on
    18   units, medication families, and it looks like        18   the West Coast. We have an East Coast provider of
    19   somewhat of a bunch of computer stuff talking        19   software also for Online Solutions. This is --
    20   about order processing system modifications. And     20   the West Coast is really Online Solutions. The
    21   the other document, which is 274, seems to, at       21   East Coast are people that have developed software
    22   least from my simple perspective, be written in      22   for Online Solutions. So we're getting it from --
    23   more of an understandable English.                   23      Q. Multiple sources?
    24          Do you have that one in front of you?         24      A. Multiple sources.
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     1      A. This one?                                       1       Q. Got it. Got it.
     2      Q. Yes, sir.                                       2          So when this refers to maximum monthly
     3      A. Yeah.                                           3   units, we're talking about a threshold type of
     4      Q. It says, "Prescription Supply Maximum           4   situation, is that correct, or do you know?
     5   Monthly Units of OLS" --                              5       A. Well, it is talking about a
     6      A. Oh, okay.                                       6   threshold-type situation, yes.
     7      Q. -- which my understanding is --                 7       Q. Okay.
     8      A. They're a software company.                     8       A. Yes.
     9      Q. -- Online Solutions. Okay. That's your          9          MR. FULLER: Next is 503.
    10   software company?                                    10   BY MR. FULLER:
    11      A. Online Solutions. Yes.                         11       Q. Mr. Schoen, we're going to look next at
    12      Q. So explain to me what OLS is.                  12   the -- yeah, this is going to be Plaintiff's
    13      A. Online Solutions.                              13   Exhibit Number 22.
    14      Q. Yeah, but it's a software company that         14                   ---
    15   does what?                                           15         (PSI-Schoen Exhibit 22 marked.)
    16      A. That's the name. They wrote our                16                   ---
    17   software, our entire package.                        17   BY MR. FULLER:
    18      Q. Okay.                                          18       Q. And have you seen --
    19      A. They still are writing some.                   19          MR. RICARD: Can I just state for the
    20      Q. And is this the software that manages          20   record that although not marked as confidential,
    21   and sets the -- or stops the orders that come in     21   it was our intention to mark these as confidential
    22   that may be above threshold and things of that       22   documents not to be distributed outside the scope
    23   nature?                                              23   of this deposition.
    24      A. It is. As I said, suspicious order             24          MR. FULLER: And we won't let the

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     1   witness keep them. I'm kidding.                           1   Woodville.
     2   BY MR. FULLER:                                            2      A. Correct.
     3      Q. All right. Have you seen this document              3      Q. Now, we talked a little bit earlier,
     4   before?                                                   4   Gibsonburg Pharmacy in Woodville is the one that
     5      A. Well, yes.                                          5   eventually got sold to CVS; is that correct?
     6      Q. Okay. And this is where the Ohio State              6      A. Correct.
     7   Board of Pharmacy came in and initially did a             7      Q. Okay. And the Board of Pharmacy had
     8   visit to Prescription Supply, Inc., in May of             8   questions about the other three?
     9   2017, this document being your response thereof,          9      A. Yes.
    10   and ultimately what the Board of Pharmacy said is,       10      Q. And, particularly, the other three,
    11   "Why is it that Prescription Supply has not              11   they're talking about spikes, and spikes that
    12   reported suspicious orders in 2014, 2015, 2016,          12   occurred anywhere from April of '14 through
    13   and 2017?"                                               13   January of '15, at least according to this
    14          Right?                                            14   document; is that fair?
    15          MR. RICARD: Objection to form.                    15      A. Yes.
    16      A. Apparently, mm-hmm.                                16      Q. Okay. And if you turn to page 60.
    17      Q. And Prescription Supply responded much             17      A. 60?
    18   like you said and said, "Because we don't get            18      Q. Yes, sir. Oh, no, it's not 60. Try 59.
    19   suspicious orders."                                      19   I'm sorry.
    20          MR. RICARD: Objection to form.                    20          Do you recognize this form? Have you
    21      Q. Right?                                             21   ever seen this type of form before, Mr. Schoen?
    22      A. That's the response.                               22      A. Yes.
    23      Q. And then BOP comes back and says, "But,            23      Q. This is a form that's called -- or at
    24   hey, what about these four pharmacies and what was       24   the top, it says "Prescription Supply, Inc., 2233
                                                     Page 195                                                   Page 197
     1   going on with them?"                                      1   Tracy Road, Northwood, Ohio 43619. And that's
     2           Right?                                            2   the name and location of your business; is that
     3           MR. RICARD: Objection to form.                    3   correct?
     4       A. That's correct.                                    4      A. That's correct.
     5       Q. Then you guys provided, as you mentioned           5      Q. And it says, "Increased purchase request
     6   earlier, various responses; is that right?                6   for controlled substances."
     7       A. Mm-hmm, yes.                                       7          Is this what you guys used to increase
     8       Q. And the four entities -- if you go to              8   basically thresholds for controlled substances?
     9   page -- I think it's page 5. Yep. That provides           9      A. Among other things, yes.
    10   you a listing of the four pharmacies they asked          10      Q. Okay. And it says, "We understand the
    11   about; is that correct?                                  11   changes in usage occur. To facilitate increased
    12       A. Correct.                                          12   purchasing, please have the Owner, Business
    13       Q. A Kahler Pharmacy. Am I pronouncing               13   Officer, or Authorized Signatory complete and
    14   that right?                                              14   return this form."
    15       A. Yes.                                              15          And so this is a form that would be
    16       Q. A Shaffer Pharmacy. Both in Toledo. A             16   provided to your customers to fill out and provide
    17   Medicine Shoppe, which is in --                          17   back to PSI to indicate that they were seeking
    18       A. Bellevue.                                         18   some sort of increase related to controlled
    19       Q. Bellevue. Which that's part of a chain,           19   substances?
    20   is it not, or a bunch of franchises?                     20      A. Correct.
    21       A. Franchises, I believe.                            21      Q. And the form asks for a variety of
    22       Q. Okay.                                             22   differing types of information. And this
    23       A. I believe franchises.                             23   particular one is filled out by the Medicine
    24       Q. And then Gibsonburg Pharmacy in                   24   Shoppe that was part of that Ohio Board of

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     1   Pharmacy investigation; is that right?                1   looked, we would see a threshold event for this
     2      A. That's correct.                                 2   particular increased purchase request, or at least
     3      Q. Okay. Now, if you go on down the form,          3   we should, correct?
     4   we have questions 1 through 6 -- well, actually, 1    4       A. Yes.
     5   through 7. But it doesn't look like Medicine          5       Q. Okay. Now, if we go to page 61, we'll
     6   Shoppe filled out anything other than number 6.       6   have another one of these forms; is that right?
     7      A. That's correct.                                 7       A. Yes.
     8      Q. Now, what did they say in number 6?             8       Q. Okay. And this is for Shaffer Pharmacy,
     9      A. That Cardinal was unable to supply.             9   correct?
    10      Q. So this would have been a facility in          10       A. Yes.
    11   which you were a secondary source for, correct?      11       Q. That was another one of those that was
    12      A. Correct.                                       12   looked into by the Board of Pharmacy for the State
    13      Q. Presumptively then Cardinal would have         13   of Ohio, correct?
    14   been the primary; and for some reason, they          14       A. Correct.
    15   couldn't provide them with the Oxy 30s?              15       Q. And here we have -- there's a stamp
    16         MR. BUSHUR: Objection; form.                   16   which provides most of that information on those
    17      A. Correct.                                       17   first few lines. And then we have answers to
    18      Q. At least that's what's indicated on this       18   numbers 1 through 7.
    19   document?                                            19           Do you see that there?
    20      A. That's what's indicated, yeah.                 20       A. I see it.
    21      Q. Okay. Now, I'm assuming, sitting here          21       Q. And question 1 asks "Has the pharmacy
    22   today, you have no idea whether that's true or       22   prescription count increased?"
    23   not?                                                 23           And the answer is?
    24      A. Well, yes, I don't know that it's true.        24       A. Yes.
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     1       Q. Now, let's talk about how the system           1      Q. Okay. Which in your line of business,
     2   worked. So if they were a secondary customer for      2   explain to us what that means. It means they're
     3   PSI and they would have placed an order, assuming     3   getting more prescriptions, right?
     4   that order would have been within their threshold,    4      A. That's what it means.
     5   it would get filled in the normal course, right?      5      Q. Okay. "2. Did the pharmacy change its
     6   Is that a yes?                                        6   business activity?"
     7       A. That's correct.                                7         And the answer is?
     8       Q. Okay. What may happen, though, is              8      A. No.
     9   because they're a secondary customer, they may        9      Q. "3. Has there been an increase in
    10   have a very low threshold?                           10   prescribers?"
    11       A. That's correct.                               11         And the answer is?
    12       Q. So that an order will set off that            12      A. Yes.
    13   system, which you described to us earlier,           13      Q. 4, "Is the pharmacy serving additional
    14   triggering this type of documentation, the           14   long-term care, or LTC, hospice, pain management,
    15   necessity for this type of documentation to ship     15   Urgent Care?"
    16   an order beyond that set threshold?                  16         And the answer is?
    17       A. Correct.                                      17      A. No.
    18       Q. Okay. So -- and I'll represent to you         18      Q. "Name/Drug Family" is what?
    19   that we do have provided through your counsel a      19      A. Oxycodone.
    20   list of threshold events for all your businesses     20      Q. And then it says, "If new pain
    21   or all your transactions going back, I think,        21   management clinic/physicians/hospice/urgent care,
    22   until 2008.                                          22   long-term care, please list each prescriber name
    23           MR. RICARD: Correct.                         23   with their DEA number."
    24       Q. So being that this is in 2015, if we          24         And it indicates whom?

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     1      A. Two doctors, I'm guessing. They have            1       A. No.
     2   DEA numbers.                                          2       Q. But it should, right?
     3      Q. Correct. Now, number 6 asks for the             3       A. Yes.
     4   reason for the request. Read the reason for the       4       Q. And then the reason. Can you read the
     5   request to us.                                        5   reason for us?
     6      A. "Supplier mentioned an industry short           6       A. "We have seen an increase in
     7   supply." New MDs named [sic] in building -- new       7   prescriptions over the past six months on the
     8   doctors in the building.                              8   average of about 110 new prescriptions monthly."
     9      Q. And I think it says "New MDs moved in           9       Q. Now, if you and I are doing the due
    10   the building."                                       10   diligence on this and looking to determine whether
    11      A. Okay.                                          11   we're going to increase this, that doesn't really
    12      Q. Right?                                         12   give us enough information, does it?
    13      A. Yes.                                           13          MR. RICARD: Object to form.
    14      Q. And, now, it's signed by a Tom Tadsen?         14       A. It says -- well, what other information
    15      A. Tadsen.                                        15   would you want to see?
    16      Q. But it's not dated, is it?                     16       Q. Well, let's talk about that. So it says
    17      A. No.                                            17   the number of people coming with prescriptions is
    18      Q. Now, it should be, correct?                    18   increasing, right?
    19      A. Yes.                                           19       A. Mm-hmm.
    20      Q. Now, as we stated earlier, we should be        20       Q. Well, we don't know if those people are
    21   able to look and see a threshold increase that hit   21   driving up from Florida. We don't know if they're
    22   during this time frame, correct?                     22   driving from West Virginia or Kentucky or anywhere
    23      A. Yes.                                           23   else. If we're going to see a potential spike
    24      Q. Otherwise, if there was no threshold           24   that may be from diversion, we're going to see

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     1   event, there would be no purpose or reason that we    1   more prescriptions, aren't we?
     2   would have this form, at least the way our system     2          MR. RICARD: Objection to form.
     3   works, correct?                                       3        A. Yes.
     4       A. Right.                                         4        Q. So the information that we have doesn't
     5       Q. Okay. So now let's go to two more pages        5   provide us anything to tell us whether it's
     6   back, 63, and I think we'll see the form for the      6   potential diversion or otherwise?
     7   third pharmacy. Now, Tabb Enterprises, I'm            7          MR. RICARD: Objection to form.
     8   assuming, is a -- it indicates there is a d/b/a       8        Q. Correct?
     9   for that Kahler -- I know I pronounced that right     9        A. Yes, but we -- well, we feel we know
    10   last time. Is it Kahler or Kahler?                   10   Kahler.
    11       A. Kahler.                                       11        Q. And I understand that, and that may be
    12       Q. Kahler, Kahler Pharmacy. And that's in        12   true. But, again, we're wanting to look at the
    13   Toledo, right?                                       13   documentation we have to make sure we can
    14       A. Correct.                                      14   substantiate what we're doing, and that's the way
    15       Q. And there it asks the same questions.         15   it's supposed to be done, right?
    16   Has the prescription count increased? They say       16        A. Yes.
    17   yes.                                                 17        Q. Okay. All right. So --
    18          Did the pharmacy change business              18          MR. FULLER: Gina, can you pull up the
    19   activity? No.                                        19   macro spreadsheet.
    20          Has there been an increase in                 20          And, AJ, I need just -- oh, actually, hold on.
    21   prescribers? No.                                     21   I think I -- I think we have it in the -- bring me up
    22          Is it servicing an LTC, pain management,      22   904.
    23   or urgent care? No.                                  23          MS. VELDMAN: Are you talking to me?
    24          Name and drug family? Does it give one?       24          MR. FULLER: Yes, ma'am.

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     1           MS. VELDMAN: What did you say, 94?                1          MR. FULLER: There you go. Great.
     2           MR. FULLER: 904. And for the record, I            2   BY MR. FULLER:
     3   don't know that I'm going to use it right now, but        3       Q. All right. So we see in March,
     4   I'm going to be using a macro spreadsheet in a            4   March 5th, you see there we have an order that the
     5   bit, and I'll attach the thumb drive as Exhibit           5   total units sold of oxycodone is 6,100, and our
     6   23.                                                       6   max threshold is 7,000, correct?
     7           And, Counsel, here's a copy of that for y'all.    7       A. Correct.
     8                    ---                                      8       Q. And when we have one of these flags,
     9          (PSI-Schoen Exhibit 23 marked.)                    9   that's because the next order was going to send
    10                    ---                                     10   them over the limit; is that right?
    11   BY MR. FULLER:                                           11       A. Apparently, yes.
    12       Q. All right. So let me tell you what I've           12       Q. Okay. And that's on the 5th. Then on
    13   been provided and what I've done, is, Mr. Schoen,        13   the 7th, we've now sold to Kahler 11,800, and
    14   I've been provided, as I mentioned to you earlier,       14   apparently back on the 5th, we increased their
    15   the transactional data, as well as all the               15   threshold from 7- to 12,000.
    16   threshold events that your company received from         16          Do you see that?
    17   2008 to present, okay?                                   17          MR. RICARD: Objection to form.
    18           And what I've done and went through is           18       A. Yes. I suppose -- it's the family.
    19   sort of separate them out, because they were all         19   Okay.
    20   in chronological order. And as you know from             20       Q. It's the family. So it means --
    21   running the business, that's a whole bunch of            21       A. It's a different product, but yeah.
    22   lines with a whole bunch of different pharmacies         22       Q. Correct. Well, it's a different dosage;
    23   with a whole bunch of different drugs.                   23   is that right?
    24           So what I've separated out is anything           24       A. That's correct.
                                                     Page 207                                                        Page 209
     1   but for oxies and hydros, two drug families which         1       Q. Okay. But still it's, I think,
     2   we talked about earlier that you guys do                  2   oxycodone. So then on the 12th, we have another
     3   thresholds within since 2006, correct?                    3   event there where now Kahler has ordered -- and,
     4       A. Correct.                                           4   again, our initial threshold at the beginning of
     5       Q. Okay. So as you can see from on the                5   the month was 7,000. Now they've ordered 15,300,
     6   screen, this is Kahler Pharmacy, right?                   6   and we've apparently increased their threshold to
     7       A. Kahler, but yes.                                   7   18,000.
     8       Q. Kahler. I'm sorry. I keep messing that             8          MR. RICARD: Object to form.
     9   up now.                                                   9       Q. Do you see that there, Mr. Schoen?
    10           And it starts -- the first threshold             10       A. I see it.
    11   event we have is in March of 2012.                       11       Q. Then on the 19th, another five days
    12           Do you see that there?                           12   later, of March of 2012, we've now sold them
    13       A. I do.                                             13   20,500 and have previously increased their
    14       Q. Okay. Now, if we could slide it over to           14   threshold to 22,000.
    15   the right, we'll see as we go across, at the end         15          Then on the 19th again, same day, we've
    16   of the columns, we have column S, which is the           16   sold them 24,500 and increased their threshold to
    17   total number of units ordered -- or units sold           17   25,000. On the 21st of March, we've now sold them
    18   that month, and then T is the maximum units which        18   25,500 and increased their threshold to 26,000.
    19   indicates the threshold; is that right?                  19   The 26th of March, we've now sold them 28,400
    20       A. Yes.                                              20   oxycodone pills of varying strength, right?
    21           MR. FULLER: And, Gina, can you get the           21       A. Correct.
    22   date on there as well? Slide it over just a              22       Q. And we've now raised their threshold to
    23   little bit. Can you shrink some of those down?           23   29,000 pills. But wait. We're not done.
    24           MS. VELDMAN: Yeah.                               24          MR. RICARD: Object to form.

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     1       Q. On the 30th, we've now sold them 33,000        1   You would agree with that?
     2   pills, and we've increased their threshold to         2           MR. RICARD: Objection to form.
     3   33,000 pills. That is seven threshold increases       3       A. It certainly draws my interest, yes.
     4   increasing the threshold over 400 percent within      4       Q. And who knows, you may go back to the
     5   25 days.                                              5   office either later today or tomorrow and ask for
     6           MR. RICARD: Objection to form.                6   someone to look into this and see if there is an
     7       Q. Now, I can tell already that this              7   explanation. And certainly if there is
     8   concerns you, doesn't it?                             8   documentation that sets out, I would absolutely
     9       A. It does.                                       9   ask you to provide it to your counsel so he can
    10       Q. You did not know that things like this        10   forward it to us, because, again, we're not here
    11   may have been going on in your company?              11   to make accusations or anything that is
    12           MR. RICARD: Objection to form.               12   inaccurate. We want to have all the information,
    13       A. I don't know -- I mean, what do I say?        13   as I'm sure you do, correct?
    14   No. I mean no, huh-uh.                               14       A. Correct.
    15       Q. Now, let's drop down. Because we              15       Q. Okay. So this doesn't have to do
    16   separate into two drug families oxycodone --         16   necessarily with a time frame when Kahler was --
    17       A. And hydrocodone.                              17   and the Board of Pharmacy was looking in, but
    18       Q. -- and hydrocodone. In August of the          18   this, too, is a concerning issue; you would agree
    19   same year, on the 7th of August, we have a           19   with that?
    20   hydrocodone threshold event, correct?                20           MR. RICARD: Objection to form.
    21       A. Mm-hmm.                                       21       A. It's certainly of interest, yes.
    22       Q. And they ordered 5,500, and already on        22           MR. FULLER: Okay. Now, let's go to --
    23   the 7th.                                             23   we're going to need to go to the macro.
    24           Now, you would agree with me that these      24           And, AJ, help her get to where the -- all the
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     1   threshold events -- the threshold should be set       1   threshold events, and then bring it up for Shaffer
     2   and shouldn't necessarily be hit so early in a        2   Pharmacy, please, unless I have it.
     3   month? It's not something you would expect to         3          Actually, 905 I think does it. Sorry. I
     4   see, generally speaking?                              4   should have known that.
     5       A. Generally.                                     5   BY MR. FULLER:
     6           MR. RICARD: Objection to form.                6       Q. Okay. So this is Shaffer's Pharmacy in
     7       Q. So the threshold, while they're at 5,500       7   Toledo. You're familiar that that's a client of
     8   pills, is at 6,000. On the 17th, ten days later,      8   yours, right?
     9   they're up to 12,000 pills, and the threshold is      9       A. Yes.
    10   at 12,000.                                           10       Q. Okay. These are the threshold events,
    11           On the 23rd, another week later, they're     11   and I believe these are all the threshold events I
    12   at the 12,100 pills, and we've increased our         12   have for Shaffer's, which is less -- looks less
    13   threshold to 14,000 pills. On the 29th, the last     13   than Kahler, doesn't it?
    14   transaction of the month, they're at 15,100, and     14       A. Yes.
    15   we've increased their threshold to 16,000 pills.     15       Q. Now, Shaffer's Pharmacy and the issue
    16   We have more than doubled it within this month       16   with the Board of Pharmacy was in April of 2014.
    17   of -- well, within this 21 days basically.           17   If you get the date on that. There you go. And
    18           Does that cause you concern?                 18   it dealt with oxycodone.
    19           MR. RICARD: Objection to form.               19          So do you see a threshold event in April
    20       A. I would want to look into it.                 20   of 2014 --
    21       Q. And we would want to see the                  21          MR. FULLER: I need the date on there.
    22   documentation as to the reasons, because just        22   Right there. You're good.
    23   looking at what's happening with the threshold and   23   BY MR. FULLER:
    24   the number of pills going out, it's concerning.      24       Q. In April of 2014 for Shaffer's Pharmacy?

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     1      A. No.                                            1       Q. You don't know whether it happened or
     2      Q. We see March of '13, and then the next         2   no?
     3   one chronologically we see is September of '14,      3       A. I -- yeah.
     4   correct?                                             4       Q. Now, we know there's no triggering
     5      A. Right.                                         5   event, and we know the increased request form is
     6      Q. Okay. So that begs the question,               6   not dated, which it's supposed to be dated,
     7   doesn't it, how do we get an increased purchase      7   correct?
     8   request if there was no event that would trigger     8       A. Mm-hmm.
     9   an increased purchase request?                       9       Q. Is that a yes?
    10          MR. RICARD: Objection to form.               10       A. Yes, that's correct.
    11      A. This is dated -- that's different. I'd        11       Q. And, again, I encourage you when you go
    12   have to --                                          12   back, if you want to look into it, and if there's
    13      Q. Because the increased purchase request        13   anything that you can provide to counsel, I'm sure
    14   form that we had that we looked in our Board of     14   they will forward it to me, and maybe we can get
    15   Pharmacy investigation packet --                    15   to the bottom of this.
    16      A. Um-hmm.                                       16       A. I would have to go back and look at the
    17      Q. Do you have that back in front of you?        17   whole thing.
    18      A. I do now.                                     18       Q. Well, and understand, you don't need to
    19      Q. It's not dated, is it?                        19   write anything down. I know you were reaching for
    20      A. No.                                           20   your pen, but counsel is going to have all this
    21      Q. Now -- and I'm not suggesting that you        21   information. And if he needs anything from me, I
    22   did this, Mr. Schoen. I'm asking PSI, because       22   can point him to where it was or what we were
    23   you're sitting here as Prescription Supply, Inc.,   23   looking at, and he can get with you, okay?
    24   do we know whether someone went to Shaffer          24       A. Mm-hmm. Um --
                                                 Page 215                                                  Page 217
     1   Pharmacy once the Board of Pharmacy came to do       1          MR. RICARD: There's no question
     2   their investigation and said, "Hey, we need an       2   pending.
     3   increased purchase request from you for April of     3          MR. FULLER: Go to 506, Gina.
     4   2014," when the Board of Pharmacy is looking at      4   BY MR. FULLER:
     5   this spike."                                         5      Q. Now, let me ask you -- and, again, we'll
     6          MR. RICARD: Objection to form.                6   get to the bottom of it, and we'll figure it out
     7      A. I have no idea.                                7   one way or another. If somebody was doing
     8      Q. Because there's no triggering event --         8   documents in 2017 to support shipments in 2014,
     9      A. I see that, yes.                               9   you would agree with me that would be completely
    10      Q. -- to set off this documentation. And         10   inappropriate?
    11   here's my concern. I'm going to be very --          11          MR. RICARD: Objection to form.
    12      A. It's not dated either though.                 12      A. Yes.
    13      Q. Right. And that was my concern, is that       13      Q. It would potentially be illegal as well?
    14   someone -- and, again, I have no idea who. But it   14      A. Yes.
    15   appears someone could have went to Shaffer's        15          MR. RICARD: Objection.
    16   Pharmacy and asked them to do an increased          16      Q. And you would --
    17   purchase request in 2017 once this investigation    17      A. Okay.
    18   got on its way?                                     18      Q. You wouldn't stand for that in your
    19          MR. RICARD: Objection to form. Calls         19   company, would you, if you knew it was going on?
    20   for speculation.                                    20      A. No.
    21      Q. Which you would agree would be very           21      Q. Okay. And I know you want to explain,
    22   disconcerting, wouldn't it?                         22   but I would just suggest listen to your advice of
    23      A. It would be disconcerting, but I              23   counsel and just answer the questions being asked.
    24   don't --                                            24          MR. FULLER: All right. 506. And if

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     1   you can blow up this area here (indicating). This     1          And it gives you the Medicine Shoppe and
     2   is going to be Plaintiff's Exhibit Number 24.         2   Shaffer, correct?
     3                  ---                                    3       A. Yes.
     4          (PSI-Schoen Exhibit 24 marked.)                4       Q. Okay. Do you know if you guys -- and I
     5                  ---                                    5   say "you guys." Do you know if Prescription
     6   BY MR. FULLER:                                        6   Supply has responded to the Board of Pharmacy
     7       Q. Now, Mr. Schoen, I think this was              7   pursuant to this request as of yet?
     8   actually an e-mail that was actually sent to you.     8       A. Yes.
     9       A. Mm-hmm.                                        9       Q. And in that response --
    10       Q. Is that a yes?                                10       A. No. I can say that the agent was in the
    11       A. Yes.                                          11   building. We may have responded there, and he may
    12           MR. RICARD: You need to respond out          12   have accepted that response. I don't know.
    13   loud.                                                13       Q. Okay.
    14       Q. Take a minute. We're going to look at         14       A. I do remember talking to him there, and
    15   just the second -- I want to say paragraph, but I    15   that may have been -- if we don't have a written
    16   don't even know that it's a paragraph. This is       16   one, I can't tell.
    17   from the Board of Pharmacy, is that right, for the   17       Q. Okay. Well, and I just wanted to check
    18   State of Ohio, relating to the investigation that    18   if you knew of a written one, because this is as
    19   they were already conducting that they started in    19   far as I have in that process. So what I'll do is
    20   2017; is that correct?                               20   after the deposition, I'll follow up with your
    21       A. Yes.                                          21   counsel on anything else, okay?
    22       Q. And it's to                                   22       A. Yes.
    23   schoen@prescriptionsupply.com. You and your          23       Q. Now, you believe that investigation to
    24   sister, it appears, right?                           24   be over; is that correct?

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     1      A. Yes -- well, actually -- the J?                 1      A.   That's correct.
     2      Q. Yeah.                                           2      Q.   Okay.
     3      A. The J is to James.                              3      A.   I was told it was over.
     4      Q. Who's jaharbauer?                               4      Q.   By whom?
     5      A. Where is JA?                                    5      A.   By the State.
     6      Q. If you look on the screen.                      6      Q.   Okay.
     7      A. Oh, okay. Oh, Jacqueline Harbauer.              7          MR. FULLER: All right. Gina, if you
     8      Q. Or did they get --                              8   would bring up 905A for me.
     9      A. It could be -- I mean, it's possible it         9          Here, let me do a couple housekeeping things
    10   went to James Harbauer. Although, that's -- I        10   real quick here. So I'm going to do 25. Plaintiff's
    11   don't believe that's his --                          11   Exhibit 25 is going to be that spreadsheet that I showed
    12      Q. E-mail address?                                12   him.
    13      A. -- e-mail address.                             13          MR. RICARD: You already saw that one.
    14      Q. And they may have gotten it wrong. They        14          MR. FULLER: Yeah. It's just too hard
    15   may have gotten it wrong. But it does appear to      15   to see on the printout. Although, we'll have a
    16   have your e-mail address on it?                      16   printout for the record. Here's a copy of 905A.
    17      A. It does.                                       17                  ---
    18      Q. Okay. And they say there in the second         18     (PSI-Schoen Exhibits 25 through 27 marked.)
    19   paragraph, "In order for the Board of Pharmacy to    19                  ---
    20   finalize this case, please describe how              20   BY MR. FULLER:
    21   Prescription Supply determines who to sell to, how   21       Q. So what we have up in front of us is
    22   the monthly thresholds are set and what is done if   22   905A, which is now Exhibit 26. And what I've done
    23   a monthly threshold is above what was determined.    23   here, Mr. Schoen, is taken just oxycodone sales
    24   Please use the following pharmacies as examples."    24   for a period of time. You see that period of time

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     1   being January of '08 through April of '09,            1   works, we would have seen a threshold event?
     2   correct?                                              2           MR. RICARD: Objection to form.
     3           Is that a yes?                                3      A. There could be a reason for this, but
     4       A. Yes.                                           4   I'm looking and thinking there is one, but I don't
     5       Q. Okay. And sort of plotted it in a bar          5   know.
     6   graph. I'm better with graphs than I am just          6      Q. Right. And, again, like with the other
     7   looking at a bunch of numbers. And you can see        7   things that we've talked about, you can go back
     8   that they sort of go along at a consistent clip a     8   and look at the business and see if there is some
     9   little above and below 15,000 pills per month of      9   sort of explanation, and please feel free to
    10   the oxycodone family, right?                         10   provide it to your counsel, and he'll get with me
    11       A. Correct.                                      11   on it, okay?
    12       Q. Until about October of '08, and then          12      A. I can see a possibility for this one,
    13   they drop off, but here's what my question is and    13   but ...
    14   caused me a concern, is that in March of '09, they   14      Q. But we can agree that based on this
    15   spike to 30,000 pills.                               15   purchase history, this would qualify -- this
    16           Do you see that?                             16   30,000 spike would qualify as a suspicious order,
    17       A. I see it.                                     17   correct?
    18       Q. Which you would agree with me, or PSI         18           MR. RICARD: Objection to form.
    19   would agree, is a significant increase over the      19      A. Maybe.
    20   normal --                                            20      Q. And it should at least be halted --
    21       A. Yes.                                          21      A. Yeah, there should have been something
    22       Q. -- past pattern?                              22   done.
    23           MR. RICARD: Objection to form.               23      Q. It should be halted until it can be
    24       Q. Correct?                                      24   investigated, and it should potentially be
                                                  Page 223                                                 Page 225
     1       A. Yes.                                           1   reported as well --
     2       Q. We would expect to see a threshold event       2          MR. RICARD: Objection to form.
     3   from this type of increase, correct?                  3      Q. -- correct?
     4       A. Yes.                                           4      A. I can see a possible answer to this one,
     5       Q. And we looked earlier --                       5   so I don't --
     6           MR. FULLER: And if we can bring back up       6      Q. Okay. Let's go --
     7   905, which is Exhibit 25.                             7      A. It may not be accurate.
     8   BY MR. FULLER:                                        8      Q. Let's go on --
     9       Q. We see no threshold events in March of         9      A. Pure guess in this case.
    10   '09, do we?                                          10      Q. Right. Sitting here today, you have no
    11       A. No. I don't --                                11   explanation -- any explanation would be a guess,
    12       Q. We don't see our first threshold --           12   correct?
    13           MR. RICARD: It's up on the screen.           13      A. At this point.
    14           THE WITNESS: Yes, I see that. Oh, I          14      Q. Okay. But just based on the numbers
    15   see it, yes.                                         15   that we're seeing, we can both agree that it
    16   BY MR. FULLER:                                       16   was --
    17       Q. We don't see our first threshold event        17      A. Certainly --
    18   until January of 2011, actually, which would mean    18      Q. Go ahead.
    19   that our threshold for some reason must have been    19      A. Yes. Yes.
    20   set above 30,000 pills per month --                  20      Q. That it should have been flagged, it
    21           MR. RICARD: Objection; form.                 21   should have been investigated, and potentially
    22       Q. -- for Shaffer Pharmacy, correct?             22   reported as a suspicious order, correct?
    23       A. Yes.                                          23          MR. RICARD: Objection to form. Asked
    24       Q. Otherwise, based on the way the system        24   and answered.

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     1          You can answer again.                          1   Pharmacy, and it runs the gamut of January of '13
     2       A. I'm sure it was investigated, and I -- I       2   through November of '14.
     3   don't know.                                           3           Do you see that there, Mr. Schoen?
     4       Q. You don't know. So just listen to my           4      A. I see it.
     5   question. Let me read it back. "That this order       5      Q. Okay. And these are the sales totals
     6   should have been flagged, and it should have been     6   for oxycodone on a monthly basis, okay?
     7   investigated, and potentially reported as a           7      A. Yeah.
     8   suspicious order, correct?"                           8      Q. And now again we see a pattern where --
     9          MR. RICARD: Objection to form. Asked           9   and I ran the numbers, and you can take my word
    10   and answered.                                        10   for it, or you can double check me.
    11       Q. You can answer.                               11           So from January of '13 to November of
    12       A. I did answer it as best I can. I'm sure       12   '14, we have the sales data. We have the spike up
    13   it was investigated.                                 13   to over 16,000 pills. Now, if you look from
    14       Q. Well, that wasn't --                          14   January of '13 to December of '13, so the whole
    15       A. The question. I understand.                   15   year of 2013, there's an average of 4,467 pills
    16       Q. Yeah. My question is, seeing this --          16   per month?
    17   and I understand --                                  17           MR. RICARD: Objection to form.
    18       A. All right. The answer to that --              18      Q. 4,400, okay?
    19          MR. RICARD: Hang on. Let him ask his          19      A. All right.
    20   question.                                            20      Q. If you take even further, January
    21       Q. And your answer is that you're sure it        21   through March, we have an average of 5,126 pills
    22   was investigated is a guess at this point,           22   per month --
    23   correct?                                             23           MR. RICARD: Objection to form.
    24          MR. RICARD: Objection.                        24      Q. -- okay?
                                                  Page 227                                                 Page 229
     1      Q. You don't know, sitting here today,             1      A. Okay.
     2   whether it was investigated or not?                   2      Q. Understanding those averages, then we
     3      A. I don't know.                                   3   see a spike to over 14- and over 16,000, we would
     4      Q. It may be an educated guess based on the        4   expect to see some sort of threshold event; would
     5   systems you had in place, but it's still a guess?     5   we not?
     6      A. It is.                                          6           MR. RICARD: Objection to form.
     7      Q. And remember we talked at the very              7      A. Yes.
     8   beginning, I don't want you guessing here today.      8      Q. And based on the information that was
     9      A. All right.                                      9   provided, we don't see any threshold events for
    10      Q. Okay? I only want to know what you know        10   oxy until -- well, we don't see any threshold
    11   or don't know. And I'm phrasing my questions very    11   events in 2013 or 2014 for oxycodone, do we?
    12   specific to allow you to be able to provide an       12           MR. RICARD: Objection to form.
    13   answer.                                              13      A. I don't know. You know, from looking at
    14      A. Okay.                                          14   this, I don't know.
    15      Q. So, again, my question is that this            15      Q. Well, if you look at --
    16   order -- this spike of 30,000, it should have been   16      A. Okay. All right. Here we go.
    17   flagged, it should have been halted, it should be    17      Q. Yes, sir.
    18   investigated and potentially reported as a           18           So in 2013, we have a March event for
    19   suspicious order?                                    19   hydrocodone which is different, correct?
    20      A. Yes.                                           20      A. Yes.
    21      Q. Okay. Now, let's go to 905B, which is          21      Q. And then in '14, we have a couple of
    22   27, Plaintiff's Exhibit 27. This, again, is          22   events for -- what is that? Tramadone [sic]?
    23   another diagram again because I deal better with     23           MS. VELDMAN: Tramadol.
    24   diagrams. And, again, it's for Shaffer's             24      Q. Tramadol?

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     1      A. Mm-hmm.                                         1       Q. And you knew that they lost their
     2      Q. And then caris something. Carisoprodol,         2   license, and you guys continued to ship for about
     3   which none of those are the oxy family, correct?      3   a month after that. And then two months later,
     4      A. Correct.                                        4   the DEA actually had you ship to them in part of a
     5      Q. So, again, we see no oxy threshold              5   sting they were doing, correct?
     6   events when we have an increase of over four times    6       A. Mm-hmm.
     7   the average pills going out in one month to           7          MR. RICARD: Objection to form.
     8   Shaffer Pharmacy?                                     8       Q. Is that a yes?
     9          MR. RICARD: Objection to form.                 9       A. That's a yes.
    10      Q. Does that cause you concern?                   10       Q. And then you had certain ventures with
    11      A. I know we know Dave Shaffer, okay? We          11   an Ohliger.
    12   know Shaffer Pharmacy. I have to -- there has to     12       A. Ohliger.
    13   be a reason, okay? And what it is, I don't know.     13       Q. Ohliger --
    14      Q. Right. No, no. I understand that.              14       A. Yes.
    15   And, therefore, you agree that this does cause you   15       Q. -- Pharmacy?
    16   concern, seeing what we're seeing today, correct?    16       A. Yes.
    17          MR. RICARD: Objection to form.                17       Q. Brings up some probably pleasant and not
    18   Mischaracterizes his answer.                         18   so pleasant memories, huh?
    19      A. Yes.                                           19          MR. RICARD: Objection to form.
    20      Q. Okay. Now, again, like I did earlier, I        20       A. He went out of business.
    21   invite you, when you get back to the shop, to do     21       Q. He did.
    22   some due diligence, do some checking and see if      22       A. He owed us a lot of money.
    23   there's an explanation. If there's documentation,    23       Q. He did. And you guys actually had a
    24   I would love to see it. I'll be honest. Again,       24   loan with him, correct?
                                                  Page 231                                                   Page 233
     1   we're not here to accuse people of doing things or    1         A. That's correct.
     2   not doing things that should have or shouldn't        2         Q. He actually -- well, here, we'll look at
     3   have been done unless we have all the facts. And      3   it.
     4   that's what we're trying to get to, is get to all     4          You had shipped to him after he lost his
     5   the facts, and that's fair, isn't it?                 5   pharmacy license as well, correct?
     6       A. It is. As I said, I know Dave Shaffer.         6       A. Not that I know of, no. I never knew
     7   I just, you know ... I probably would have felt       7   that we shipped to Ohliger after he lost his
     8   comfortable with him, but ...                         8   pharmacy license. Do we have something?
     9       Q. Sir?                                           9       Q. Did you know old man Ohliger?
    10       A. I know Dave Shaffer, so I would have          10       A. Pardon?
    11   felt comfortable. There must be a reason.            11       Q. Did you know Mr. Ohliger?
    12       Q. But we still have to do our due               12       A. I knew Mr. Ohliger.
    13   diligence --                                         13          MR. PELINI: Mike, I'm real sensitive
    14       A. Yes.                                          14   about the use of the term "old man."
    15       Q. -- even though -- absolutely.                 15          MR. FULLER: Hey, hey, hey. This isn't
    16           Now, I'm going to test your memory a         16   a litigation to be in if you don't get your
    17   little bit.                                          17   feelings hurt down there. Toughen up --
    18           You've had, at least from my review, two     18          MR. PELINI: All right. I'm sorry.
    19   instances in which you were delivering to entities   19          MR. FULLER: -- Mr. OSU.
    20   that had lost their license as pharmacies or         20          MR. PELINI: Now we have a problem.
    21   pharmacists, one in Texas in which you actually      21          MR. FULLER: All right. So this is
    22   assisted the DEA with, Niko Rx.                      22   going to be Plaintiff's Exhibit 28.
    23           Does that ring a bell?                       23          And that's where I'm going, Gina.
    24       A. Could be, yes.                                24                   ---

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     1       (PSI-Schoen Deposition Exhibit 28 marked.)       1   roll onto the next page, Gina. Do C, D, and E.
     2                   ---                                  2   BY MR. FULLER:
     3   BY MR. FULLER:                                       3       Q. "c. During the investigation [sic], you
     4        Q. So Plaintiff's Exhibit 28 is a document      4   struck an Agent of the Board about the body with
     5   from the State of Ohio Board of Pharmacy.            5   your hand."
     6           Do you see that?                             6       A. Now it starts coming back, yeah.
     7        A. I see it.                                    7       Q. Now you're recalling this, huh?
     8        Q. And it's the Summary Suspension/Notice       8       A. Now I'm recalling it.
     9   of Opportunity for Hearing, correct?                 9       Q. "While a supervisor of the Board spoke
    10        A. Yes.                                        10   with police officers dispatched to the pharmacy,
    11        Q. And it says, "You are hereby" -- and        11   you took the Board-issued property, a laptop,
    12   it's to Thomas Ohliger, right?                      12   without consent. The supervisor was able to
    13        A. Yes.                                        13   complete the inspection once the property was
    14        Q. Okay. Dated October 6 of 2015.              14   returned."
    15           "You are hereby notified, in accordance     15          And "On October 5, 2015, you appeared
    16   with Section 119.07 of the Revised Code, the Ohio   16   before the Cuyahoga County Court of Common Pleas
    17   State Board Pharmacy Board hereby summarily         17   on case number" -- and it gives the case number --
    18   suspends Thomas Ohliger's Ohio license as a         18   "where you were indicted on seven counts of
    19   pharmacist, under the authority of Section          19   illegal processing of drug documents and eight
    20   3719.121(B) 4729.16 of the Revised Code.            20   counts of trafficking. During the hearing, you
    21           Do you have any idea what Mr. Ohliger       21   were referred to the court psychiatric clinic to
    22   did?                                                22   determine your competency to stand trial."
    23        A. No.                                         23          Does that refresh your memory at all --
    24        Q. Okay. Well, let's look. So if you go        24       A. It does, yes.

                                                 Page 235                                                      Page 237
     1   to the allegations section a little further down     1       Q. -- of Mr. Ohliger?
     2   on the page.                                         2       A. So we sold to him --
     3          MR. FULLER: Blow up A, B, and C, too,         3          MR. RICARD: Wait until another
     4   please.                                              4   question.
     5   BY MR. FULLER:                                       5       Q. I believe the records would indicate
     6       Q. It says, "You, Thomas Ohliger, are            6   that you sold to him throughout the month of
     7   engaged in conduct that provides clear and           7   October of 2015.
     8   convincing evidence that continuation of your        8          Now, due diligence would require that we
     9   professional practice presents a danger of           9   stay informed of things like this with our
    10   immediate serious harm to others set forth in       10   customers, correct?
    11   Section 3719.121(B) of the ORC, to wit: A. On       11          MR. RICARD: Objection to form.
    12   September 29th, 2015, you called the Board and      12       A. Yes.
    13   stated that you had been robbed of your keys to     13       Q. And while I have not checked, I would
    14   your pharmacy, Ohliger Drug of Fairview Park, a     14   undoubtedly place a bet that if we looked at the
    15   retail pharmacy licensed by the Board under         15   papers in Cleveland, we would see newspaper
    16   license number" -- it gives the number.             16   clippings about Mr. Ohliger; wouldn't you think?
    17          "On September 29th -- same day -- an         17          MR. RICARD: Objection to form. Calls
    18   Agent and Regional Supervisor of the Board          18   for speculation.
    19   responded to the pharmacy to investigate the        19       A. But I don't see the newspapers in
    20   current state of security at the pharmacy and the   20   Cleveland.
    21   security of the dangerous drugs contained within    21       Q. Well, I understand that. I understand
    22   the pharmacy.                                       22   that. But these are the type of things --
    23          "c" --                                       23       A. I'm sure -- I'm sure there were, yes.
    24          MR. FULLER: You're going to need to          24       Q. But these are the type of things that we

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     1   would certainly try to stay informed of, correct?          1   better --
     2      A. Yes.                                                 2      A. Well, I think they were probably --
     3      Q. I mean, I was pretty amused when I was               3   yeah, I would imagine Cardinal might have been
     4   reading it, I have to say. You're slapping the             4   cheaper. I don't know.
     5   investigative agent with your hand and then steal          5      Q. Okay. You're not sure either way on
     6   the laptop.                                                6   that?
     7          MR. FULLER: I'll strike the commentary              7      A. I'm not sure what their pricing was.
     8   myself.                                                    8      Q. Now, even with the electronic monitoring
     9          We've been going for a while. Why don't we          9   system, even though you could still do it by
    10   take another break.                                       10   fax --
    11          MR. RICARD: Sure.                                  11      A. Yes. We could do it electronically,
    12      A. Oh, okay. We closed that store for the              12   too, but ...
    13   State of Ohio, okay?                                      13      Q. Did that make them any faster than you?
    14      Q. Because of a suspension?                            14      A. It meant that they would deliver it with
    15      A. Because of a suspension. We took                    15   every -- the next day.
    16   control of the drugs, yes, okay, at the request of        16      Q. And would it --
    17   the State.                                                17      A. Just as we would have delivered the same
    18          MR. FULLER: Fair enough. We'll take a              18   day. That differential wasn't significant.
    19   quick break.                                              19      Q. Okay.
    20          THE VIDEOGRAPHER: The time is now 3:25.            20      A. Okay?
    21   Going off the record.                                     21      Q. At least that's your understanding of
    22          (Recess taken.)                                    22   why Discount Drug Mart went to Cardinal?
    23          THE VIDEOGRAPHER: Okay. The time is                23      A. I'm very sure that that is why.
    24   now 3:39. Back on the record.                             24      Q. And how do you know? Did they tell you
                                                       Page 239                                                  Page 241
     1   BY MR. FULLER:                                             1   that or ...
     2       Q. Mr. Schoen, I was looking at the sales              2       A. I honestly can't say that they told us
     3   data provided by counsel. And as I think you               3   that.
     4   mentioned earlier, there's a significant dropoff           4       Q. Okay. That's just your understanding or
     5   of control IIs at some point for Prescription              5   based on the business environment?
     6   Supply, Inc., correct?                                     6       A. Right. Yes.
     7       A. Correct.                                            7       Q. Okay. Fair enough.
     8       Q. And the information I was looking at                8          But you did not have any conversation
     9   appeared to indicate that it happened at the end           9   with Discount Drug Mart or Cardinal about that?
    10   of '09, beginning of 2010, when Discount Drug Mart        10       A. Certainly not with Cardinal.
    11   left Prescription Supply for its control IIs and          11       Q. All right. I'm going to run us through
    12   went to Cardinal; is that right?                          12   two more documents real quick, and then we'll turn
    13          MR. RICARD: Object to form.                        13   it over to your counsel in case he has any
    14       A. Yes.                                               14   questions, okay?
    15       Q. Okay. Do you know why Prescription --              15       A. Mm-hmm.
    16   or excuse me -- Discount Drug Mart left                   16                  ---
    17   Prescription Supply for its control IIs and went          17      (PSI-Schoen Deposition Exhibit 29 marked.)
    18   to Cardinal?                                              18                  ---
    19       A. They had the cosi -- or the suspicious             19       Q. This is going to be Plaintiff's Exhibit
    20   order monitoring system up -- not suspicious              20   Number 29.
    21   order. The electronic. The electronic C-II                21          So I don't know if you know, Mr. Schoen,
    22   system went up. They no longer -- we no longer            22   but there is a thing called the Wayback Machine.
    23   had an advantage. That's why they left us.                23          Have you ever heard of the Wayback
    24       Q. Was there also a price differential or a           24   Machine?

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                                                 Page 242                                                 Page 244
     1       A. No.                                           1   Cardinal versus the Department of Justice matter.
     2       Q. You can go way, way back.                     2          MR. FULLER: It is 108. Oh, excuse me.
     3       A. Way, way back.                                3   107.
     4       Q. At least on the Internet, and you can         4   BY MR. FULLER:
     5   pull up older websites. What I've done is I've       5      Q. This is part of the pleadings from that
     6   pulled up the HDMA website for this -- you know      6   matter. And in the legal world, there is issues
     7   what? I think I gave you my copy, guys.              7   of significant importance being considered by a
     8       A. Do you want it back?                          8   court. Different organizations can ask to file
     9       Q. Yeah.                                         9   what's called and amicus curiae brief --
    10         MR. RICARD: The one with the circles on       10      A. Okay.
    11   it?                                                 11      Q. -- meaning of public interest. And the
    12         MR. FULLER: It doesn't matter. The            12   HDMA, your trade organization, did that on behalf
    13   other one just doesn't have circles. It will help   13   of Cardinal and related to its action involving
    14   you get to it faster.                               14   the DOJ.
    15   BY MR. FULLER:                                      15      A. Okay.
    16       Q. So the Wayback Machine tells me that         16      Q. I'll tell you they also did the same
    17   from '04 to 2014, if you look at the second page,   17   related to that Masters Pharmaceuticals case that
    18   Christopher Schoen --                               18   we looked at at the beginning this morning. I
    19       A. Has been on the board.                       19   didn't show you that document, but they did.
    20       Q. Is one of the board members, Vice            20      A. Okay.
    21   President - Sales, Prescription Supply, Inc.        21      Q. It's a service they provide, or
    22         And what relation is Christopher to you?      22   something that they do related to some legal
    23       A. Son.                                         23   matters. This is that document, and there's a few
    24       Q. Okay. Does he still work at the              24   sections that I want to show you. I think I know
                                                 Page 243                                                 Page 245
     1   business?                                            1   what your answer is going to be, but I want to
     2       A. Yes.                                          2   take care of it for the record, okay?
     3       Q. Is he still in sales?                         3          MR. RICARD: Mike, before you get
     4       A. Yes.                                          4   started, can I just note an objection to the
     5       Q. Is he still a board member of the HDMA?       5   extent you're going to seek a legal conclusion?
     6       A. Yes, mm-hmm.                                  6          MR. FULLER: Sure. Objection noted for
     7       Q. Fair enough.                                  7   the record.
     8       A. You understand that we have -- all            8   BY MR. FULLER:
     9   right.                                               9      Q. And the first part I want to ask you
    10       Q. You see, what makes him really nervous       10   about is on the bottom of page 1 onto page 2.
    11   is he's not exactly sure what you're fixing to      11   Actually, just the bottom of page 1.
    12   say. That makes all of us nervous when our          12          MR. FULLER: Just give me the bottom of
    13   clients are going to say something we're not sure   13   page 1, Gina.
    14   what they're going to say.                          14   BY MR. FULLER:
    15                  ---                                  15      Q. And there it says -- and it's in front
    16      (PSI-Schoen Deposition Exhibit 30 marked.)       16   of you on the electronic screen, Mr. Schoen.
    17                  ---                                  17          It says, "HDMA's members" -- which
    18       Q. All right. Plaintiff's Exhibit 30. So        18   Prescription Supply is one of, correct?
    19   you understand what this is -- because I told you   19      A. Correct.
    20   there wouldn't be any more legal documents, but     20      Q. -- "have not only statutory and
    21   then I took that back, and I said there may be      21   regulatory responsibilities to detect and prevent
    22   one. This is my one, okay?                          22   diversion of controlled prescription drugs, but
    23       A. Yes.                                         23   undertake such efforts as responsible members of
    24       Q. So what this is, is it relates to the        24   society."

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                                                         Page 246                                                      Page 248
     1          Does Prescription Supply agree with that             1         THE VIDEOGRAPHER: The time is now 3:49.
     2   statement?                                                  2   Going off the record.
     3          MR. RICARD: Objection to form.                       3         (Recess taken.)
     4       A. Yes.                                                 4         THE VIDEOGRAPHER: Okay. The time is
     5       Q. "The public health dangers associated                5   now 3:58. Back on the record.
     6   with the diversion and abuse of controlled                  6         MR. RICARD: I do not have any questions
     7   prescription drugs have been well-recognized over           7   for Mr. Schoen. We would just request that the
     8   the years by Congress, DEA, HDMA, and its members,          8   transcript be marked as highly confidential
     9   and public health authorities."                             9   pursuant to the protective order that governs this
    10          PSI also agrees and accepts that                    10   case.
    11   statement, correct?                                        11         MR. FULLER: Why are you all looking at
    12          MR. RICARD: Objection to form.                      12   me? I'm already finished.
    13       A. Yes.                                                13         Does any other defense counsel have any
    14       Q. PSI also agrees that it has not only a              14   questions?
    15   regulatory and statutory duty as mentioned there,          15         MR. PELINI: It's out of respect we're
    16   but also a duty as a good public actor to protect          16   looking at you.
    17   the public from these dangerous controlled                 17         THE VIDEOGRAPHER: The time is now 3:58.
    18   substances, correct?                                       18   This concludes the deposition. Going off the
    19          MR. RICARD: Same objection.                         19   record.
    20       A. Yes.                                                20         (Signature not waived.)
    21       Q. Basically a common law duty, if you                 21                 ---
    22   will, correct?                                             22         Thereupon, at 3:58 p.m., on Wednesday,
    23          MR. RICARD: Same objection.                         23   September 5, 2018, the deposition was concluded.
    24       A. Yes.                                                24                 ---

                                                        Page 247                                                            Page 249
     1       Q. Okay. Page 7. Here the HDMA says, "The               1         CERTIFICATE
     2   societal costs of prescription drugs are" -- it's           2 STATE OF OHIO     :
                                                                                     SS:
     3   in front of you on the electric screen, too,
                                                                     3 COUNTY OF __________:
     4   Mr. Schoen.
                                                                     4
     5       A. Okay.                                                5        I, THOMAS G. SCHOEN, do hereby certify that I
     6       Q. So the HDMA says the societal costs of               6 have read the foregoing transcript of my
     7   prescription drugs are what?                                7 cross-examination given on September 5, 2018; that
     8       A. Huge.                                                8 together with the correction page attached hereto noting
     9       Q. Huge. "The development and                           9 changes in form or substance, if any, it is true and
    10   implementation of practices and procedures to              10 correct.
                                                                    11                 ______________________________
    11   detect and prevent diversion are burdens that HDMA
                                                                                       THOMAS G. SCHOEN
    12   members willingly bear."
                                                                    12
    13          You agree with that, correct?                       13        I do hereby certify that the foregoing
    14          MR. RICARD: Objection to form.                      14 transcript of the cross-examination of THOMAS G. SCHOEN
    15       A. Yes.                                                15 was submitted to the witness for reading and signing;
    16       Q. And if members of the HDMA do not                   16 that after he had stated to the undersigned Notary
    17   develop and implement practices and procedures to          17 Public that he had read and examined his
    18   detect and prevent diversion, they should be held          18 cross-examination, he signed the same in my presence on
                                                                    19 the _______ day of _________________________, 2018.
    19   responsible for their fair share of these huge
                                                                    20
    20   societal costs, correct?
                                                                                       ______________________________
    21          MR. RICARD: Objection to form.                      21                 NOTARY PUBLIC - STATE OF OHIO
    22       A. Yes.                                                22
    23          MR. FULLER: I don't have anything                   23 My Commission Expires:
    24   further.                                                   24 _________________, ______.


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                                                       Page 250
     1               CERTIFICATE
     2 STATE OF OHIO             :
                            SS:
     3 COUNTY OF FRANKLIN :
     4        I, Carol A. Kirk, a Registered Merit Reporter
       and Notary Public in and for the State of Ohio, duly
     5 commissioned and qualified, do hereby certify that the
       within-named THOMAS G. SCHOEN was by me first duly sworn
     6 to testify to the truth, the whole truth, and nothing
       but the truth in the cause aforesaid; that the
     7 deposition then given by him was by me reduced to
       stenotype in the presence of said witness; that the
     8 foregoing is a true and correct transcript of the
       deposition so given by him; that the deposition was
     9 taken at the time and place in the caption specified and
       was completed without adjournment; and that I am in no
    10 way related to or employed by any attorney or party
       hereto or financially interested in the action; and I am
    11 not, nor is the court reporting firm with which I am
       affiliated, under a contract as defined in Civil Rule
    12 28(D).
    13        IN WITNESS WHEREOF, I have hereunto set my
       hand and affixed my seal of office at Columbus, Ohio on
    14 this 10th day of September 2018.
    15
    16
    17
    18                   ______________________________
                         CAROL A. KIRK, RMR
    19                   NOTARY PUBLIC - STATE OF OHIO
    20 My Commission Expires: April 9, 2022.
    21                 ---
    22
    23
    24

                                                       Page 251
     1            DEPOSITION ERRATA SHEET
     2   I, THOMAS G. SCHOEN, have read the transcript
         of my deposition taken on the 5th day of September 2018,
     3   or the same has been read to me. I request that the
         following changes be entered upon the record for the
     4   reasons so indicated. I have signed the signature page
         and authorize you to attach the same to the original
     5   transcript.
     6   Page Line Correction or Change and Reason Therefor:
     7   ___ ____ ___________________________________________
     8   ___ ____ ___________________________________________
     9   ___ ____ ___________________________________________
    10   ___ ____ ___________________________________________
    11   ___ ____ ___________________________________________
    12   ___ ____ ___________________________________________
    13   ___ ____ ___________________________________________
    14   ___ ____ ___________________________________________
    15   ___ ____ ___________________________________________
    16   ___ ____ ___________________________________________
    17   ___ ____ ___________________________________________
    18   ___ ____ ___________________________________________
    19   ___ ____ ___________________________________________
    20   ___ ____ ___________________________________________
    21   ___ ____ ___________________________________________
    22   ___ ____ ___________________________________________
    23   ___ ____ ___________________________________________
    24   Date ______________ Signature ________________________

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